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      18-1862-CV
                                        IN THE


          United States Court of Appeals
                             FOR THE SECOND CIRCUIT

                                        >> >>
                 KATHRYN TOWNSEND GRIFFEN, HELEN MCDONALD,
                     THE ESTATE OF CHERRIGALE TOWNSEND,
                                                                      Plaintiffs-Appellees,
                                          v.

      EDWARD CHRISTOPHER SHEERAN, PERSONALLY KNOWN AS ED SHEERAN,
     ATLANTIC RECORDING CORPORATION, SONY/ATV MUSIC PUBLISHING, LLC,
                                                                   Defendants-Appellees,
                                         and

               WARNER MUSIC GROUP CORP., DBA ASYLUM RECORDS,
                                                                               Defendant,
                                          v.

                          STRUCTURED ASSET SALES, LLC,
                                                                       Movant-Appellant.


                    On Appeal from the United States District Court
                        for the Southern District of New York



                                   APPENDIX


PARNESS LAW FIRM, PLLC                           FRANK & ASSOCIATES, P.C.
Attorneys for Movant-Appellant                   Attorneys for Plaintiffs-Appellees
136 Madison Avenue, 6th Floor                    500 Bi-County Boulevard, Suite 465
New York, New York 10016                         Farmingdale, New York 11735
212-447-5299                                     850-629-4168

                          (Additional Counsel on the Reverse)
        Case 18-1862, Document 24, 08/30/2018, 2379713, Page2 of 94




PRYOR CASHMAN LLP
Attorneys for Defendants-Appellees
7 Times Square
New York, New York 10036
212-326-0108
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    Sullivan, dated May 11, 2018 ..........................................................        A49

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    Sullivan, dated May 16, 2018 ..........................................................        A52

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7/26/2018                                                             SDNY CM/ECF Version 62.2
                                                                                                 APPEAL,ECF,MEDTFR4,RELATED

                                                   U.S. District Court
                                      Southern District of New York (Foley Square)
                                 CIVIL DOCKET FOR CASE #: 1:17-cv-05221-RJS

 Grifﬁn et al v. Sheeran et al                                                          Date Filed: 07/11/2017
 Assigned to: Judge Richard J Sullivan ,                                                Jury Demand: Plaintiff
 Demand: $9,999,000                                                                     Nature of Suit: 820 Copyright
 Related Cases: 1:16-cv-06309-RJS                                                       Jurisdiction: Federal Question
                  1:18-cv-05839-RJS
 Cause: 17:10l Copyright Infringement

 Klaimiﬁ
 Kathryn Townsend Grifﬁn                                                  represented by Patrick Ryan Frank
                                                                                                 &
                                                                                         Frank Associates,
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                                                                                         Farmingdale, NY  11735
                                                                                         (850)-629-4168
                                                                                         Fax: (850)-629-4184
                                                                                         Email: lawatf@ao1.com
                                                                                         ATTORNEY TO BE NOTICED
 Plgintijﬂ
 Helen McDonald                                                           represented by Patrick Ryan Frank
                                                                                         (See above for address)
                                                                                         ATTORNEY T0 BE NOTICED
 mmm
 The Estate of Cherrigale Townsend                                        represented by Patrick Ryan Frank
                                                                                         (See above for address)
                                                                                         ATTORNEY TO BE NOTICED

 V.
 l1€f_e_n_d.an_t

 Edward Christopher Sheeran                                               represented by Andrew Mark Goldsmith
 personally known as                                                                     Pryor Cashman LLP
 Ed Sheeran                                                                              7 Times Square
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                                                                                         Fax: (212)-798-6925
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                                                                                         Pryor Cashman LLP
                                                                                         7 Times Square
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                                                                                         Fax: 212 326 0806
https://ecf.nysd.uscourts.gov/cgi-bin/DkiRpt.p|?121000599013022-L_1_0-1                                                       1/11
                     Case 18-1862, Document 24, 08/30/2018, 2379713, Page6 of 94
                                                                         A2

7/26/2018                                                            SDNY CM/ECF Version 62.2
                                                                                       Email: DZakarin@pryorcashman.com
                                                                                       ATTORNEY TO BE NOTICED
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                                                                                       Pryor Cashman LLP
                                                                                       7 Times Square
                                                                                       New York,  NY  10036
                                                                                       212-421-4100
                                                                                       Fax: 212-326-0806
                                                                                       Email: ifarkas@pryorcashman.com
                                                                                       ATTORNEY TO BE NOTICED
 Ilefsnslanl
 Atlantic Recording Corporation                                      represented by Andrew Mark Goldsmith
 doing business as                                                                  (See above for address)
 Atlantic Records                                                                      A TTORNE Y TO BE NOTICED
                                                                                       Donald S. Zakarin
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED
                                                                                       Ilene Susan Farkas
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED
 llemdanl
 Warner Music Group Corporation
 doing business as
 Asylum Records
 Defendant
 Sony/ATV Music Publishing, LLC                                          represented by Andrew Mark Goldsmith
                                                                                        (See above for address)
                                                                                       ATTORNEY TO BE NOTICED
                                                                                       Donald S. Zakarin
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED
                                                                                       Ilene Susan Farkas
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED
  Intervgngr Plaintiff
  Structured Asset Sales, LLC                                            represented by Hillel Ira Parness
                                                                                        Pamess Law Firm, PLLC
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                                                                                       New York, NY 10007
                                                                                       212-447-5299
                                                                                       Fax: 646-722-3301
                                                                                       Email: hip@hiplaw.c0m
                                                                                       LEAD A TTORNE Y
                                                                                       ATTORNEY TO BE NOTICED
https:/lecﬁnysd.uscourts.govlogi-bin/DktRpl.pi?121000599013022-L_1_0-1                                                    2/11
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7/26/2018                                                              SDNY CMIECF Version 6.2.2


  Date Filed                    Docket Text
  07/11/2017                    COMPLAINT against Atlantic Recording Corporation, Edward Christopher Sheeran,
                                Sony/ATV Music Publishing, LLC, Warner Music Group Corporation, d/b/a Asylum
                                Records. (Filing Fee $ 400.00, Receipt Number 0208—l3883305)Document ﬁled by
                                Kathryn Grifﬁn Townsend, Cherrigale Townsend, Helen McDonald.(Frank, Patrick)
                                (Entered: 07/11/2017)

  07/l 1/2017           llv     CIVIL COVER SHEET ﬁled. (Frank, Patrick) (Entered: 07/1 1/2017)
  07/l 1/2017           1:.)
                                A0 121 FORM COPYRIGHT - NOTICE OF SUBMISSION BY ATTORNEY. A0 121
                                Form Copyright for case opening submitted to court for review.(Frank, Patrick) (Entered:
                                07/11/2017)
  07/I 1/2017           I-l‘—
                                RULE 7.1 CORPORATE DISCLOSURE STATEMENT. No Corporate Parent. Document
                                ﬁled by Helen McDonald, Cherrigale Townsend, Kathryn Grifﬁn Townsend.(Frank,
                                Patrick) (Entered: 07/ I l/2017)

  07/l 1/2017           |uu     FILING ERROR - DEFICIENT DOCKET ENTRY - MOTION for Keisha Dorlisa
                                Rice to Appear Pro Hac Vice Filing fee $ 200.00, receipt number 0208-13883484.
                                                                   .



                                Motion and supporting papers to be reviewed by Clerk's Ofﬁce staff. Document ﬁled
                                by Helen McDonald, Cherrigale Townsend, Kathryn Grifﬁn Townsend.(Frank, Patrick)
                                Modiﬁed on 7/1 l/2017 (jc). (Entered: 07/11/2017)
  07/1 1/2017           to      FILING ERROR — DEFICIENT DOCKET ENTRY - MOTION for Katherine Hiett
                                Viker to Appear Pro Hac Vice Filing fee $ 200.00, receipt number 020843883528.
                                                                       .



                                Motion and supporting papers to be reviewed by Clerk's Ofﬁce staff. Document ﬁled
                                by Helen McDonald, Cherrigale Townsend, Kathryn Grifﬁn Townsend.(Frank, Patrick)
                                Modiﬁed on 7/1 l/2017 (jc). (Entered: 07/l l/2017)
  07/1 1/2017           I\I     FILING    ERROR   - DEFICIENT               DOCKET ENTRY MOTION
                                                                                        -         for Patrick Ryan Frank
                                to Appear Pro Hac Vice . Filing fee $ 200.00, receipt number 0208-13883571. Motion
                                and supporting papers to be reviewed by Clerk's Ofﬁce staff. Document ﬁled by Helen
                                McDonald, Cherrigale Townsend, Kathryn Griffin Townsend.(Frank, Patrick) Modiﬁed on
                                7/1 l/2017 (jc). (Entered: 07/11/2017)

  07/11/2017                    >>>NOTICE REGARDING DEFICIENT MOTION TO APPEAR PRO HAC VICE.
                                Notice to RE-FILE Document No. 5 MOTION for Keisha Dorlisa Rice to Appear Pro
                                Hac Vice Filing fee 5 200.00. receipt number 0208-13883484. Motion and supporting
                                          .


                                papers to be reviewed by Clerk's Ofﬁce staff... The ﬁling is deﬁcient for the following
                                re-ason(s): 1) Attorney Afﬁdavit/Declaration is missing - see Local Rule 1.3; and 2)
                                case number is missing from caption on Motion and Proposed Order. Re-ﬁle the
                                motion as a Motion to Appear Pro Hac Vice - attach the correct signed PDF - select
                                the correct named filer/ﬁlers - attach valid Certiﬁcates of Good Standing issued
                                within the past 30 days - attach Attorney Afﬁdavit/Declaration - attach Proposed
                                Order. (jc) (Entered: 07/11/2017)
  07/11/2017                    >>>NOTICE REGARDING DEFICIENT MOTION TO APPEAR PRO HAC VICE.
                                Notice to RE-FILE Document No. Q MOTION for Katherine Hiett Viker to Appear
                                Pro Hac Vice Filing fee 55 200.00, receipt number 020843883528. Motion and
                                                .


                                supporting papers to be reviewed by Clerk's Office staff.. 1 MOTION for Patrick
                                Ryan Frank to Appear Pro Hac Vice Filing fee S 200.00, receipt number 0208-
                                                                                 .


                                13883571. Motion and supporting papers to be reviewed by Clerk's Ofﬁce staff... The
                                ﬁlings are deﬁcient for the following reason(s): 1) Attorney Afﬁdavit/Declaration is
                                missing - see Local Rule 1.3; and 2) case number is missing from captions for motions
                                and proposed orders. Re-file the motions as ;\/lotions to Appear Pro Hac Vice - attach
https://ectnysd.uscourts.gov/cgi—bin/DktRpt.p|?121000599013022-L_1_0-1                                                     3/1 1
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7/26/2013                                                           SDNY CM/ECF Version 6.2.2
                              the correct signed PDFs                      named ﬁler/ﬁlers - attach valid
                                                              - select the correct

                              Certiﬁcates of Good Standing issued within the past 30 days - attach Attorney
                              Affidavit/Declaration for each case - attach Proposed Orders. (jc) (Entered:
                              07/l 1/2017)

  07/15/2017            loo   MOTION for Patrick Ryan Frank to Appear Pro Hac Vice Motion and supporting
                                                                                                    .



                              papers to be reviewed by Clerk's Ofﬁce staff. Document ﬁled by Patrick Ryan Frank.
                              (Frank, Patrick) (Entered: 07/15/2017)

  07/17/2017                  >>>NOTICE REGARDING PRO HAC VICE MOTION. Regarding Document No. §
                              MOTION for Patrick Ryan Frank to Appear Pro Hac Vice Motion and supporting        .


                              papers to be reviewed by Clerk's Ofﬁce staff.. The document has been reviewed and
                              there are no deﬁciencies. (wb) (Entered: 07/17/2017)

  07/18/2017            lo    MOTION for Keisha Dorlisa Rice to Appear Pro Hac Vice Motion and supporting
                                                                                                        .


                              papers to be reviewed by Clerk's Ofﬁce staff. Document ﬁled by Keisha Dorlisa Rice.
                              (Frank, Patrick) (Entered: 07/ 18/2017)

  07/18/2017                  MOTION for Katherine Lanier Viker to Appear Pro Hac Vice Motion and supporting.


                              papers to be reviewed by Clerk's Ofﬁce staff. Document ﬁled by Katherine Lanier
                              Viker.(Frank, Patrick) (Entered: 07/18/2017)

  07/I 9/2017                 >>>NOTICE REGARDING PRO HAC VICE MOTION. Regarding Document No. 2
                              MOTION for Keisha Dorlisa Rice to Appear Pro Hac Vice Motion and supporting
                                                                                         Q
                                                                                                            .


                              papers to be reviewed by Clerk's Ofﬁce staff.,  MOTION for Katherine Lanier
                              Viker to Appear Pro Hac Vice Motion and supporting papers to be reviewed by
                                                                         .



                              Clerk's Ofﬁce staff.. The document has been reviewed and there are no deﬁciencies.
                              (ma) (Entered: 07/19/2017)
  07/21/2017                  ’‘‘’'‘*NOTICE    TO ATTORNEY REGARDING CIVIL. CASE OPENING
                              STATISTICAL ERROR CORRECTION: Notice to attorney Patrick Ryan Frank.
                              The following case opening statistical information was erroneously selected/entered:
                              Dollar Demand S2S,000,000,000; County code New York. The following correction(s)
                              have been made to your case entry: the Dollar Demand has been modiﬁed to 9999;
                              the County code has been modiﬁed to XX Out of State. (kl) (Entered: 07/21/2017)

  07/21/2017                  ***NOTICE TO ATTORNEY REGARDING PARTY MODIFICATION. Notice to
                              attorney Patrick Ryan Frank. The party information for the following party/parties
                              has been modiﬁed: Sony/ATV Music Publishing, LLC, Kathryn Grifﬁn Townsend,
                              Helen McDonald, Clierrigale Townsend. Edward Christopher Slieeran. Atlantic
                              Recording Corporation. Warner Music Group Corporation. d/b/a Asylum Records.
                              The information for the party/parties has been modiﬁed for the following
                              reason/reasons: party role was entered incorrectly; alias party name was omitted. (kl)
                              (Entered: 07/21/2017)

  07/21/2017                  ’'‘**NOTICE TO ATTORNEY REGARDING REMOVAL OF PARTY. Notice to
                              attorney Patrick Ryan Frank. The following party/parties has been removed from
                              this case: Katherine Lanier Viker. Keisha Dorlisa Rice, Patrick Ryan Frank. The
                              party was added to the case in error. (kl) (Entered: 07/21/2017)
  07/21/2017                  CASE OPENING INITIAL ASSIGNMENT NOTICE: The above-entitled action is
                              assigned to Judge Unassigned. (kl) (Entered: 07/21/2017)

  07/21/2017                  Case Designated ECF. (kl) (Entered: 07/21/2017)
  07/21/2017                  CASE REFERRED TO Judge Richard J. Sullivan as possibly similar to 1:l6-cv-06309-
                              RJS. (kl) (Entered: 07/21/2017)
  07/22/2017           U WAIVER OF SERVICE RETURNED EXECUTED.                                   Atlantic Recording Corporation
https://ectnysd.uscourts.gav/cgi-bin/DktRpt.pl?121000599013022-L_1_0-1                                                           4/11
                      Case 18-1862, Document 24, 08/30/2018, 2379713, Page9 of 94
                                                                           A5

7/26/2018                                                              SDNY CM/ECF Version 6.2.2
                              waiver sent on 7/20/2017, answer due 9/18/2017; Edward Christopher Sheeran waiver sent
                              on 7/20/2017, answer due 9/18/2017; Sony/ATV Music Publishing, LLC waiver sent on
                              7/20/2017, answer due 9/18/2017. Document ﬁled by Kathryn Townsend Grifﬁn; The
                              Estate of Cherrigale Townsend; Helen McDonald. (Frank, Patrick) (Entered: 07/22/2017)

  07/24/2017            I:    ORDER: The above-entitled matter has been assigned to my docket. Because three of the
                              four defendants have waived service, pursuant to Federal Rule of Civil Procedure 4(d)(3)
                                                                                                  HEREBY
                              their answers are not due until September 18, 2017. Accordingly, IT IS
                              ORDERED THAT the parties shall appear for an initial conference on Friday, October 6,
                              2017 at 1:30 a.m. in Courtroom 905 of the Thurgood Marshall United States Courthouse,
                              40 Foley Square, New York, New York. Initial Conference set for 10/6/2017 at 11:30 AM
                                         1




                              in Courtroom 905, 40 Centre Street, New York, NY 10007 before Judge Richard J.
                              Sullivan. (Signed by Judge Richard J. Sullivan on 7/24/2017) (mro) (Entered: 07/25/2017)

  07/24/2017                  ORDER ON MOTION TO APPEAR PRO HAC VICE granting 8 Motion for Patrick
                              Ryan Frank to Appear Pro Hac Vice. (Signed by Judge Richard J. Sullivan on 7/24/2017)
                              (mro) (Entered: 07/25/2017)
  07/24/2017                  ORDER ON MOTION TO APPEAR PRO HAC VICE granting m Motion for Katherine
                              Lanier Viker to Appear Pro Hac Vice. (Signed by Judge Richard J. Sullivan on 7/24/2017)
                              (mro) (Entered: 07/25/2017)
  07/24/201 7                 ORDER on Motion to Appear Pro Hac Vice granting 2 Motion for Keisha D. Rice to
                              Appear Pro Hac Vice. IT IS HEREBY ORDERED that Applicant is admitted to appear
                              Pro Hac Vice in the above-captioned case in the United States District Court of New York.
                              All attorneys appearing before this Court are subject to the Local Rules of this Court,
                              including the Rules governing discipline of attorneys. (Signed by Judge Richard J.
                              Sullivan on 7/24/17) (yv) Modiﬁed on 8/10/2017 (yv). (Entered: 07/25/2017)

  07/25/2017                  CASE ACCEPTED AS RELATED. Create association to 1:16-cv-06309-RJS. Notice of
                              Assignment to follow. (bcu) (Entered: 07/26/2017)
  07/25/2017                  NOTICE OF CASE REASSIGNMENT to Judge Richard J. Sullivan. Judge Unassigned is
                              no longer assigned to the case. (bcu) (Entered: 07/26/2017)
  07/25/2017                  Magistrate Judge Andrew J. Peck is so designated. Pursuant to 28 U.S.C. Section 636(c)
                              and Fed. R. Civ. P. 73(b)(l) parties are notiﬁed that they may consent to proceed before a
                              United States Magistrate Judge. Parties who wish to consent may access the necessary
                              form at the following link: l;t_tp_:_/'/3)-'sd.uscoL1i'ts.gov"torn1s.mp. (bcu) (Entered:
                              07/26/2017)

  08/03/2017                  FILING ERROR - ELECTRONIC FILING OF NON-ECF DOCUMENT - NOTICE
                              OF VOLUNTARY DISMISSAL Pursuant to Rule 4l(a)(l)(A)(i) of the Federal Rules of
                              Civil Procedure, the plaintiff(s) and or their counsel(s), hereby give notice that the above-
                              captioned action is voluntarily dismissed, against the defendant(s) Warner Music Group
                              Corporation. Document ﬁled by Kathryn Townsend Grifﬁn, The Estate of Cherrigale
                              Townsend, Helen McDonald. (Frank, Patrick) Modiﬁed on 8/4/2017 (km). (Entered:
                              08/03/2017)

  08/04/20 7   1              ***NOTE TO ATTORNEY T0 E-‘«.\/IAIL PDF. Note to Attorney Patrick Frank for
                              noncompliance with Section 18.3 of the S.D.N.Y. Electronic Case Filing Rules &
                              Instructions. E-MAIL the PDF for Document                     ﬂ
                                                                               Notice of Voluntary Dismissal to:
                              judgmentsfki’nysd.uscourts.gov. (km) (Entered: 08/04/2017)

   09/15/2017                 JOINT STIPULATION TO DISMISS CLAIMS THREE (3), FOUR (4), AND FIVE (5)
                              OF PLAINTIFFS' COMPLAINT: COME NOW, the enumerated Plaintiffs and
                              Defendants, collectively, who, by and through their respective counsel(s), and pursuant to
                              the Federal Rules of Civil Procedure, Rule 41(l)(a), proffer the instantjoint stipulation to
https://ec1‘.nysd.uscourts.gov/cgi—bin/DktRpt.pl?121000599013022-L_1_0-1                                                      5/11
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7/26/2018                                                             SDNY CM/ECF Version 6.2.2
                                    dismiss Counts Three (3), Four (4), and Five (5) of the Plaintiffs’ Complaint with the
                                    Parties bearing their respective fees and costs attendant hereto. SO ORDERED. (Signed by
                                    Judge Richard J. Sullivan on 9/15/2017) (ras) (Entered: 09/15/2017)
  09/18/2017            l_8         ORDER: IT IS HEREBY ORDERED THAT the initial conference currently scheduled to
                                    occur on Friday, October 6, 2017 at 1 1:30 a.m. in Courtroom 905 of the Thurgood
                                    Marshall United States Courthouse, 40 Foley Square, New York, New York shall instead
                                                                                                                    AM
                                    occur at 11:00 a.m. on the same day. (Initial Conference set for 10/6/2017 at 11:00 in
                                    Courtroom 905, 40 Centre Street, New York, NY 10007 before Judge Richard J. Sullivan.)
                                    (Signed by Judge Richard J. Sullivan on 9/ 18/2017) (ap) (Entered: 09/18/2017)
  09/18/2017           12 FIRST RULE 7.1 CORPORATE DISCLOSURE STATEMENT. Identifying Corporate
                          Parent Access Industries, Inc., Corporate Parent Warner Music Group Corp. for Atlantic
                          Recording Corporation. Document ﬁled by Atlantic Recording Corporation.(Goldsmith,
                          Andrew) (Entered: 09/1 8/2017)
  09/18/2017           Q FIRST  RULE              7.1   CORPORATE DISCLOSURE STATEMENT. Identifying Corporate
                         Parent           Sony Corporation (Japan) for Sony/ATV Music Publishing, LLC. Document ﬁled
                                    by Sony/ATV Music Publishing, LLC.(Goldsmith, Andrew) (Entered: 09/18/2017)
  09/18/2017           |‘:_’
                                    ANSWER to 1 Complaint,. Document ﬁled by Atlantic Recording Corporation.
                                    (Goldsmith, Andrew) (Entered: 09/18/2017)

  09/18/2017           lb           ANSWER to 1 Complaint,. Document ﬁled by Sony/ATV Music Publishing, LLC.
                                    (Goldsmith, Andrew) (Entered: 09/18/2017)

  09/18/2017           1'31         ANSWER to 1 Complaint,. Document ﬁled by Edward Christopher Sheeran.(Goldsmith,
                                    Andrew) (Entered: 09/18/2017)
  09/19/2017           15“.         FILING ERROR - DEFICIENT DOCKET ENTRY - NOTICE OF APPEARANCE by
                                    Donald S. Zakarin on behalf of Atlantic Recording Corporation, Edward Christopher
                                    Sheeran, Sony/ATV Music Publishing, LLC. (Zakarin, Donald) Modiﬁed on 9/20/2017
                                    (db). (Entered: 09/19/2017)

  09/19/2017           153.         NOTICE OF APPEARANCE by Andrew Mark Goldsmith on behalf of Atlantic
                                    Recording Corporation, Edward Christopher Sheeran, Sony/ATV Music Publishing, LLC.
                                    (Goldsmith, Andrew) (Entered: 09/19/2017)

  09/19/2017           1:?          FILING ERROR - DEFICIENT DOCKET ENTRY - NOTICE OF APPEARANCE by
                                    Ilene Susan Farkas on behalf of Atlantic Recording Corporation, Edward Christopher
                                    Sheeran, Sony/ATV Music Publishing, LLC. (Farkas, Ilene) Modiﬁed on 9/20/2017 (db).
                                    (Entered: 09/19/2017)

  09/20/2017                        ***NOTICE TO ATTORNEY TO RF.-FILE DOCUMENT - DEFICIENT DOCKET
                                    ENTRY ERROR. Notice to Attorney Donald S. Zakarin to RE-FILE Document _2_4
                                    Notice of Appearance.. ERROR(S): Attorney ﬁler does not match attorney signature.
                                    (db) (Entered: 09/20/2017)

  09/20/2017                        ***NOTICE TO ATTORNEY TO RE-FILE DOCUMENT - DEFICIENT DOCKET
                                    ENTRY ERROR. Notice to Attorney Ilene Susan Farkas to RE-FILE Document 2_6
                                    Notice of Appearance. ERROR(S): Attorney ﬁler does not match attorney signature.
                                    (db) (Entered: 09/20/2017)

  09/20/2017           Ilv
                               \l
                                    NOTICE OF APPEARANCE by Ilene Susan Farkas on behalf of Atlantic Recording
                                    Corporation, Edward Christopher Sheeran, Sony/ATV Music Publishing, LLC. (Farkas,
                                    Ilene) (Entered: 09/20/2017)

  09/20/2017            2
                        loo         NOTICE OF APPEARANCE by Donald S. Zakarin on behalf of Atlantic Recording
                                    Corporation, Edward Christopher Sheeran, Sony/ATV Music Publishing, LLC. (Zakarin,

https://ecf.nysriuseourls.gov/cgi-bin/DktRpt.pl?121000599013022-L_1_0-1                                                    6/11
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                                                                          A7


7/2s/2013                                                             SDNY CMIECF Version 6.2.2
                                   Donald) (Entered: 09/20/2017)
  09/26/2017           2 RULE             26(t)    DISCOVERY PLAN REPORT.Document ﬁled by Kathryn Townsend
                                   Grifﬁn, Helen McDonald, The Estate of Cherrigale Townsend.(Frank, Patrick) (Entered:
                                   09/26/2017)

  10/03/2017           Q October
                         FIRST LETTER addressed Judge Richard
                                 2017
                                                                 to
                                                         Document ﬁled
                                                                       from           J.   Sullivan   Ilene S. Farkas dated
                                            3,        re: Joint-Status Letter.        by Atlantic Recording
                                   Corporation, Edward Christopher Sheeran, Sony/ATV Music Publishing, LLC.(Goldsmith,
                                   Andrew) (Entered: 10/03/2017)
   10/06/2017          31          Minute Entry for proceedings held before Judge Richard J. Sullivan: Scheduling
                                   Conference held on 10/6/2017. Patrick Ryan Frank, Katherine Viker, and Keisha Rice
                                   present for Plaintiffs. Ms. Viker and Ms. Rice are respectfully directed to ﬁle a notice of
                                   appearance in this matter. Illene Susan Farkas and Donald S. Zakarin present for
                                   Defendants. The Court set a discovery schedule in this matter, as set forth in the separately
                                   docketed order. (Nommensen, Sara) (Entered: 10/06/2017)

   10/09/2017          lb          CASE MANAGEMENT AND SCHEDULING ORDER: All Parties do not consent to
                                   disposition of this case by a Magistrate, pursuant to Title 28 of the United States Code,
                                   Section 636(c). This case is to be tried by ajury. Deposition due by 3/15/2018. Fact
                                   Discovery due by 3/ 15/2018. Discovery due by 6/15/2018. Status Conference set for
                                   6/29/2018 at 10:00    AM  before Judge Richard J. Sullivan. Referral to the Southern
                                   District's Mediation Program. Parties have conferred and their present best estimate of the
                                   length of trial is ﬁve (5) to seven (7) days. (Signed by Judge Richard J. Sullivan on
                                   10/6/2017) (mro) (Entered: 10/10/2017)

   10/10/2017          |'.4        FILING ERROR — DEFICIENT DOCKET ENTRY - NOTICE OF APPEARANCE by
                                   Patrick Ryan Frank on behalf of Kathryn Townsend Griffin, Helen McDonald, The Estate
                                   of Cherrigale Townsend. (Frank. Patrick) Modiﬁed on 10/1 1/2017 (db). (Entered:
                                   10/ 1 0/2017)

   10/10/2017          3_ FILING ERROR - DEFICIENT DOCKET ENTRY - NOTICE OF APPEARANCE by
                              -5




                          Patrick Ryan Frank on behalf of Kathryn Townsend Grifﬁn, Helen McDonald, The Estate
                          of Cherrigale Townsend. (Frank. Patrick) Modiﬁed on 10/ 1 1/2017 (db). (Entered:
                                   10/10/2017)

   10/ 10/2017          1.;   UI
                                   MEDIATION REFERRAL ORDER...IT IS HEREBY ORDERED THAT this case is
                                   referred for mediation to the Court-annexed Mediation Program. As stated on the record at
                                   the October 6, 2017 conference, the parties anticipate that they will be prepared to mediate
                                   by February of 201 8. The parties are hereby notiﬁed that Local Rule 83.9 shall govem the
                                   mediation and are directed to participate in the mediation in good faith. The mediation will
                                   have no effect upon any scheduling order issued by this Court without leave of this Court.
                                   SO ORDERED. Please reference the following when corresponding with the Mediation
                                   Ofﬁce. E-mail MediationOfﬁce@nysd.uscourts.gov, telephone (212) 805-0643, and
                                   facsimile (212) 805-0647. Mediator to be Assigned by 10/20/2017. Mediator Expertise
                                   Request due by 10/16/2017. (Signed by Judge Richard J. Sullivan on 10/10/17) (yv)
                                   (Entered: 10/11/2017)

   10/11/2017                      ***NOTICE TO ATTORNEY TO RE-FILE DOCUMENT - DEFICIENT DOCKET
                                   ENTRY ERROR. Notice to Attorney Patrick Ryan Frank to RE-FILE Document                     Q
                                   Notice of Appearance. ERROR(S): Attorney signature and Attorney ﬁler do not
                                   match. (db) (Entered: 10/11/2017)
   10/11/2017                      *"‘*NOTICE TO ATTORNEY TO RF.-FILE D()CUMENT — DEFICIENT DOCKET
                                   ENTRY ERROR. Notice to Attorney Patrick Ryan Frank to RE-FILE Document 3_4

https:/Iecf.nysd.uscourts.gov/cgi—bin/DktRpt.pl?121000599013022-L_1_0-1                                                           7/11
                    Case 18-1862, Document 24, 08/30/2018, 2379713, Page12 of 94
                                                                         A8

7/26/2018                                                            SDNY CM/ECF Version 6.2.2
                                  Notice of Appearance. F.RROR(S): Attorney signature and Attorney ﬁler do not
                                  match. (db) (Entered: 10/11/2017)
   10/23/2017                     NOTICE OF MEDIATOR ASSIGNMENT - Notice of assignment of mediator. Mediator
                                  Schedule due by 1 1/22/2017. Case to be mediated by February 2018.(cda) (Entered:
                                  10/23/2017)

   1   1/21/2017       3_6        STIPULATED PROTECTIVE ORDER...regarding procedures to be followed that shall
                                  govern the handling of conﬁdential material...(See document.) FOR GOOD CAUSE
                                  SHOWN, IT IS SO ORDERED. (Signed by Judge Richard J. Sullivan on 1 1/21/2017)
                                  (ras) (Entered:   1   1/22/2017)

   11/21/2017          1 ORDER: This Addendum an
                       3 \l                                   is   integral part of the Order of today's date granting
                                  conﬁdentiality protection to certain materials. Notwithstanding any other provision, no
                                  document may be ﬁled with the Clerk under seal without a further Order of this Court
                                  addressing the speciﬁc documents to be sealed. Any application to seal shall be
                                  accompanied by an afﬁdavit or afﬁdavits and a memorandum of law, demonstrating that
                                  the standards for sealing have been met and speciﬁcally addressing Lugosch v. Pyramid
                                  Co. of Onondaga, 435 F.3d 1 10, 1 19-20 (2d Cir. 2006) and any other controlling authority.
                                  Nothing herein is intended to alter or modify the applicability of Federal Rule of Civil
                                  Procedure 5.2 to this case. The redactions expressly authorized by Rule 5.2 may be made
                                  without further application to the Court. (Signed by Judge Richard J. Sullivan on
                                  1 1/21/2017) (ras) Modiﬁed on 1/8/2018 (ras). (Entered: 11/22/2017)



   11/27/2017                     MEDIATOR SESSION SCHEDULED First Mediation Session scheduled for 1/19/2018,
                                  10:00   AM at the Ofﬁces of Defendant's Counsel.(cda) (Entered: 1/27/2017)
                                                                                                      1



  01/23/2018                      Mediator Session Held on 1/19/2018 at Ofﬁces of Defendant's Counsel.(mf) (Entered:
                                  01/23/2018)
  03/13/2018           38 FIRST LETTER MOTION for Extension of Time to Complete Discovery addressed to
                          Judge Richard J. Sullivan from Patrick R. Frank dated 03/13/2018. Document ﬁled by
                          Kathryn Townsend Grifﬁn, Helen McDonald, The Estate of Cherrigale Townsend.(Frank,
                                  Patrick) (Entered: 03/13/2018)

  03/14/2018           |'4a   O   ORDER granting Q Letter Motion for Extension of Time to Complete Discovery. The
                                  parties‘ joint request to extend the deadline for fact discovery to March 28, 2018 is
                                  GRANTED. All other deadlines set forth in the Court's October 9, 2018 scheduling order
                                  (Doc. No. 32) remain unchanged. (Signed by Judge Richard J. Sullivan on 3/14/2018) (ras)
                                  Modiﬁed on 5/14/2018 (ras). (Entered: 03/14/2018)
  03/14/2018                      Set/Reset Deadlines: Fact Discovery due by 3/28/2018. (ras) (Entered: 03/ 14/2018)

  03/22/2018           |*:        SECOND LETTER MOTION for Extension of Time to Complete Discovery addressed to
                                  Judge Richard J. Sullivan from Donald S. Zakarin dated March 22, 2018. Document ﬁled
                                  by Atlantic Recording Corporation, Edward Christopher Sheeran, Sony/ATV Music
                                  Publishing, LLC. (Attachments: # Text of Proposed Order)(Goldsmith, Andrew)
                                                                          _|_


                                  (Entered: 03/22/2018)

  03/22/2018           133        ORDER granting ﬂ SECOND LETTER MOTION for Extension of Time to Complete
                                  Discovery addressed to Judge Richard J. Sullivan from Donald S. Zakarin dated March 22,
                                  2018. Document ﬁled by Atlantic Recording Corporation, Edward Christopher Sheeran,
                                  Sony/ATV Music Publishing, LLC. So ordered. (Deposition due by 4/27/2018). (Signed
                                  by Judge Richard J. Sullivan on 3/22/2018) (rjm) (Entered: 03/23/2018)
  05/10/2018           It         LETTER addressed to Judge Richard J. Sullivan from Hillel Pamess dated May 10,
                                                                                                 I.

                                  2018 re: Pre-Motion Letter to Intervene as Plaintiff. Document ﬁled by Structured Asset
                                  Sales, LLC.(Pamess, Hillel) (Entered: 05/10/2018)

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                     Case 18-1862, Document 24, 08/30/2018, 2379713, Page13 of 94
                                                                           A9

7/26/2018                                                               SDNY CM/ECF Version 6.22
  05/10/2018            11 NOTICE OF APPEARANCE by Hillel Ira Pamess on behalf of Structured Asset Sales,
                                  LLC. (Pamess, Hillel) (Entered: 05/10/2018)
  05/1 1/2018           Q FIRST LETTER addressed Judge Richard Sullivan from Donald Zakarin dated
                                                                   to                     J   .                    S.
                                  May 11,
                                 2018  Response Pre-Motion
                                                  re:            of Proposed
                                                                   to                Structured Asset
                                                                                       Letter              Intervenor,
                                  Sales, LLC. Document ﬁled by Atlantic Recording Corporation, Edward Christopher
                                  Sheeran, Sony/ATV Music Publishing, LLC.(Goldsmith, Andrew) (Entered: 05/1 1/2018)

  05/16/2018            ﬁ 2018
                          LETTER addressed Judge Richard Sullivan from
                                                         to
                                                         Document ﬁled
                                                                                  J.               Patrick R. Frank dated May 16,
                                       re: Grifﬁn, et.al. V. Sheeran, et.al..          by Kathryn Townsend Grifﬁn,
                                  Helen McDonald, The Estate of Cherrigale Townsend.(Frank, Patrick) (Entered:
                                  05/16/2018)

  05/17/2018            4_7_      SECOND LETTER addressed to Judge Richard J. Sullivan from Donald S. Zakarin dated
                                  May 17, 2018 re: Proposed Intervention of Structured Asset Sales and Response to Letter
                                  from Plaintiffs’ Counsel. Document ﬁled by Atlantic Recording Corporation, Edward
                                  Christopher Sheeran, Sony/ATV Music Publishing, LLC.(Goldsmith, Andrew) (Entered:
                                  05/17/2018)

  06/ 1/2018
       1                ﬂ ORDER: Because SAS’s motion
                          motion be made and denies The
                                         to                             it.
                                                                              to intervene is clearly untimely, the Court deems the
                                                                                   parties are reminded that expert discovery shall be
                                  completed by June 15, 2018, the parties shall ﬁle premotion letters, if any, by June 15,
                                  2018, and the Court will conduct a post-discovery conference on June 29, 2018 at 10:00
                                  a.m. ( Expert Discovery due by 6/ 1 5/2018., Status Conference set for 6/29/2018 at 10:00
                                  AM   before Judge Richard J. Sullivan.) (Signed by Judge Richard J. Sullivan on 6/1 1/2018)
                                  (mro) (Entered: 06/1 1/2018)
  06/15/2018            4_6 FIRST LETTER MOTION for Conference re: Defendants’ anticipated motion for
                            summary judgment addressed to Judge Richard J. Sullivan from Donald S. Zakarin dated
                            June 15, 2018. Document ﬁled by Atlantic Recording Corporation, Edward Christopher
                            Sheeran, Sony/ATV Music Publishing, LLC.(Goldsmiﬂ1, Andrew) (Entered: 06/15/2018)

  06/15/2018            1%        FIRST LETTER MOTION to Compel Edward Christopher Sheeran, Atlantic Records,
                                  Sony/ATV Publishing, LLC to produce International Profits/Expert Materials addressed
                                  to Judge Richard J. Sullivan from Patrick R. Frank dated 06/15/2018. Document ﬁled by
                                  Kathryn Townsend Grifﬁn, Helen McDonald, The Estate of Cherrigale Townsend.(Frank,
                                  Patrick) (Entered: 06/15/2018)

  06/19/2018            U:
                                  FIRST REPLY MEMORANDUM OF LAW in Opposition re:                           Q FIRST LETTER
                                  MOTION for Conference re: Defendants’ anticipated motion for summary judgment
                                  addressed to Judge Richard J. Sullivan from Donald S. Zakarin dated June 15, 2018.               .



                                  Document filed by Kathryn Townsend Grifﬁn, Helen McDonald, The Estate of Cherrigale
                                  Townsend. (Frank, Patrick) (Entered: 06/19/2018)
  06/20/2018            |k’J      FIRST LETTER addressed to Judge Richard J. Sullivan from Donald S. Zakarin dated
                                  June 20, 2018 re: Response to Plaintiffs‘ Letter Application To Make A Motion To
                                  Compel Discovery. Document ﬁled by Atlantic Recording Corporation, Edward
                                  Christopher Sheeran, Sony/ATV Music Publishing, LLC.(Goldsmith, Andrew) (Entered:
                                  06/20/2018)

  06/21/2018            U!
                             L»   NOTICE OF APPEAL from              ﬂ
                                                                  Order, Set Deadlines/Hearings,,,,. Document ﬁled by
                                  Structured Asset Sales, LLC. Filing fee $ 505.00, receipt number 0208-15233196. Form C
                                              D
                                  and Fon-n are due within 14 days to the Court of Appeals, Second Circuit. (Parness,
                                  Hillel) (Entered: 06/21/2018)

  06/22/2018                      Transmission of Notice of Appeal and Certiﬁed Copy of Docket Sheet to US Court of
                                  Appeals re:     Q
                                                Notice of Appeal. (tp) (Entered: 06/22/2018)

https:/Iecf.nysd.uscourts.gov/cgi-binIDktRpt.p|'?121000599013022-L_1_0-1                                                                 9/11
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                                                                      A10

7/26/2013                                                             SDNY CM/ECF Version 6.2.2
  06/22/201 8                   Appeal Record Sent to USCA (Electronic File). Certiﬁed Indexed record on Appeal
                                Electronic Files for    Q
                                                        Notice of Appeal, ﬁled by Structured Asset Sales, LLC were
                                transmitted to the U.S. Court of Appeals. (tp) (Entered: 06/22/2018)

  06/22/2018                    FILING ERROR — VVRONG EVENT TYPE SELECTED FROM MENU — MOTION
                                                                  Q Scheduling
                       I?-_'




                                to appear telephonically re:                        Order,,   .   Document ﬁled by Kathryn Townsend
                                Grifﬁn, Helen McDonald, The Estate of Cherrigale Townsend.(Frank, Patrick) Modiﬁed
                                on 7/1 1/2018 (db). (Entered: 06/22/2018)
  06/26/2018            um UI
                                ORDER granting ﬂ Motion. Counsels' request to appear telephonically is granted. IT IS
                                HEREBY ORDERED THAT counsel shall use the following conference line: 1-888-363-
                                4749 access code: 3290725. SO ORDERED. (Signed by Judge Richard J. Sullivan on
                                6/25/2018) (ne) (Entered: 06/26/2018)

  06/26/2018           |uu O‘
                                MEMO ENDORSEMENT on re:             5_1 Reply Memorandum of Law in Opposition to Motion,
                                ﬁled by Helen McDonald, The Estate of Cherrigale Townsend, Kathryn Townsend Grifﬁn,
                                ENDORSEMENT: The Court will hold a premotion conference on the parties’
                                contemplated motions for summary judgement on Friday, June 29, 2018 at 10:00 a.m. In
                                advance of that conference, IT IS HEREBY ORDERED THAT Defendants shall respond
                                in writing to the factual assertions and arguments presented in Part B of this letter no later
                                than Wednesday, June 27, 2018. SO ORDERED. (Pre-Motion Conference set for
                                6/29/2018 at 10:00     AM before Judge Richard J. Sullivan.) (Signed by Judge Richard J.
                                Sullivan on 6/25/2018) (ne) Modiﬁed on 6/27/2018 (ne). (Entered: 06/26/2018)

  06/27/2018                    FIRST LETTER addressed to Judge Richard J. Sullivan from Donald S. Zakarin dated
                                June 27, 2018 re: Section B ofPlaintitfs' Letter dated June 19, 2018. Document ﬁled by
                                Atlantic Recording Corporation, Edward Christopher Sheeran, Sony/ATV Music
                                Publishing, LLC.(Goldsmith, Andrew) (Entered: 06/27/2018)

  06/28/2018                    LETTER addressed to Judge Richard J. Sullivan from Hillel I. Pamess dated June 28,
                                2018 re: Notice of Second Lawsuit. Document ﬁled by Structured Asset Sales, LLC.
                                (Attachments: # 1 Exhibit SAS V. Sheeran Complaint)(Pamess, Hillel) (Entered:
                                06/28/2018)
  06/28/2018                    FIRST LETTER addressed to Judge Richard J. Sullivan from Donald S. Zakarin dated
                                June 28, 2018 re: Letter from Hillel Pamess. Document ﬁled by Atlantic Recording
                                Corporation, Edward Christopher Sheeran, Sony/ATV Music Publishing, LLC.(Goldsmith,
                                Andrew) (Entered: 06/28/2018)
  06/29/201 8                   LETTER addressed to Judge Richard J. Sullivan from Hillel I. Pamess dated June 29,
                                2018 re: Request for Conference. Document ﬁled by Structured Asset Sales, LLC.
                                (Pamess, Hillel) (Entered: 06/29/2018)
  06/29/2018                    FIRST LETTER addressed to Judge Richard J. Sullivan from Donald S. Zakarin dated
                                June 29, 2018 re: Letter from Hillel Pamess dated June 29, 2018. Document ﬁled by
                                Atlantic Recording Corporation, Edward Christopher Sheeran, Sony/ATV Music
                                Publishing, LLC.(Goldsmith, Andrew) (Entered: 06/29/2018)

  06/29/201 8                   Minute Entry for proceedings held before Judge Richard J. Sullivan: Pre-Motion
                                Conference held on 6/29/2018. Patrick Ryan Frank and Keisha Rice present telephonically
                                for Plaintiffs. Donald S. Zakarin and Ilene Susan Farkas present for Defendants. The Court
                                held a premotion conference. As stated on the record, the parties shall ﬁle ajoint status
                                update letter regarding Plaintiffs’ proposed motion to compel no later than July 1, 2018. 1

                                Defendants shall ﬁle their motion for summary judgment by July 27, 2018; Plaintiffs shall
                                respond by August 28, 2018; and Defendants shall reply by September 18, 2018.
                                (Nommensen, Sara) (Entered: 07/01/2018)
  06/29/201 8          Q MEMO ENDORSEMENT on                          re: (60 in   1:17-cv-05221-RJ S) Letter ﬁled by Structured
https:/lecf.nysd.uscourts.gov/cgi-bin/DktRpt.pl?121000599013022-L_1_0-1                                                            10/11
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                                                                      A11


7/26/2018                                                             SDNY CMIECF Version 6.2.2
                              Asset Sales, LLC. ENDORSEMENT: Counsel's request is DENIED. The Court will issue
                              a scheduling order in the related case, 18-cv-5839, once Defendants have been served.
                              (Signed by Judge Richard J. Sullivan on 6/29/2018) (mro) (Entered: 07/02/2018)
  07/02/2018                  NOTICE OF REDESIGNATION TO ANOTHER MAGISTRATE JUDGE. The above
                              entitled action has been redesignated to Magistrate Judge Ona T. Wang. Please note that
                              this is a reassignment of the designation only. (jc) (Entered: 07/02/2018)

  07/20/2018                  FIRST LETTER MOTION for Leave to File Excess Pages addressed to Judge Richard J.
                              Sullivan from Ilene S. Farkas dated July 20, 2018. Document ﬁled by Atlantic Recording
                              Corporation, Edward Christopher Sheeran, Sony/ATV Music Publishing, LLC.(Goldsmith,
                              Andrew) (Entered: 07/20/2018)
  07/23/2018                  ORDER granting Q Letter Motion for Leave to File Excess Pages. SO ORDERED.
                              (Signed by Judge Richard J. Sullivan on 7/20/2018) (rro) (Entered: 07/23/2018)
  07/24/201 8
                         \
                              A0 121 FORM COPYRIGHT - CASE OPENING - SUBMITTED. In compliance with
                              the provisions of 17 U.S.C. 508, the Register of Copyrights is hereby advised that a court
                              action has been filed on the following copyright(s) in the U.S. District Court Southem
                              District of New York. Fonn e-mailed to Register of Copyrights. (pne) (Entered:
                              07/24/2018)




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”“‘’‘”’”‘”'‘e’ S‘   3”“ "7f§é1§eA19W-‘l9\936§’2§‘17° Document 1 Filed 07/11/17 Page
                           Case 1:17-cv-05221 Document                         Page 1 of 15




                                         UNITED STATES DISTRICT COURT
                                        SOUTHERN DISTRICT OF NEW YORK

              KATHRYN TOWNSEND GRIFFIN,
              HELEN MCDONALD, the
              Estate of CHERRIGALE TOWNSEND,



              Plaintiffs,




              Vs.                                        CASE NO:
                                                                               COMPLAINT FOR
                                                                               COPYRIGHT
                                                                               INFRINGEMENT AND
                                                                               DEMAND FOR JURY
                                                                               TRIAL
              EDWARD CHRISTOPHER SHEERAN, p/k/a
              ED SHEERAN, ATLANTIC RECORDING
              CORPORATION, d/b/a ATLANTIC RECORDS,
              SONY/ATV MUSIC PUBLISHING, LLC
              WARNER MUSIC GROUP CORPORATION,
              d/b/a ASYLUM RECORDS,



              Defendants.
                                                                /


                                 COMPLAINT FOR COPYRIGHT INFRINGEMENT
                      COME NOW, the Plaintiffs, KATHRYN TOWNSEND GRIFFIN, the Estate of
              CHERRIGALE TOWNSEND, and HELEN McDONALD, who, by and through their
              undersigned counsel(s), hereby sue the enumerated Defendants,   EDWARD CHRISTOPHER
              SHEERAN (professionally known as "Ed Sheeran") individually. and ATLANTIC
              RECORDING CORPORATION, u’/b/a ATLANTIC RECORDS, SONY/ATV MUSIC
              PUBLISHING, LLC, and WARNER MUSIC GROUP d/b/u ASYLUM RECORDS and
              would further allege as follows:
                                                      Page 1 of 15
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                                                  A13
                Case 1:17-cv-05221
                Case               Document 1 Filed 07/11/17 Page
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                                           Nature of the Case

         1.     This is an action for copyright infringement, in violation of 17 U.S.C.    W 101, etseq.,
arising from the Defendants‘ unauthorized reproduction, distribution and/or public performance

                                                                         "
of the Plaintiffs’ copyrighted musical composition "Let ‘s Get it On         (“Let ‘s ") using the hit song,

“Thinking Out Loud " (“Thinking "), written by Amy Wadge and Ed Sheeran and, subsequently,

recorded by Ed Sheeran.




         2.   The Court has jurisdiction over the subject matter of this action under 28 U.S.C. §

1338(a) because this action arises under the Copyright Act ofl976, 17 U.S.C. § 101, et. seq.

         3.   This Court has personal jurisdiction over the enumerated Defendants because they

have directed their activities and marketing of the infringing works to New York residents, and

New York residents are able to purchase, download, and stream the infringing compositions and
recordings.     As such, the Defendants have engaged in continuing business activities in the instant

jurisdiction.


         4.   The instant Defendants are, at a minimum, constructively aware of their continuous

and substantial commercial interactions with New York residents.

         5.   The Defendant, Mr. Ed Sheeran, has performed, and he and the other Defendants

have authorized, organized, and promoted performances of the infringing work numerous times

in   New York.
         6.   The Defendants have generated touring revenues from the unauthorized and unlawful

exploitation of the inﬁ-inging work, including receiving substantial revenue from such

exploitation in New York.




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                 Case 1:17-cv-05221
                 Case               Document 1 Filed 07/11/17 Page
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        7.      Upon information and belief, the Defendants, individually and collectively, have

generated substantial revenue from the exploitation of the infringing works in New York.

        8.      New York has a considerable interest in adjudicating disputes wherein New York
residents are the target of the harm resulting from exploitation of the infringing work.


        9.      The Defendants herein facilitated the infringing acts occurring in the U.S., and

actively participated in a scheme aiding, inducing, and contributing to copyright infringement in


the U.S.

        10.      For those Defendant(s) primarily based out of the U.K.. given their willful and

knowing exploitation of the infringing work in New York, each could reasonably anticipate

being sued in a court in the U.S.. and New York, speciﬁcally.

        ll.      Venue is proper in this Judicial District pursuant to 28 U.S.C 1391 (b), 1391 (c), and

1400(a) respectively, because Defendants maintain offices in, and are subject to, personal
           ,




jurisdiction in this Judicial District and have committed unlawful acts of infringement in this


Judicial District.




        12.      The Plaintiffs at issue herein are the heirs of Mr. Ed Townsend, co-writer of the

lyrics of Let ‘s Get It On and creator of its musical composition, and are engaged, among other


things, in conducting the business of music publishing and otherwise commercially availing


musical composition copyrights of the music of Mr. Ed Townsend.

        13.      Upon reasonable information and belief, the Defendant, Edward Sheeran, is a

musician, singer, songwriter, and producer living in the United Kingdom who does business in

New York, individually, under Ed Sheeran Limited, and under Gingerbread Man Records. In
addition, Sheeran was nominated for a Grammy Award for Best Record, Best Performance, and




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               Case 1:17-cv-05221
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Song of the Year in 2016 for Thinking. Sheeran conducts systematic and continuous business in

New York including, but not limited to, public performances, and selling albums and
merchandise to the citizens of New York. The Defendant, Edward Sheeran, has reproduced,

distributed, and publicly perfonned the infringing work and sound recording and/or authorized


its reproduction, distribution,   and public performance.

        l4.    Upon reasonable information and belief, ATLANTIC RECORDING

CORPORATION, d/b/a Atlantic Records, (“Atlantic”) is a Delaware corporation with its
Principal place of business in New York, New York.          Upon reasonable information and belief,

Atlantic is the manufacturer and distributor of Thinking and, in so doing, participated in the

exploitation of Let '5.

        15.    Upon reasonable information and belief, SONY/ATV MUSIC PUBLISHING, LLC,

(“SONY/ATV”) is a Delaware company with its principal place of business in New York, New

York.   Upon reasonable information and belief, Sony/ATV is the music publisher for Thinking

and Let '5 and is in a unique position to have known about and/or participated in the exploitation

of either or both works.

        16.   Upon reasonable information and belief, WARNER MUSIC GROUP

CORPORATION, d/b/a Asylum Records, is a Delaware corporation with its principal place of
business in New York.      The Defendant, Asylum, is responsible for the manufacturing,

distribution, marketing and promotion of Thinking and has beneﬁtted extensively from the sale


of Thinking.

                                     Ownershig 0[Let’s Get it On

        17.   The musical composition, Let ‘s Get It On, was written by Marvin Gaye (‘Gaye”) and

Ed Townsend (“Townsend") and recorded by Gaye, in 1973.



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              18.   It is   undisputed by all parties that the Townsend Heirs have an ownership interest in

      the copyright for Let ‘s Get it On.

                                             The Heart of Let ’s Get It On

              19.   The harmonic, melodic, and rhythmic elements of composition in Let '3 Ger [1 On

      have made this song one (1) of the most famous songs in R&B and soul music history. Let ’s has

      been anthologized by celebrated music producers and ranked as the 20th greatest breakbeat of all

      time.


              20.   Let '3, begins with an iconic melody, bass line, harmony and rhythm that are

      recognized around the world. The prominence of the bass line and drum composition throughout

      Let 's make these compositional elements qualitatively important to the musical work as a whole.

      The combination of these elements constitute the driving force of this composition.

                                                  Thinking Out Loud

              21.   The enumerated Defendants released Thinking by the artist, Ed Sheeran on or about

      September 24, 2014, including without limitation, on the album, X.

              22.   Upon reasonable information and belief, Thinking has hit the number one (1) position

      on the national charts in eleven (11) countries since 2014, and has been certified platinum

      multiple times by the Recording lndustry Association of America, indicating sales in excess of

      one million (1,000,000) copies sold in the United States, as well as substantial sales

      internationally.


              23.   According to the Ofﬁcial Charts Company, the recording of Thinking is one (1) of

      the best—selling singles of all time in the U.K., having sold over 2 million (2,000,000) copies.

              24.   Upon reasonable information and belief, the Defendants have authorized the use of

      Thinking in compilation albums, television commercials and music videos.




__1
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           25. Speciﬁcally, the music video for T/n'n/ring is one (l) of the most popular sponsored


music videos on YouTube. Prior to the viewing of Thinking on YouTube, an advertisement

 appears for which the Defendants are entitled to and receive a royalty or other revenue. As of

April 2016, Tlzinking has been played over one billion (1 ,000,000,0()0) times on YouTube.


                                                   Ed Sheeran
           26.   The instant Defendant, Mr. Edward Sheeran, professionally known as “Ed Sheeran”,

is a musical artist.    The Defendant, Mr. Edward Sheeran, experienced a sharp and sudden rise as

an international music star in less than eighteen (18) months as a direct result of the commercial

success of T/zinking, the lead single in the United States from Sheeran’s debut album, “X”.

                                    Defendants Infringed Let’s Get It On

           27.   The harmonic progressions, melodic and rhythmic elements, as observed in Let '5,

have made Let ‘s one of the most well-known and instantly recognizable songs in R&B history.

           28,   These elements of Let ’s composition are the “heart” or qualitatively, the most

important elements, of the song. Indeed, in the wake of the release of Thinking, there have been

multiple instances in which third parties have independently highlighted the striking similarities

and overt common elements of the two (2) works at issue—to wit, a case in point came when the

popular R&B group known as Boyz II Men recently performed a medley of the two (2) songs

together in Las Vegas on July 24, 2015, seguing seamlessly between the two (2) works, and

then remarking that both the singers in Boyz II Men and, in fact, Ed Sheeran, himself—by

singing Thinking~they were actually both singing “a Marvin Gaye” song.‘

           29.   Indeed, even Ed Sheeran, himself, has acknowledged the musical import of Let ‘s

as a forebear and/or musical foundation for Thinking and, purportedly, afﬁrming to his audience


his proverbial     R&B “bona fides” by performing a medley of both songs/works in which he, too,
    Said video footage of the pertinent event is currently available on YouTube.
‘




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transitions seamlessly between Thinking and Let 's.2


        30.   The Defendants copied the "heart" of Let 3 and repeated it continuously throughout

Tlzin/cing—this incontrovertible musical similarity has been observed by music industry

professionals previously, as embodied by various social media and articles about the matter and,

notably, directly addressed in a featured article in the music industry publication, Spin

Magazine}

        3].   As such, there can be no legitimate question that the melodic, hannonic, and

rhythmic compositions in Thinking are n_ot the product ofindependent creation.

        32.   The melodic, harmonic. and rhythmic compositions of Thinking are substantially

and/or strikingly similar to the drum composition from Let's.

        33.   The instant Defendants copied, reproduced, distributed, and/or publicly performed

copyrightable elements of Let 's, speciﬁcally, the melodic, harmonic, and rhythmic compositions

of Let ‘s, without authorization.

        34.   To date, each of the enumerated Defendants reproduced, distributed, publicly

performed, and/or authorized the reproduction, distribution, and public performance of the

infringing composition and sound recording Thinking and each of the Defendants continues to

infringe Let '3.


        35.   Upon reasonable infonnation and belief, no one ever licensed the Let '5 melodic,

harmonic, and rhythmic compositions to the Defendants, or any other aspect of the copyrighted/

copyrightable aspects of Let '5.




I
  Said video footage of the performance is also publicly available on YouTube.
  In the wake of the much-publicized “Blurred Lines" verdict, the March 11, 2015 article by Mr. Andrew
3

Unterberger takes the position that Mr. Sheeran’s composition, as it related speciﬁcally to Let’s Get it On,
constituted an even greater infringement upon Marvin Gaye’s revered body of work than that which was at
issue in the aforementioned litigation.

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                            The Infringement bv the Defendants is Willful

        36.   The Defendants were notiﬁed of the infringement on or about April 15, 2015 by

electronic mail or telephone (the "Notice“).


        37. Despite receiving the Notice the Defendants continued to exploit Thinking without


permission to use the melodic. harmonic, and rhythmic compositions copied from Let ’s, the

infringed work.

        38. Despite the Notice, all of the Defendants have continued to infringe Plaintiffs’


copyrighted work.

        39.   The inﬁingement by the Defendants is willful, as evidenced by their continuing to

infringe Let 's after the Notice was provided to them.

        40.   The Defendants knowingly and intentionally infringed upon Plaintiffs’ rights. The

Defendants‘ collective knowledge and intent are established by, among other things, the fact that

Defendants to this day have neither sought, nor obtained, a license from the Plaintiffs. All

conditions precedent to the maintenance and/or establishment of the instant action have been

satisﬁed and/or, otherwise, waived by the Defendants.

                                    FIRST CAUSE OF ACTION
                          (Copyright Infringement - 17 U.S.C. § 101, et.seq.)

        41.   The Plaintiffs repeat and reallege Paragraphs One (1) through Forty (40), as though

fully set forth herein.


        42.   The Defendants‘ reproduction, distribution, and public performances of the infringing

work, Thinking, continue to this day, and Defendants have not deigned to compensate Plaintiffs

for the use of the copyrighted work in Let ‘s to be used for Thinking, despite the fact that they


have received money and other substantial benefits from Plaintiffs’ composition.




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          43.   The Defendants‘ reproduction, distribution, public performance of Thinking, and

authorizing others to do the same, infringes Plaintiffs’ exclusive rights under the Copyright Act.

          44.   The conduct of the Defendants is knowing and willful.

          45.   As a direct and/or proximate result of the Defendants’ wrongful conduct, the

Plaintiffs have been irreparably harmed, suffered damage, and Defendants have proﬁted in an


amount to be determined at trial.

                                   SECOND CAUSE OF ACTION
                                (Infringement of Copyright Claim for
                                        Statutory Damages)

          46.   The Plaintiffs reallege and incorporate Paragraphs One (1) through Forty (40), and

Forty-Two (42) through Forty—Five (45), as though fully set forth herein.

          47.   The Defendants infringed Plaintiffs’ exclusive copyright in "Let 's" when they copied

substantial parts of it.   Such copying was wholly unauthorized, as it was without any manner of

license, consent, or authority from the Plaintiffs, the copyright owners.   By virtue of this
unauthorized copying, the Defendants have realized illegal revenues.

          48.   The Defendants infringed on Plaintiffs’ exclusive copyright in "Let ’s" when the

Defendants mechanically reproduced and released sound recordings, including compact discs

and other phono-records embodying "Thinking". Such reproduction and release was wholly

unauthorized, as it was without any license or consent of authority from the Plaintiffs.   By virtue

of this unauthorized commercial exploitation, Defendants have realized illegal revenues.

          49.   The Defendant, Warner Music Group Corporation, d/b/a Asylum Records, infringed

on Plaintiffs’ exclusive copyright in "Let '3" when Defendants distributed and sold sound

recordings, including compact discs, phono-records and video recordings, embodying

"
    Thinking“. Such reproduction and release was wholly unauthorized, as it was without any




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license or consent of authority froin the Plaintiffs.   By virtue of this unauthorized commercial
exploitation, Defendants have realized illegal revenues.


          50.   The Defendants infringed Plaintiffs’ exclusive copyright in “Let’s" when they issued

and/or authorized others to issue licenses to third parties for the use. publication, and exploitation

of "Thinking". Said licenses were issued without any consent or authority from Plaintiffs, the

copyright owners of "Let 's,“ from which “Th1'nking" was substantially copied.      By virtue of this
unauthorized commercial exploitation, Defendants have realized illegal revenues.

          51.   As a direct and/or proximate result of the Defendants‘ infringement on Plaintiffs’

exclusive copyright in Let ‘s, Plaintiffs have suffered damages. Said injuries are continuing and

will not abate in the future.


          52. Pursuant to 17 U.S.C. § 504 (c), the Plaintiffs are entitled to statutory damages.


          53.   The above-chronicled actions of enumerated Defendants were committed willfully,

and by reason thereof, in the event that Plaintiffs elect to recover statutory damages, they are

entitled to an increase of the award to a sum of up to $150,000 pursuant to 17 U.S.C. § 504


(C)(2)~


                                     THIRD CAUSE OF ACTION
                    (False Designation of Origin Under the Lanham Act §43 (a),
                             15 U.S.C. §1125 (a)—Against all Defendants)

          54.   The Plaintiffs reallege and incorporate Paragraphs One (1) through Forty (40), Forty-

Two (42) through Forty-Five (45), and Forty-Seven (47) through Fifty-Three (53), as though

fully set forth herein.


          55.   By distributing, marketing. and otherwise exploiting the Infringing Song in interstate
commerce while giving themselves credit for the Plaintiffs’ work. the Defendants have falsely




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represented to the public that Defendants have independently created. and are authors of.

Thinking.

        56.   As a result, members of the public have been deceived and/or confused into

believing that Thinking is the independent creation ofthe Defendants.      The Plaintiffs are

seriously injured by such deception, in that it negatively impacts their ability to distribute,

market, and otherwise exploit Let ‘S4 This deception also has a negative impact on the Plaintiffs

because they are not receiving the credit due for the success experienced by Thinking.

       57.    By engaging in the wrongful conduct described herein and above, Defendants have

violated Section 43 (a) of the Lanham Act, 15 U.S.C. §l 125 (a) for False Designation of Origin.

Because the Defendants have engaged in the conduct described herein with fraudulent intent, and

with the actual knowledge of the harm being caused to the Plaintiffs by such wrongful

conduct/acts, this is an exceptional case which merits an award of treble damages and attomey’s

fees against said Defendants.


       58.    The Defendants‘ acts and conduct have caused. and will continue to cause, Plaintiffs

great and irreparable injury that cannot be adequately compensated or measured in damages.

Plaintiffs have no adequate remedy at law and will suffer immediate and irreparable loss,


damage, and injury unless Defendants are restrained and enjoined from continuing to engage in

such wrongful conduct.

                                 FOURTH CAUSE OF ACTION
                ("Reverse Passing Off" Under the Lanham Act §43(a), 15 U.S.C.
                              §1125 (a)- Against All Defendants)

       59.    The Plaintiffs reallege and incorporate paragraphs One (1) through Forty (40), F ony-

Two (42) through Forty—Five (45), Forty-Seven (47) through Fifty—Three (53) and Fifty—Five (55)
through Fifty-Eight (58), as though fully set forth herein.



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          60.   The Defendants have appropriated and copied the original expression of Let ‘s,

without consent, credit, or compensation, by writing, performing, and recording Thinking.

          61.   As a result, members of the public have been deceived and/or confused into

believing that Thinking is the independent creation of the Defendants.    The Plaintiffs are

seriously injured by such deception and misattribution, in that it negatively impacts their ability

to distribute, market, and otherwise avail themselves of Let ’s.


          62.   By engaging in the wrongﬁil conduct described herein and above, Defendants have
violated section 43 (a) ofthe Lanham Act, 15      USC. §l125 (a) for Reverse Passing Off.
Because the Defendants have engaged in the conduct described herein with fraudulent intent, and

with the actual knowledge of the hann being caused to the Plaintiffs by such wrongful

conduct/acts, this is an exceptional case which merits and award of treble damages and

attorney’s fees against the Defendants.


          63.   The Defendants’ aggregate acts and conduct have caused, and will continue to cause,

the Plaintiffs great and irreparable injury that cannot be adequately compensated or measured in

damages. The Plaintiffs have no adequate remedy at law and will suffer immediate and

irreparable loss, damage, and injury unless the Defendants are restrained and enjoined from

continuing to engage in such wrongful conduct.

                                    FIFTH CAUSE OF ACTION
                            (Unjust Enrichment-Against All Defendants)

          64. Plaintiffs reallege and incorporate Paragraphs One (1) through Forty (40), Forty-


Two (42) through Forty-Five (45), Forty—Seven (47) through Fifty—Three (53), F ifty-F ive (55)

through Fifty—Eight (58) and Sixty (60) through Sixty-Three (63), as though ﬁilly set forth

herein.




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          65.   By reason of the foregoing facts, the Defendants, and each of them, have become

unjustly enriched at the expense of Plaintiffs by failing to license the right use Let ‘s and by

realizing monetary gain from their unauthorized use of Let 's.


          66.   The Defendants, and each of them, have been unjustly enriched in an amount which

cannot be precisely ascertained at this time, but will be ascertained according to proof at trial.

                                      SIXTH CAUSE OF ACTION
                           (Demand for Accounting-Against All Defendants)

          67.   The Plaintiffs reallege and incorporate Paragraphs One (1) through Forty (40), Forty-

Two (42) through Forty—Five (45), Forty-Seven (47) through Fifty—Three (53), Fifty—Five (55)

through Fifty-Eight (58), Sixty (60) through Sixty-Three (63), Sixty—Five (65) and Sixty-Six

(66), as though fully set forth herein.


          68.   As explicated herein above, the Plaintiffs have an interest in all of the money that is

generated from the distribution and any other exploitation of Thinking in that they are the

copyright owners of Let '5.      Moreover, Plaintiffs have an interest in any future exploitation of

Thinking and any royalties which result from any such future exploitation.

          69.   The Plaintiffs are informed and believe that Defendants have generated an

undetemiined—yet substantial—a1nount of money, due to the commercial success of Thinking

and the   X album through sales, distribution, promotion, circulation, and other exploitation of
Thinking.

          70.   The amount of rnoney/proceeds due from the Defendants is unknown to Plaintiffs

and cannot be ascertained without an accounting of all of the Defendants‘ ﬁnancial records

related to Thinking.


          71.   As a result of the Defendants‘ actions, Plaintiffs have been damaged in an amount to

be proven after an accounting has been conducted. Accordingly, Plaintiffs hereby request that the


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Court order an accounting of all of Defendants‘ ﬁnancial records related to Thinking in order to

determine the sums rightfully due to Plaintiffs and that those sums be paid to them.

                                   SEVENTH CAUSE OF ACTION
                               (Preliminary and Permanent Injunction)

         72.   The Plaintiffs repeat and reallege Paragraphs One (1) through Forty (40), Forty—Tw0

(42) through Forty—Five (45), Forty-Seven (47) through Fifty-Three (53), Fifty—Five (55) through

Fifty-Eight (58), Sixty (60) through Sixty-Three (63), Sixty-Five (65) and Sixty-Six (66) and

Sixty-Eight(68) through Seventy—One (71), as though fully set forth herein.

         73.   The Plaintiffs have a likelihood of eventual success in this litigation.

         74.   The Plaintiffs will suffer irreparable harm if injunctive relief is not granted by this

Court.

         75.   The Defendants‘ unauthorized distributions ofPlaintiffs’ intellectual property are

causing irreparable harm to the instant Plaintiffs.

                                    DEMAND FOR JURY TRIAL
         76.   The Plaintiffs, respectfully, request a trial by juiy on all claims asserted in this

Complaint.

         WHEREFORE, the Plaintiffs, collectively, respectfully request that judgment be entered
against the enumerated Defendants, as follows:

         A. For judgment that Defendants have violated the Copyright Act and that all such
         violations have been willful; and

         B. For judgment entering a preliminary and permanent injunction (and waiver of bond)
         enjoining and restraining Defendants and their officers, agents, servants, employees and
         attorneys and all those in active concert or participation with them, from infringing
         Plaintiffs exclusive rights under the Copyright Act by reproducing, distributing and
         publicly performing Thiiiking, and authorizing others to the same; and

         C. For judgment assessing Defendants for the damages suffered by Plaintiffs, including
         an award of actual damages and Defendants‘ proﬁts attributable to the infringement, or
         statutory damages (at Plaintiffs’ election) under the Copyright Act, as well as costs and

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    attorney's fees to the full extent provided for by Sections 501. 504 and 505 of the
    Copyright Act, 17 U.S.C. §§ 501,504 and 505; and

    D. For a judgment directing that Defendants deliver up for destruction to Plaintiffs all
    copies of Thinking in their possession or under their control, pursuant to 15 U.S.C. §
    H18 and 17 U.S.C. § 503; and
    E. For judgment granting such other, further, and different relief as to the Court may
    seem just and proper, including Plaintiffs’ costs and reasonable attomeys' fees.


DATED:   June 24“: 2017

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                                                  Attorneys for Plaintiffs




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p/k/a Ed                              Corporation, d/b/a
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      Ed Sheeran,
         Records, and
Atlantic Records,                Music Publishing LLC
                       Sony/A T VMusic
                   and Sony/ATV                    LLC

UNITED STATES
UNITED STATES DISTRICT COURT
              DISTRICT COURT
SOUTHERN DISTRICT
SOUTHERN              NEW YORK
                   OF NEW
          DISTRICT OF      YORK
 KATHRYN TOWNSEND
 KATHRYN  TOWNSEND GRIFFIN,   HELEN
                     GRIFFIN, HELEN
 MCDONALD, and THE
 MCDONALD,     THE ESTATE
                   ESTATE OF  CHERRIGALE
                           OF CHERRIGALE
 TOWNSEND,
 TOWNSEND,

                        Plaintiffs,
                        Plaintiffs,


                _againSt_
                -against-                                     ECF CASE
                                                              ECF CASE

 EDWARD CHRISTOPHER
 EDWARD  CHRISTOPHER SHEERAN,         ED
                       SHEERAN, p/k/a ED                      17-CV-5221 (RJS)
                                                              17-cv-5221
 SHEERAN, ATLANTIC
 SHEERAN,            RECORDING
          ATLANTIC RECORDING
 CORPORATION,       ATLANTIC RECORDS,
 CORPORATION, d/b/a ATLANTIC RECORDS,                         ANSWER
                                                              ANSWER
 SONY/ATV MUSIC
 SONY/ATV MUSIC PUBLISHING,
                 PUBLISHING, LLC,
                             LLC, and
 wARNER MUSIC
 WARNER        GROUP CORPORATION,
         MUSIC GROUP   CORPORATION, d/b/a
 ASYLUM RECORDS
 ASYLUM RECORDS

                        Defendants.



                                                    Ed Sheeran (“Sheeran”), Atlantic
                  Edward Christopher Sheeran, p/k/a Ed
       Defendants Edward

Recording Corporation, d/b/a Atlantic Records (“Atlantic”),     Sony/ATV Music
                                              (“Atlantic”), and Sony/ATV Music Publishing

LLC (“SATV,” together with Sheeran and Atlantic, the “Defendants”),
LLC                                                  “DefendantS”), respond to the Complaint

               2017 (the
dated June 24, 2017 (the “Complaint”) of                                    McDonald and the
                                                            Townsend, Helen McDonald
                                      of plaintiffs Kathryn Townsend,

       of Cherrigale Townsend (collectively,
Estate of                     (collectively, the “Plaintiffs”) and state as follows:
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        1.
        1.      Deny the allegations set forth in Paragraph 11 of
                Deny                                                            and any allegations
                                                               of the Complaint and

   infringement, except admit that Plaintiffs purport to bring an action for copyright infringement,
of infringement,

     Amy Wadge (“Wadge”) and Edward Christopher Sheeran (“Sheeran”) are the credited authors
that Amy

of the musical composition Thinking Out Loud (“TOL”),
                                    Out Loud (“TOL”), that Sheeran recorded the sound

recording “TOL,” and      knowledge or information sufficient to form
                 and deny knowledge                              form a belief
                                                                        belief as to whether

           own any rights in the composition Let’s Get It
Plaintiffs own                                            On (“LGO”).
                                                       It On (“LGO”).

        2.      Aver that the allegations set forth in Paragraph 2 of the Complaint contain legal
                Aver

               which no
conclusions to which no response is required; to the extent a response is required, deny the

                                     of the Complaint, except admit that Plaintiffs purport to base
allegations set forth in Paragraph 2 of

jurisdiction on the statutes alleged therein.
                                     therein.


        3.      Aver
                Aver that the allegations set forth in Paragraph 3 of the Complaint contain legal

               which no
conclusions to which no response is required; to the extent a response is required, deny the

                                                                                          SATV do
                                     of the Complaint except as to aver that Atlantic and SATV
allegations set forth in Paragraph 3 of                                                        do

not contest this
            this Court’s personal jurisdiction
                                  jurisdiction over them for purposes of this
                                                                         this Action.


        4.      Aver
                Aver that the allegations set forth in Paragraph 4 of the Complaint contain legal

               which no response is required; to the extent a response is required, deny the
conclusions to which

allegations set forth in Paragraph 44 of the Complaint and, as to Sheeran, deny that he targeted any

                               of New
activities in and to the State of     York or to New
                                  New York           York residents.
                                                 New York

        5.      Admit that Sheeran has perfomied
                Admit                            “TOL” in
                                       performed “TOL” in New
                                                          New York, but otherwise deny the

                                     of the Complaint.
allegations set forth in Paragraph 5 of

        6.      Deny the allegations set forth in Paragraph 6 of the Complaint.
                Deny                                                 Complaint.




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       7.      Admit                                                                  “TOL” in
               Admit that Defendants have generated revenues from the exploitation of “TOL” in


the United States, including New
                             New York, but otherwise deny the allegations set forth in Paragraph

                                                                 of infringement.
7 of the Complaint, including but not limited to any allegations of infringement.

       8.      Aver that the allegations set forth in Paragraph 8 of the Complaint contain legal
               Aver

conclusions to which no response is required; to the extent a response is required, deny the
               which no

allegations set forth in Paragraph 8 of the Complaint.

       9.      Deny the allegations set forth in Paragraph 9 of
               Deny                                          of the Complaint.

       10.
       l0.     Deny any allegations of
               Deny                 of infringement and deny any basis for personal jurisdiction
                                                                                    jurisdiction

exists over any “Defendants primarily based out of     UK.”
                                                of the U.K.”

       11.
       1 l.    Aver that the allegations set forth in Paragraph 11
               Aver                                             1 1 of the Complaint contain legal




conclusions to which no response is required; to the extent a response is required, deny the
               which no

                                      of the Complaint as they pertain to Defendants, except admit
                                   11 of
allegations set forth in Paragraph 11

that Plaintiffs purport to base venue on the statutes alleged therein.
                                                              therein.


       12.
       12.     Deny knowledge
               Deny knowledge or information sufficient to form a belief
                                                                  belief regarding the allegations

                       12 of the Complaint.
set forth in Paragraph 12

       13.
       13.     Deny the allegations of Paragraph 13
               Deny                                 of the Complaint, except admit that Sheeran
                                                 13 of

                                               who has won
is a musician, singer, songwriter and producer who                 Grammy awards and has
                                                       won various Grammy

performed his music in New York and throughout the world at various times and has not targeted
                       New York

his activities to New
                  New York                       of New
                      York State or to residents of     York State.
                                                    New York

       14.
       14.     Admit                             TOL in the United States, admit that Atlantic is a
               Admit that Atlantic has exploited TOL

Delaware corporation with a place of
Delaware                                                      New York, but otherwise deny the
                                  of business in the State of New

                                      of the Complaint.
                                   14 of
allegations set forth in Paragraph 14




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       15.
       15.     Admit                                 TOL in the United States, has exploited
                          SATV is a subpublisher for TOL
               Admit that SATV

TOL in the United States, and
TOL                                                           company with a place of business in
                          and is a Delaware limited liability company

             New York, but otherwise deny the allegations set forth in Paragraph 15
the State of New                                                                 15 of the

                                                     SATV is the music publisher or subpublisher
           speciﬁcally including the allegation that SATV
Complaint, specifically

                         LGO.
in the United States for LGO.

       16.
       16.     In response to Paragraph 16, Warner Music
                                        16, Warner       Group Corp. has been dismissed from
                                                   Music Group

this action and, accordingly, no response is necessary.

       17.
       17.     Deny knowledge
               Deny knowledge or information sufficient to form a belief
                                                                  belief regarding the allegations

                       17 of the Complaint.
set forth in Paragraph 17

       18.
       18.     Deny the allegations set forth in Paragraph 18
               Deny                                                  Complaint.
                                                           18 of the Complaint.

       19.
       19.     Deny knowledge
               Deny knowledge or information sufficient to form a belief
                                                                  belief regarding the allegations

                       19 of the Complaint, including what Plaintiffs
set forth in Paragraph 19                                  Plaintiffs mean by
                                                                           by a “famous song” and

refer the Court to the relevant charts for the true and complete contents thereof.

       20.     Deny the allegations set forth in Paragraph 20 of
               Deny                                           of the Complaint and the legal

conclusions stated therein.
                   therein.


       21.     Admit                       TOL was
               Admit that the recording of TOL was released commercially on or about September

                             of the Defendants exploited the recorded version of
24, 2014, admit that certain of                                                  TOL and certain
                                                                              of TOL

                                            TOL in the United States since that time, but
of the Defendants exploited the composition TOL

                                                         of the Complaint.
                                                      21 of
otherwise deny the allegations set forth in Paragraph 21

       22.     Deny the allegations set forth in Paragraph 22
               Deny                                        22 of               and respectfully
                                                              of the Complaint and

                                                                       and complete contents thereof.
refer the Court to the relevant charts referenced therein for the true and

       23.     Deny knowledge
               Deny knowledge or information sufficient
                                             sufﬁcient to form a belief
                                                                 belief regarding the allegations

                          of the Complaint, deny that the success of either the recorded version
set forth in Paragraph 23 of                                                                     of
                                                                                         Version of



                                                 4
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TOL or the success of the composition TOL
TOL                                   TOL in any country other than the United States has any
                                       which is for alleged infringement of the United States
pertinence to any claim in this action which

             LGO in the United States and respectfully refer the Court to the relevant charts
copyright in LGO

referenced therein for the true and complete contents thereof.

       24.     Admit that Atlantic and
               Admit                   SATV have issued certain licenses, including master use
                                   and SATV

licenses and synchronization licenses, respectively,     TOL in the United States but otherwise
                                       respectively, for TOL

                                            24 of
deny the allegations set forth in Paragraph 24 of the Complaint as they pertain to Defendants.

       25.     Admit
               Admit that as of the date of                           YouTube, the music video
                                         of this Answer, according to YouTube,           Video

    TOL has been viewed
for TOL                                          YouTube, but otherwise deny the allegations set
                 Viewed over 11 billion times on YouTube,

                                           respectﬁrlly refer the Court to the website referenced
forth in Paragraph 25 of the Complaint and respectfully

therein for the true and complete contends thereof.

       26.     Admit that Sheeran is a successful musical artist but otherwise deny the allegations
               Admit

set forth in Paragraph 26 of the Complaint.

       27.     Deny knowledge
               Deny knowledge or information sufficient   form a belief as to the truth of
                                             sufﬁcient to form                          of the

                                      of the Complaint and aver that the musical elements alleged
allegations set forth in Paragraph 27 of

      LGO were
as to LGO were not unique, original or protectable by                           of the United
                                                   by the authors and/or owners of

                    LGO.
States copyright in LGO.

       28.     Deny the allegations set forth in the first
               Deny                                                of Paragraph 28 of
                                                     ﬁrst sentence of              of the Complaint;

     knowledge or information sufficient to form
deny knowledge                              form a belief                 of the allegations set forth
                                                   belief as to the truth of

                 of Paragraph 28 of
in the remainder of              of the Complaint.

       29.                                           TOL and LGO,
               Admit that Sheeran publicly performed TOL
               Admit                                         LGO, but otherwise deny the

                                      of the Complaint.
allegations set forth in Paragraph 29 of

       30.     Deny the allegations set forth in Paragraph 30 of
               Deny                                           of the Complaint.



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       31.     Deny the allegations set forth in Paragraph 31
               Deny                                                  Complaint.
                                                           31 of the Complaint.

       32.     Deny the allegations set forth in Paragraph 32 of the Complaint.
               Deny                                                  Complaint.

       33.     Deny the allegations set forth in Paragraph 33 of the Complaint.
               Deny                                                  Complaint.

       34.     Deny the allegations set forth in Paragraph 34 of
               Deny                                           of the Complaint.

       35.     Admit                                 LGO in connection with their exploitation of
               Admit that Defendants did not license LGO

TOL, but expressly deny that any such license is or was
TOL,                                                was required.

       36.     Deny the allegations set forth in Paragraph 36 of
               Deny                                           of the Complaint, and respectfully

refer the Court to all actual and relevant correspondence for its true and correct contents.

       37.     Deny the allegations set forth in Paragraph 37 of
               Deny                                           of the Complaint.

       38.     Deny the allegations set forth in Paragraph 38 of
               Deny                                           of the Complaint.

       39.     Deny the allegations set forth in Paragraph 39 of
               Deny                                           of the Complaint.
                                                                     Complaint.

       40.     Deny the allegations set forth in Paragraph 40
               Deny                                        40 of
                                                              of the Complaint.

       41.     In response to Paragraph 41 of the Complaint, repeat and reallege the foregoing
                                        41 of

                      40 set forth above as if fully
Paragraphs 11 through 40                       ﬁrlly set forth herein.

       42.     Admit                                TOL in the United States and have not
               Admit that Defendants have exploited TOL

                                no compensation is warranted or required, and otherwise deny the
compensated Plaintiffs, because no

                                   42 of
allegations set forth in Paragraph 42 of the Complaint.

       43.     Deny the allegations set forth in Paragraph 43 of
               Deny                                           of the Complaint.

       44.     Deny the allegations set forth in Paragraph 44
               Deny                                        44 of
                                                              of the Complaint.

       45.     Deny the allegations set forth in Paragraph 45 of
               Deny                                           of the Complaint.

       46.                              46 of
               In response to Paragraph 46                          and reallege the foregoing
                                           of the Complaint, repeat and

Paragraphs 11 through 40 and 42 through 45 set forth above as if
                                                              if fully set forth herein.


       47.     Deny the allegations set forth in Paragraph 47
               Deny                                        47 of
                                                              of the Complaint.



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          48.   Deny the allegations set forth in Paragraph 48 of
                Deny                                           of the Complaint.

          49.                                Warner Music
                In response to Paragraph 49, Warner       Group has been
                                                    Music Group                    from this
                                                                    been dismissed from

                         no response is necessary. .
action and, accordingly, no                          .




          50.   Deny the allegations set forth in Paragraph 50 of
                Deny                                           of the Complaint.

          51.   Deny the allegations set forth in Paragraph 51
                Deny                                           of the Complaint.
                                                            51 of

          52.   Deny the allegations set forth in Paragraph 52 of
                Deny                                           of the Complaint.

          53.   Deny the allegations set forth in Paragraph 53 of
                Deny                                           of the Complaint.

          54.   In response to Paragraph 54 through and including Paragraph 66, Defendants

respond that Plaintiffs have dismissed the Third, Fourth and Fifth Claims in the Complaint

                                                                                       no
voluntarily, and accordingly, these paragraphs of the Complaint having been dismissed, no

response is necessary.

          55.                               of the Complaint, repeat and reallege the foregoing
                In response to Paragraph 67 of

                          42 through 45, 47 through 53 and 54 set forth above as if
Paragraphs 11 through 40, 42                                                     if fully set forth


herein.

          56.   Deny the allegations set forth in Paragraph 68 of the Complaint.
                Deny                                                  Complaint.

          57.   Admit that Defendants have generated revenues from
                Admit                                         from their exploitation of TOL in
                                                                                      of TOL

the United States, but otherwise deny the allegations set forth in Paragraph 69 of the Complaint.

          58.   Deny the allegations set forth in Paragraph 70 of
                Deny                                           of the Complaint.

          59.   Deny the allegations set forth in Paragraph 71of
                Deny                                        7lofthe
                                                                 the Complaint.

          60.                               of the Complaint, repeat and reallege the foregoing
                In response to Paragraph 72 of

                                                           and 56 through 59 set forth above as if
Paragraphs 11 through 40, 42 through 45, 47 through 53, 54 and                                  if


fully set forth herein.

          61.   Deny the allegations set forth in Paragraph 73 of the Complaint.
                Deny                                                  Complaint.



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       62.      Deny the allegations set forth in Paragraph 74 of the Complaint.
                Deny                                                  Complaint.

       63.      Deny the allegations set forth in Paragraph 75 of the Complaint.
                Deny                                                  Complaint.

       64.                                                                                by jury but
                In response to Paragraph 75, admit that Plaintiffs have requested a trial by

deny their right to one to the extent their claims sound in equity.

                                  AFFIRMATIVE DEFENSES
                                  AFFIRMATIVE DEFENSES
                         any of the allegations set forth in the Complaint and without admitting
       Without admitting any

or suggesting that Defendants bear the burden of       on any of
                                              of proof on     of the following defenses, as

                         afﬁrrnative defenses, Defendants state as follows:
separate and independent affirmative                               follows:

                     AS
                     AS AND FOR A
                        AND FOR   FIRST AFFIRMATIVE
                                A FIRST             DEFENSE
                                        AFFIRMATIVE DEFENSE
       65.      The Complaint, and
                The                                                                     upon which
                               and each claim set forth therein, fails to state a claim upon which

relief
relief can be granted.


                       AND FOR
                    AS AND
                    AS     FOR A
                               A SECOND
                                 SECOND AFFIRMATIVE DEFENSE
                                        AFFIRMATIVE DEFENSE
       66.      Plaintiffs’                       whole or in part, by
                Plaintiffs’ claims are barred, in whole             by documentary evidence.

                        AND FOR
                     AS AND
                     AS         A THIRD
                            FOR A                   DEFENSE
                                        AFFIRMATIVE DEFENSE
                                  THIRD AFFIRMATIVE
       67.      Plaintiffs’                       whole or in part, by
                Plaintiffs’ claims are barred, in whole                              of waiver and
                                                                    by the doctrines of

estoppel.

                       AND FOR
                    AS AND
                    AS           FOURTH AFFIRMATIVE
                               A FOURTH
                           FOR A        AFFIRMATIVE DEFENSE
                                                    DEFENSE
       68.      The Sixth and Seventh Claims are preempted by
                The                                                   301 of
                                                           by Section 301        US Copyright
                                                                          of the US

Act.

                        AND FOR
                     AS AND
                     AS         A FIFTH
                            FOR A                   DEFENSE
                                        AFFIRMATIVE DEFENSE
                                  FIFTH AFFIRMATIVE
       69.                                        whole or in part, under the applicable statutes of
                Plaintiffs’ claims are barred, in whole
                Plaintiffs’                                                                       of

limitation.
limitation.




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                        AND FOR
                     AS AND
                     AS     FOR A
                                A SIXTH              DEFENSE
                                        AF FIRMATIVE DEFENSE
                                  SIXTH AFFIRMATIVE
       70.     The request for injunctive relief
               The                               must be rejected because Plaintiffs have an
                                          relief must


         remedy at law, they cannot establish irreparable harm, they cannot establish a likelihood
adequate remedy

           on the merits, and they cannot establish that the equities balance in their favor.
of success on

                      AND FOR
                   AS AND
                   AS     FOR A
                              A SEVENTH
                                SEVENTH AFFIRMATIVE
                                        AFFIRMATIVE DEFENSE
                                                    DEFENSE
       71.     Plaintiffs’                       whole or in part,
               Plaintiffs’ claims are barred, in whole       part, under the doctrine of laches.

                      AND FOR
                   AS AND
                   AS         AN EIGHTH
                          FOR AN EIGHTH AFFIRMATIVE
                                        AFFIRMATIVE DEFENSE
                                                    DEFENSE
       72.     Plaintiffs’                       whole or in part, because they failed to mitigate
               Plaintiffs’ claims are barred, in whole


their damages, if any.

                        AND FOR
                     AS AND
                     AS         A NINTH
                            FOR A NINTH AFFIRMATIVE DEFENSE
                                        AFFIRMATIVE DEFENSE
       73.     Plaintiff have failed to join necessary and/or indispensable parties.

                       AND FOR
                    AS AND
                    AS         A TENTH
                           FOR A TENTH AFFIRMATIVE DEFENSE
                                       AFFIRMATIVE DEFENSE
       74.     The Complaint is barred, in whole
               The                         whole or in part, because the alleged use, which
                                                                                      which is not

          was a fair use under 17
admitted, was                     USC. §§ 107.
                               17 U.S.C.  107.


                    AND FOR
                 AS AND
                 AS         AN ELEVENTH
                        FOR AN ELEVENTH AFFIRMATIVE DEFENSE
                                        AFFIRMATIVE DEFENSE
       75.     The                             TOL was
               The Complaint is barred because TOL was created independently.
                                                               independently.

                     AND FOR
                  AS AND
                  AS         A TWELFTH
                         FOR A TWELFTH AFFIRMATIVE  DEFENSE
                                       AFFIRNIATIVE DEFENSE
       76.     The Complaint is barred because the alleged use, which
               The                                              which is not admitted, is de

minimis.

                AS AND FOR
                AS AND FOR A
                           A THIRTEENTH
                             THIRTEENTH AFFIRMATIVE
                                        AFFIRMATIVE DEFENSE
                                                    DEFENSE
       77.                                     LGO and TOL
               The Complaint is barred because LGO
               The                                     TOL are not substantially similar.




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                    AND FOR
                 AS AND
                 AS     FOR A F OURTEENTH AFFIRMATIVE
                            A FOURTEENTH               DEFENSE
                                          AF FIRMATIVE DEFENSE
          78.   The Complaint is barred because the elements of
                The                                             LGO that TOL
                                                             of LGO      TOL allegedly infringe
are not protectable and are not original.

                     AND FOR
                  AS AND
                  AS     FOR A
                             A FIFTEENTH AFFIRMATIVE DEFENSE
                               FIFTEENTH AFFIRMATIVE DEFENSE
          79.   The Complaint is barred because Plaintiffs lack standing.
                The

                                            RESERVATION
                                            RESERVATION

          80.                                                     afﬁrmative defense in the event
                Defendants reserve the right to assert additional affirmative

                                                                 them to be proper.
that a further investigation or discovery in this action reveals them

          WHEREFORE, Defendants respectfully request that the Complaint be dismissed in its
          WHEREFORE,

                                                                                   deems just and
                                                               relief as the Court deems
entirety and that Defendants be awarded such other and further relief

proper.
proper.

       New York, New
Dated: New             York
                 New York
       September 18,
       September     2017
                 18, 2017


                                                      PRYOR CASHMAN LLP
                                                      PRYOR CASHMAN LLP

                                                             Donald S.
                                                      By:/s/ Donald
                                                      By:/s/            Zakarin
                                                                     S. Zakarin_____
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                                                      Telephone:   (212)421-4100
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                                                                 for Defendants Edward
                                                      Attorneys for              Edward
                                                      Christopher Sheeran,   p/k/a Ed
                                                                    Sheeran, p/Ir/a    Sheeran,
                                                                                    Ed Sheeran,
                                                      Atlantic Recording Corporation,
                                                                           Corporation, d/b/a
                                                      Atlantic Records,
                                                               Records, and   Sony/A T VMusic
                                                                         and Sony/ATV    Music
                                                      Publishing LLC
                                                                  LLC




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                                                  UNITED STATES DISTRICT COURT
                                                 SOUTHERN DISTRICT OF NEW YORK
                 KATHRYN TOVVNSEND GRIFFIN,                                                                                                                 k       3-
                 HELEN MCDONALD, the
                                                                                           _                    V                               ,   _




                                                                                                                                                                           M
                                                                                                                                    —




                 Estate   MCHERRIGALE TOVVNSEND,                                               .
                                                                                                   _‘       ’



                                                                                                                    ,
                                                                                                                            '

                                                                                                                                        V




                                                                                                                                                                    — ~A -ff
                                                                                                        D


                 Plaintiffs,                                                                                            —                               -       A



                                                                                                                                I           .
                                                                                                                                                I0/911$-.-


             vs.                                                    CASE NO:              1:17—Cv-05221

                                                                                         cAsE MANAGEMENT
                                                                                         AND SCHEDULING
                                                                                         ORDER
             EDWARD CHRISTOPHER SHEERAN,p/It/a
             ED SHEERAN, mt,
             Defendants.


             RICHARD J. SULLIVAN. District Judge:
                          Pursuant to Rules I6-26(f) of the Federal Rules of Civil Procedure, the Court hereby

             adopts the following Case Management and Scheduling Order.

                          1.   All Parties do not consent to disposition of this case by a Magistrate, pursuant to
                               Title 28 of the United States Code, Section 636(0).


                         2.    This case is to be tried by ajury.


                        3.     No additional Parties may be joined except with leave of the Court.

                        4.     Amended pleadings may not be ﬁled except with leave of the Court.

                        5.     Initial disclosures pursuant to Rule 26(a)( 1) shall be completed no later than October

                               20, 2017.




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             (1.    All fact tliscovery to be completed no later than March 15. 2018.]


             7.     The Parties are to conduct discovery in accordance with the Federal Rules ofCivil
                    Procedure and the Local Rules oftho Southern District of New York. The following
                    interim deadlines may be extended by the Parties on consent without application to
                    the Court, provided that the Parties meet the deadline for completing fact discovery
                    set forth in Paragraph Six (6) herein above.


                   a.    Initial requests for production ofdocumcnts shall be served by October 27. 2017.

                         lnitial lntcrrogatories. ifany. shall be served by October 27, 2017.

                         Depositions shall be completed by March 15, 2018.
                         i.     Absent an agreement between the Parties or an Order from the Court.
                                depositions are not be held until all Parties have responded to initial
                                requests for document production.
                         ii.    There is no priority in deposition by reason ofa pany’s status as a Plaintiff
                                or :1 Defendant.
                         iii.   Absent an agreement between the Parties or an Order from the Court. non-
                                party depositions shall follow initial patty depositions.
                   (1.   Requests to Admit, ifany, shall be served no later than January 15, 2018.


         8.        All expert disclosures. including reports as required by Rule 26 shall be completed
                   pursuant to the following deadlines:


                   a.    Expert(s) of Plaintiff(s): Repoi1(s) ofMusicologist Expert—November 6, 2017
                                                   All other experts—~April 16, 2018


                   b.    Expert(s) ot'Defendant(s): Report(s) of Musicologist Expert—Deccmbe1' 6, 2017
                                                    All other experts—May 15, 2018


         9.        All discovery shall be completed no later than June 15, 2018.


         10. The Court will conduct a post-discovery conference on                      V4.52         q 20‘ 8
                   /To be completed by the Court].
                                                                                                          '
                                                                                    5
                                                                                              gal      ]O~‘OL> ct».

         1   1.    If either Party contemplates a motion, the post—discovery conference will function as
                   a pre—motion conference. l’re—motion letters are to be submitted by              \.A~'\£ \I’, Z 61$
                                                                                                §




 By virtue of the fact that Mr. Sheeran resides outside of the United States and currently is on tour, the
'




Parties stipulate that the provision of an additional sixty (60) days to be added to the discovery period shall
help to facilitate necessary discovery.

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                   /To be cnniplctml by the Court]. Pursuant to Rule 2.A ofthc Court‘s individual
                   Practices. responses to prc—1notion letters are to be submitted within three (3) business
                   days from the date otsubinission ofthe initial pre—motion letter. Pre—motion letters
                   and responses shall be submitted pursuant to Rule l.A ofthe Court’s Individual
                   Practices,


         12. lfneithcr Party contemplates a dispositive motion, the post-discovery conference will

                   function as a pretrial conference at which a trial date will be set.


          Lu   .   Counsel for the Parties request a settlement conference before a Magistrate Judge of
                   the Southern District’s Mediation Program and request:


                          a.               Refenal to a Magistrate Judge for settlement discussions:
                          b.        X       Referral to the Southern District‘s Mediation Program:

                                                              ~~— ««-~~-~-—~~--»—       «   '-~~~-~----‘~   -v   v   -v   -




                          [To be completed by the Cour! afier camultution with the Parties].

         14. Parties have conferred and their present best estimate ofthe length oftrial is five (5)
                   to seven (7) days.


         15.       In the case ofa discovery dispute, unless otherwise directed, Parties should describe
                   their discovery disputes in a single letter. jointly composed. not to exceed ﬁve (5)
                   pages. Separate and successive letters will not be read. Strict adherence to the
                   Federal Rules of Civil Procedure, Rule 3'/(a)(I), the “meet and confer" rule. is
                   required and should be described in the joint submission as to time, place. and
                   duration, naming the counsel involved in the discussion.         The joint letter shall
                   describe concisely the issues in dispute and the respective position of each party,
                   citing the applicable authority that the respective Parties claim for support.                    As a
                   general matter, affidavits or exhibits are not permitted in connection with discovery
                   dispute letter without prior written request and pemiission. However, when the
                   dispute concems the refusal to respond to a speciﬁc written request. the Parties shall
                   attach that request. If an opposing Party refuses to participate in writing a joint letter
                   or does not provide its portion of a joint letter within seventy—two (72) hours of a
                   Par1y’s request, a Party may submit a letter without the opposing Pat1y’s contribution
                   and shall attach a copy of the correspondence seeking the opposing Party’s
                   contribution.




2
 The Parties do not wish to engage in the Mediation Program until Mnsicologist Reports have been
exchanged in accordance with Item No. 8 above.

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     l6.   No request for zm extension (ifthe deadlines set tbrth in Paragraphs Six ((7), Eight (8)
           and Nine (9) shall be granted unless the Panics seeking the extension show good
           cause for the extension and speciﬁcally explain (1) what disctwei'y has already been
           completed, (2) what discovery remains to be done. and (3) why the Parties were
           unable to comply with the preexisting deadlines. As    21   general matter. the Coun will
           not adjourn a deadline by more than the number ofdays remaining from the time of
           the request to the original deadline. (For example, ifat the time of the request there
           are twenty (20) days left before the deadline, the Count will not adjoum the deadline
           more than twenty (20) days.).



SO ORDERED.


DATEDthis     6 «owday   of   O4-hakﬂ-1'”, 2017
                                               _




              New York, New York
                                                                   .-=4       /,7.        -2    ~
                                                                        ”:f__/(cu;   Lg    ‘»   "I

                                                     RICHARD J. SULLIVAN
                                                     UNITED STATES DISTRICT JUDGE




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Harper/Harpe’   s1   W" ‘C%t§é‘i:i°P—“el/9?P5’2%’1JR9js Document 38 Filed 03/13/18 Page 1 of2


                                 THE LAW OFFICES OF FRANK & RICE, PA.
                                             A Professional Association
                                               325 West Park Avenue
                                            Tallahassee, Florida 3230]
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            March 13. 2018

            The Honorable Richard J. Sullivan
            United States District Judge
            United States District Court
            Southern District ofNew York
            Thurgood Marshall United States Courthouse
                                                                                     g//,_,/ I   %
            40 Foley Square, Room 2104
            New York, New York 10007              *conve_t/ed via Electronic Trar1Sn7isSi0I’I


                       Re:   Kat/verine Townsend Gzjfﬂn. era]. v. Edward C liristop/ier Slieercm.
                             eta/..' Case Number:   /.'l7—CV—0522/ (R./S)


            Dear Judge Sullivan:

                  Our law firm represents the Plaintiffs, Katherine Townsend Griffin, Helen
           McDonald, and the Estate of‘Cherrigale Townsend, in connection with the above-
           styled litigation. Pryor Cashman, LLP represents all ofthe Defendants, Edward
           Christopher Sheeran, Sony/ATV. and Atlantic Records in this case. We jointly
           submit this letter with counsel(s) for the Defendants in accordance with Your
           I-‘lonor‘s Individual Rule    l(C) to request an extension of the existing fact discovery
           schedule, currently set to conclude on March 15,2018, until March 28,2018.

                      To date, the Parties have been diligently engaged in discovery. Plaintiffs
           have taken the depositions ofMr. Sheeran and a representative ofSony/ATV, and
           they have provided over 100 pages of responsive documents. Defendants have
           appeared for the aforementioned depositions, and they have produced close to
           2000 pages of responsive documents, with additional documents to be produced
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 imminently. However, notwithstanding their diligent efforts to date, and owing to
 the schedules ofthe parties and counsel (Ms. Griffin has been out ofthe country
 for the better part ofthe last month to the birth of her grandchild), the parties
 require a briefextension oftime—13 days—to complete fact discovery, until
 March 28, 2018. To that end, Ms. Griffin and Ms. McDonald have agreed to
 appear for their depositions on March 23, 2018. and the parties are working to
 conﬁrm the deposition of a representative of Atlantic for the same date.

        Thus, the respective parties herein, respectfully, request the extension of fact
 discovery, until March 28, 2018

        Under the new schedule, as contemporaneously proposed, it is not believed
 that it will be necessary for any other aspect ofthe discovery and/or trial schedule
 to be changed or altered.

        This is the first time that the parties herein have requested any adjournment
 or extension oftime.




                                               Respectfully Submitted:



/s/ Patrick R. Frank, Esg.                     /s/ Donald Zakarin, Esg.

Patrick R. Frank, Esq,                         Donald Zakarin, Esq.
Frank & Rice, P.A.                             Pryor Cashman
325 West Park Avenue                           7 Times Square
Tallahassee, Florida 32301                     New York, New York 10036
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la\vatt"((Z>ao1.com

Attorney(s) for Plaintiffs                     Attorney(s) for Defendants

The parties‘ joint request to extend the deadline for fact discovery to
March 28, 2018 is GRANTED. All other deadlines set forth in the Court's
October 9, 2017 scheduling order (Doc. No. 32) remain unchanged.

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                                                                                                  ‘
                                                                                                           ‘




                                           2
                                                            Q         }
                                                                                 U.S.D.J.
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      ii
      ~
         PRYOR CASHMAN LLP                                                                                                    .


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                                                                                                                   Donald S. Zakarin
                                                                                                                                    Partner
                                                                                                                  Direct Tel: 212-326-0108
                                                                                                                  Direct Fax. 212-7986306
                                                                                                               dzakarin@pryorcashman.com


                                                                March 22, 2018
  VIA ECF
 Hon. Richard J. Sullivan
 United States District Judge
 40 Foley Square
 New York, NY 10007
        Re:      Griffin, et. al. v. Sheeran. et. al., No. 17-cv-522l(RJS)                                 I          V




 Dear Judge Sullivan:

        We    are counsel to the Defendants in the above-referenced action.
                                                                                                         At the request of
 Plaintiffs’ counsel, we write to Your ljlonor to request one
                                                                                      further extension oftime, until April
 27, 2018, to complete the depositions of plaintiff Kathryn                                Townsend Griffin, plaintiff Helen
 McDonald and defendant Atlantic Recording Corporation.

         On March 13, 2018, the Parties jointly requested a 13-day extension to complete fact
discovery (from March 15, 2018 until March 28, 2018), and advised that the
                                                                                depositions would
be conducted on March 23, 2018. Unfortunately, on Tuesday
                                                                     evening, March 20, 2018,
Plaintiffs’ counsel contacted us and advised that, due to
                                                          the impending snowstorm, their flights
had been cancelled and they were unable to reschedule their ﬂights
                                                                             for after the storm
passed. Further, they have advised that the earliest date they and their
                                                                         clients will be available
to travel to New York again is the week of April 23.


        Accordingly, the Parties respectﬁilly request that the Court extend the deadline
                                                                                           to
complete the aforementioned depositions until April 27, 2018. The existing
                                                                            deadlines for all
other discovery shall remain the same.



                                                             Respectfully submitted,

                                                             /s/ Donald S. Zakarin


cc:    Counsel of Record (via ECF)




                                                                        s O ORDERED                    &
                                                                        Dated:
                                                                                                   RICHARD J. SULLIVAN
                                                                                    3[Z2//$3.011.
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                                 Hillel I. Parness
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                 136 Madison Avenue, 6th Floor • New York, New York 10016

May 10, 2018                                                                       VIA ECF

Hon. Richard J. Sullivan
U.S. District Judge
Thurgood Marshall United States Courthouse
40 Foley Square
New York, NY 10007

          Re:      Griffin, et al. v. Sheeran, et al., 1:17-cv-05221 (RJS) (AJP)

Dear Judge Sullivan:

I am counsel to Structured Asset Sales, LLC (“SAS”), which seeks to intervene as
an additional plaintiff in this matter. In accordance with Rule 2.A. of Your
Honor’s Individual Rules and Practices, I am submitting this pre-motion letter in
connection with SAS’s motion to intervene.

SAS is the beneficial owner of a one-third interest in the writer’s share of the
copyright rights to the works of Edward Townsend Jr., including those arising
from the copyrighted work “Let’s Get it On” (the “Work”), which is at issue in this
matter. The remaining rights to the writer’s share of the Work are held by
members of the Marvin Gaye family. These facts are not in dispute. Indeed,
Defendants pled that “Plaintiff have failed to join necessary and/or indispensable
parties” as an Affirmative Defense. ECF 23 ¶ 73. In view of the status of the case,
SAS respectfully seeks to intervene on the following basis:

   (i)          SAS will intervene immediately;

   (ii)         SAS’s claims, which are substantively identical to those of the existing
                Plaintiffs, should relate back to the same date as the claims already in
                the case;

   (iii)        All deadlines regarding fact discovery to remain unchanged;

   (iv)         All deadlines regarding expert discovery to remain unchanged with the
                following exception: To the extent that a date by which certain
                categories of experts were required to be disclosed has passed, SAS
                should be allowed to immediately disclose its own expert(s) if it so
                chooses, and to serve any reports of said expert(s) within one week of
                intervention. Defendants should have as much additional time as they
                require, if any, to deal with any such additional expert reports.
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Hon. Richard J. Sullivan
May 10, 2018
Prior
Prior to
      to the
         the submission of  of this
                                this pre-motion letter,
                                                 letter, we contacted counsel for
                                                                                for the
                                                                                    the
parties.
parties. Plaintiffs’
          Plaintiffs’ counsel has no objection
                                         objection to
                                                   to the
                                                      the proposed motion. Over the lastlast
several
several days,
         days, Defendants’ counsel and II have been discussing the     the contours of
                                                                                     of
SAS’s proposed intervention,
                    intervention, but inin the
                                           the end Mr. Zakarin has indicated
                                                                      indicated that
                                                                                that
Defendants willwill oppose it.
                             it. For the
                                      the reasons set
                                                  set forth
                                                       forth below, upon which we areare
prepared to to elaborate,
               elaborate, we believe
                                believe that
                                        that the
                                             the motion should be granted.
                                                                     granted.

Fed.
Fed. R.
     R. Civ.
        Civ. P.
             P. 24 allows intervention of
                                       of right
                                          right under subsection (a),
                                                                 (a), and permissive
intervention
intervention under subsection (b):
                                (b):


       (a)
       (a) Intervention of
                         of Right.  On timely
                            Right. On   timely motion, the the court must permit
       anyone toto intervene who:….(2)
                              who:....(2) claims an interest
                                                       interest relating
                                                                 relating to
                                                                           to the
                                                                               the
       property oror transaction
                     transaction that
                                  that is
                                       is the
                                          the subject
                                              subject of
                                                       of the
                                                          the action,
                                                               action, and is is so
                                                                                 so
       situated
       situated that
                 that disposing of
                                 of the
                                    the action   may as
                                         action may    as a
                                                          a practical
                                                            practical matter
       impair or impede thethe movant's ability
                                           ability to
                                                   to protect
                                                      protect its
                                                                its interest,
                                                                    interest, unless
       existing parties
       existing parties  adequately   represent   that  interest.
                                                  that interest.

       (b)
       (b) Permissive Intervention.
                      Intervention.

               (1) In
               (1) In General. On timely
                      General. On timely motion, the        may permit
                                                  the court may
               anyone toto intervene who:…(B)
                                     who:...(B) has a
                                                    a claim or
                                                            or defense that
                                                                        that
               shares with the
                             the main action
                                      action a common question of of law or
                                                                         or
               fact.
               fact.

               ….

               (3) Delay
               (3) Delay or
                         or Prejudice.
                            Prejudice. In
                                       In exercising
                                          exercising its
                                                      its discretion,
                                                          discretion, the
                                                                      the court
               must consider whether the  the intervention will
                                                             will unduly delay
                                                                           delay or
               prejudice
               prejudice the
                          the adjudication ofof the
                                                the original
                                                    original parties’
                                                              parties’ rights.
                                                                       rights.

It
It is
   is SAS’s
      SAS's position
            position that
                     that both standards –
                                         — intervention as
                                                        as of
                                                           of right
                                                              right and permission
intervention
intervention – are
              — are satisfied
                    satisfied here.
                              here.

As Your Honor explained,
              explained,

       an intervener must show that:  that: (1)
                                             (1) the application is
                                                                  is timely;
                                                                     timely; (2)
                                                                              (2) the
       applicant
       applicant claims an interest
                               interest relating
                                         relating toto the
                                                       the property oror transaction
                                                                         transaction
       which is
              is the subject
                     subject matter of  of the
                                           the action;
                                                 action; (3)
                                                         (3) the
                                                             the protection  of
                                                                             of the
       interest may as
       interest may   as a
                         a practical
                           practical matter be impaired by     by the
                                                                  the disposition
                                                                       disposition ofof
       the
       the action;
           action; and (4)
                         (4) the
                             the interest
                                  interest  is
                                            is not  adequately   protected   by  an
       existing
       existing party.
                party.

In re
In re Tribune Co.
               Co. Fraudulent Conveyance Litigation,
                                          Litigation, 291 F.R.D.
                                                          F.R.D. 38,
                                                                  38, 41 (S.D.N.Y.
                                                                          (S.D.N.Y. 2013)
                                                                                    2013)
(quoting
(quoting  Restor–A–Dent
          Restor—A—Dent  Dental
                         Dental Labs.,
                                Labs,  Inc.
                                       Inc. v.
                                            v. Cert’d Alloy
                                                      Alloy Products,
                                                            Products, Inc.,
                                                                       Inc., 725 F.2d 871,
                                                                                      871,
874 (2d
    (2d Cir.
        Cir. 1984)).
             1984)). As discussed above, factor
                                         factor (2)
                                                (2) is
                                                    is satisfied
                                                       satisfied by
                                                                 by SAS’s beneficial
                                                                          beneficial
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Hon. Richard J. Sullivan
May 10, 2018
ownership interest
              interest in
                        in the
                            the Work. Factor (3)(3) is
                                                    is also
                                                       also satisfied
                                                            satisfied –— this
                                                                         this case
                                                                              case will
                                                                                     will
determine whether the defendants infringed upon the          the Work, and the  the answer to to
that
 that question will
                 will have ramifications
                              ramifications of
                                            of one kind or another on the    the remaining
owners of of the
             the rights
                  rights in
                          in the
                             the Work. Factor
                                         Factor (4)
                                                  (4) also
                                                      also favors  intervention.
                                                                   intervention.     Although
the
 the current plaintiffs
              plaintiffs are
                           are aligned in
                                        in most respects
                                                 respects with SAS, if   if SAS is
                                                                                 is not allowed
to
 to intervene,
    intervene, and itsits separate
                          separate counsel toto participate,
                                                participate, the
                                                               the risk
                                                                   risk remains thatthat the
                                                                                          the case
                                                                                              case
will
 will generate results
                 results that
                          that do not satisfy
                                       satisfy SAS. The onlyonly real
                                                                  real question – as
                                                                                   —     in Tribune
                                                                                      as in
–- is
   is timeliness:
      timeliness:

                                                           "
        Beyond chronology, aa court should consider:
                                                consider: “(1)
                                                             (1) how long the
                                                                           the
        applicant
        applicant had notice
                        notice of
                               of the
                                  the interest
                                      interest before it
                                                       it made the
                                                                 the motion to
                                                                             to
        intervene;
        intervene; (2)
                   (2)  prejudice to
                                  to existing
                                     existing  parties
                                               parties resulting
                                                       resulting  from any   delay;
                                                                             delay;
        (3)
        (3) prejudice
            prejudice to
                       to the
                          the applicant if
                                        if the
                                           the motion isis denied;
                                                           denied; and (4)
                                                                        (4) any
        unusual circumstances militating
                                  militating for
                                             for or against
                                                     against a finding of
                                                                        of
        timeliness.”
        timeliness."

In re
In re Tribune,
      Tribune, 291 F.R.D.
                   F.R.D. at    (quoting United
                          at 41 (quoting United States
                                                States v.
                                                       v. Pitney
                                                          Pitney Bowes, Inc., 25 F.3d 66,
                                                                 Bowes, Inc.,         66,
70 (2d
   (2d Cir.
       Cir. 1994)).
            1994)).

The timeliness
      timeliness factors
                 factors are
                          are also
                              also all
                                   all satisfied.
                                       satisfied. The case
                                                        case was filed
                                                                    filed in  July 2017 (ECF 1),
                                                                           in July              1),
but the
     the Case Management Order was not issued until      until October (ECF 32),  32), and the
                                                                                            the
case
case was immediately referred
                          referred to
                                    to mediation (ECF 33). 33). According to   to the
                                                                                  the docket,
                                                                                       docket, aa
mediation session
            session was held in in January 2018 (note
                                                    (note between ECF 37 &      & 38),
                                                                                   38), and in
                                                                                             in
March 2018 thethe parties
                  parties twice asked forfor additional time to  to complete factfact discovery,
                                                                                      discovery,
which the
        the Court granted (ECF 39 &    & 42).
                                          42). Assuming everything went as         as scheduled,
fact
fact discovery closed with the the completion of of the
                                                     the remaining depositions on April
27,
27, 2018.
    2018. SAS has no wish to   to reopen fact
                                           fact discovery,
                                                discovery, but to    join the
                                                                  to join   the case in
                                                                                      in progress
as it stands,
as it stands, moving    forward   with  the  other  parties  into
                                        the other parties into    expert    discovery,
                                                                            discovery, only
                                                                                         only as
                                                                                              as
modified above to  to allow SAS toto introduce itsits own experts if if it
                                                                        it so chooses.


Thus, timeliness
       timeliness Factor 1  1 is
                              is satisfied
                                 satisfied because therethere were no entries
                                                                         entries on the
                                                                                     the docket
between January 23 (between ECF 37 &          & 38,
                                                 38, noting that
                                                               that the
                                                                     the mediation had
occurred)
occurred) and March 13 (ECF 38,     38, the
                                        the first
                                             first request forfor extension of
                                                                             of deadlines).
                                                                                deadlines). SAS
now moves lessless than two months later later to   join the
                                                to join  the case. Timeliness Factor 2 is
                                                                   1
                                                              case.1                         is
satisfied
satisfied because SAS does not wish to      to reopen factfact discovery,
                                                               discovery, but rather    join the
                                                                                rather join  the
existing
existing  plaintiffs’
          plaintiffs’ case
                      case  alongside   them,    leading   to
                                                            to no prejudice  to the  defendants.
                                                                  prejudice to the defendants.
Timeliness Factor 33 isis satisfied
                          satisfied as
                                     as well – - if
                                                  if the
                                                     the motion isis denied SAS will
                                                                                   will have toto
commence an entirely
                 entirely  new   action
                                 action  and,
                                         and,   among     other  things,
                                                                 things,  redo all
                                                                               all of
                                                                                   of the
                                                                                      the


1
1
        two months
  These two                                  SAS spent trying to find
             months included the time that SAS                    ﬁnd counsel both willing
                 on this matter, as well as the time that the undersigned spent getting up to
and able to take on
                                  SAS made
       on the matter once he and SAS
speed on                               made contact, and reaching out to the parties to seek
their consent.
       Case 18-1862, Document 24, 08/30/2018, 2379713, Page51 of 94
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Hon. Richard J. Sullivan
May 10, 2018
discovery that
           that has already
defendants, as
                    already been conducted here –— this
             as well as
                     as unnecessarily
                                                   this would prejudice
                        unnecessarily burden the judicial
                                                               prejudice SAS and
                                                 judicial system.
                                                          system. As for
                                                                      for timeliness
                                                                          timeliness
                                                                                             @
Factor 4,
       4, no special
             special circumstances appear to
                                          to exist
                                             exist here that
                                                        that would dictate
                                                                    dictate a
                                                                            a
different
different result
          result than the
                      the other factors.
                                factors.

The standards for
               for permissive intervention
                                intervention are
                                              are also
                                                  also satisfied,
                                                       satisfied, as
                                                                  as Mag. Judge Francis
                                                                                  Francis
decided in
        in a factually
             factually similar
                        similar case in
                                     in 2007,
                                        2007, using an approach similar
                                                                   similar to
                                                                           to the
                                                                              the test
                                                                                  test for
                                                                                       for
intervention as
             as of
                of right:
                   right:

        First,
        First, Ms. Mason has a  a direct
                                  direct interest
                                          interest in
                                                   in the
                                                      the purported copyright
        infringement because she claims to    to be the
                                                     the sole
                                                         sole author of
                                                                     of the
                                                                        the
        Composition and the the owner of of its
                                            its copyright....There
                                                copyright....There are
                                                                   are common
        questions of
                   of law because Ms. Mason raises raises the
                                                          the same copyright
        infringement claims against
                               against the
                                        the defendant Universal Music Group,
        Inc.
        Inc. as
             as do the
                   the plaintiffs….
                       plaintiffs.   .   ..




        Second, there
                there is
                      is no reason to
                                    to believe
                                       believe that
                                               that Ms. Mason’s concerns are
                                                                           are
        coextensive with those of
                                of the
                                   the plaintiffs
                                       plaintiffs such that
                                                        that her interests
                                                                 interests
        would be adequately represented by  by plaintiffs’
                                                plaintiffs’ counsel….
                                                            counsel. ..      .




        Finally,
        Finally, intervention
                  intervention by
                                by Ms. Mason should not impede the     the progress
        of
        of the
           the litigation. A plaintiff
               litigation. A  plaintiff bringing aa copyright infringement claim
        must prove ownership of    of a
                                      a valid
                                        valid copyright inin the
                                                             the allegedly
                                                                 allegedly
        infringed-upon work….As
                           work. ...As the
                                        the plaintiffs
                                            plaintiffs and defendants were
        engaged in in discovery focusing on these
                                                these factors,
                                                      factors, Ms. Mason’s
                                                                    Mason's
        intervention
        intervention should not require
                                    require extensive
                                             extensive additional
                                                        additional discovery….
                                                                     discovery.

Jamie
Jamie Music Publishing
              Publishing Co.Co. v.
                                 2;. Roc-A-Fella
                                     Roc—A—l-"ellu Records,
                                                   Records, LLC, No. 05 Civ.9922,
                                                                          Civ.9922, 2007 WL WL
1129333,  *2-3  (S.D.N.Y.
                 (S.D.N.Y. 2007).
                             2007). To be sure,sure, the
                                                     the disputed ownership issue      in Jamie
                                                                                issue in  Jamie
Music contributed to  to the
                         the court’s
                              court's conclusion thatthat intervention was appropriate,
                                                                             appropriate, but
SAS’s case
       case for
            for intervention
                  intervention is  is even more straightforward and simple.
                                                                          simple. All
                                                                                    All of
                                                                                         of the
                                                                                            the
parties
parties agree that
                that SAS isis a beneficial
                                 beneficial owner of  of a portion of
                                                                   of the
                                                                      the work atat issue,
                                                                                    issue, and
SAS does not want to       to reopen, interrupt
                                           interrupt or slow the the progress of of the
                                                                                     the case.
                                                                                          case.
Intervention – whether of
               —            of right
                               right oror permissive – should be granted.
                                                       —           granted.

There isis one final
                final issue
                      issue that
                             that II wish to to bring to
                                                       to the
                                                          the Court’s
                                                               Court's attention,
                                                                        attention, asas Mr. Zakarin
raised
 raised it
         it with me yesterday.
                      yesterday. From July    July through November 2014,    2014, and again from
February through April 2016,   2016, II worked at    at Warner Music Group in       in aa temporary
capacity
 capacity asas Acting/Interim
               Acting/ Interim Head of     of Litigation.
                                               Litigation. InIn that
                                                                that role
                                                                     role II supervised litigations
                                                                                           litigations
               WMG
with which WMG and its       its affiliated                        involved. The Griffin
                                 affiliated companies were involved.                  Grifﬁn matter,
                                                                                              matter,
however, was not filed filed until
                             until after        WMG
                                    after II left
                                             left WMG (the(the original
                                                               original case
                                                                         case was filed
                                                                                     filed in
                                                                                           in August
2016 and terminated in    in February 2017,
                                         2017, and the the current case was filedfiled in July 2017).
                                                                                       in July  2017).
            believe that my past
II do not believe   that  my   past  work        WMG
                                              with  WMG      presents  any    conflict
                                                                              conflict issues of any
                                                                                       issues  of
kind,          am of
 kind, but II am    of course happy to    to provide whatever additional
                                                                      additional information the   the
     Case 18-1862, Document 24, 08/30/2018, 2379713, Page52 of 94
                                     A48
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Hon. Richard J. Sullivan
May 10, 2018
Court or
      or counsel require
                 require to
                         to satisfy
                            satisfy any concerns they may have.
                                                 they may

                                               Respectfully
                                               Respectfully submitted,


                                               /%/ﬂa»
                                               Hillel
                                               Hillel I.
                                                      I. Parness
          Case 18-1862, Document 24, 08/30/2018, 2379713, Page53 of 94
                                                             A49
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                                                                                        New York   |
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                                                                  May 11,
                                                                  May 11,2018
                                                                          2018

VIA ECF
VIA ECF
Hon. Richard J. Sullivan
U.S. District Judge
Thurgood Marshall United States Courthouse
Thurgood
40 Foley Square
New York, NY
New              10007
            NY 10007


        Re: Griffin, et al. v. Sheeran, et al., 17-cv-5221 (RJS)
                                           al.. 17-cv-5221




Dear Judge Sullivan:
Dear

       We represent all of the named
       We                      named Defendants in the above- referenced case. I write in response
                 May 10,
to Mr. Parness’s May   10, 2018 letter
                                 letter on behalf
                                           behalf of Structured Asset Sales, LLC (“SAS”), which
                                                                      Sales, LLC
                                                               Ed Townsend
claims to have a fractional songwriter royalty interest in the Ed Townsend share of
                                                                                  of “Lets Get ItIt

      SAS seeks a pre-motion conference seeking to intervene in this case.
On.” SAS
On.”

        Defendants oppose SAS’s attempt to intervene in      in this                     shown below, (i)
                                                                this case because, as shown              (i)
SAS’s motion is not timely –— SAS
                                SAS has known of of its
                                                    its “claim” for over three years and has known of    of
                        was filed;
this lawsuit since itit was   ﬁled; (ii)                would prejudice the rights of
                                    (ii) intervention would                              of Defendants —  –
Plaintiffs’
Plaintiffs’ musicology report was submitted more than six     six months ago and that that is
                                                                                           is the report to
which Defendants’
        Defendants’ expert responded in January 2018; and, (iii)                            SAS are fully
                                                                     (iii) the “rights” of SAS        ﬁ.1lly
                             whose interests are indistinguishable from those of SAS.
           by the Plaintiffs whose
protected by                                                                          SAS.

       Mr. Parness acknowledges the factors considered by     by the Court on an intervention motion,
         among which
foremost among   which are “timeliness.” See Catanzano v.             103 F.3d 223 (2d Cir. 1996).
                                                                Wing, 103
                                                             v. Wing,                         1996). In
                 Second Circuit upheld the denial of intervention, noting that among
Catanzano, the Second                                                                 among the most
                                                                                                   most
important factors in a timeliness decision is
                                            is “the length of time the applicant knew or should have
known of
known                         making the motion.” Id.
       of his interest before making                  Id. at 232; see also Floyd v.       of New
                                                                                  v. City of      York,
                                                                                             New York,
770 F.3d 1051
770      1051 (2d Cir. 2014) (intervention motion denied as untimely when  when proposed intervenors
knew                  known of
knew or should have known    of their alleged interest in the matter well before seeking intervention).
                                                                                         intervention).
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     PRYOR CASHMAN LLP
Judge Richard J. Sullivan
May 11,
May      2018
     11, 2018
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Page 2


        Measured against these standards, Mr. Parness offers only conclusions, not facts.
        Measured
Unmentioned by
Unmentioned                                      SAS and
                   Mr. Parness is the fact that SAS
                by Mr.                                                   David Pullman
                                                      and its principal, David           were fully aware
                                                                                Pullman were
of the pendency of this case since it waswas originally filed on August
                                                        ﬁled on             2016 (nearly two
                                                                 August 9, 2016          two years ago).
                                                                                                    ago).11
          on August
In fact, on   August 20, 2016, just                             was first filed,
                                    just days after this case was         ﬁled, I had a long telephone
                     David Pullman
conversation with David      Pullman –  — I had
                                            had been dealing with Mr. Pullman
                                                                           Pullman for years onon matters
unrelated to this case —     which he expressed his interest in the case.
                        – in which                                             He claimed he had expert
                                                                        case?2 He
reports supporting a claim of of infringement.
                                 infringement. II told him, consistent with the Defendants’
                                                                                  Defendants’ position in
this case, that the alleged infringing elements were       common chords which
                                                    were common             which have long been in use
                               Pullman and I exchanged correspondence in which
in prior art. Thereafter, Mr. Pullman                                                          me articles
                                                                                 which he sent me
from the press about the case —   – again, underscoring just   how public and prominent this matter has
                                                          just how
             SAS did not seek to intervene in this case in 2016
        Yet SAS
been. Yet                                                                           own case in 2016
                                                                 2016 or bring its own            2016 or
thereafter.

                                             was re-filed,
         In July 2017, right after this case was                                         me that he had
                                                  re-ﬁled, a lawyer in another case told me
been contacted by    David Pullman about either filing
                  by David                          ﬁling an independent infringement case or seeking
                                        SAS did not either commence
to intervene in this case. Yet again, SAS                                 own case or seek to intervene
                                                            commence its own
                                                              was closed and long after the time for the
in this case, instead waiting until after all fact discovery was
submission of                                       come and gone.
              of expert musicologist reports had come

                               none of
        Mr. Parness mentions none     of this. Instead, simply looking at the docket sheet, Mr. Parness
                  much has happened.
assumes that not much       happened. The The opposite is true. Initial disclosures were
                                                                                     were exchanged on
October 20, 2017. TheThe  Plaintiffs’
                          Plaintiffs’  expert   musicologist’s report  was   provided  to Defendants on
December 8, 2017 and the Defendants’
December                     Defendants’ responsive expert musicologist’s
                                                                musicol0gist’s report was provided to to
Plaintiffs on January 12,
                      12, 2018, thus completing the musicology reports some   some five
                                                                                    ﬁve months       As
                                                                                         months ago. As
Mr. Parness admits, fact discovery is closed. In fact, with the exception of the scheduled deposition
of Plaintiffs’
   Plaintiffs’ musicologist at
                            at the end of of this
                                             this month and the submission of   of any non-musicologist
               by Defendants next week, discovery in this case is completed and Defendants intend
expert reports by
   move for summary judgment following the deposition of
to move                                                       of Plaintiffs’
                                                                 Plaintiffs’ musicologist expert.


            Pamess’s assessment of
       Mr. Parness’s                oftimeliness
                                       timeliness thus ignores the facts. Timeliness looks to whenwhen
SAS knew
SAS  knew ofof its rights and the facts show          known of its rights for over three years and has
                                        show itit has known
known of
known  of this case since inception. Nothing
                                       Nothing stopped SASSAS from intervening or filing      own case.
                                                                                    ﬁling its own
SAS made
SAS  made a conscious choice and it      now wants to
                                      it now          to be relieved of any “prejudice” caused byby its
                                                                                                    its
                                                          when this case was
                   (by having its claims relate back to when
conscious choice (by                                                     was filed).
                                                                              ﬁled).

                                                        Defendants: this case has been litigated
       Mr. Parness also ignores the patent prejudice to Defendants:
      on the musicology expert report provided by
based on                                                        some six months
                                                  by Plaintiffs some      months ago to which
                                                                                          which

11
            was originally filed
 This case was                   on August
                            ﬁled on           2016 and subsequently it
                                    August 9, 2016                     was dismissed by
                                                                    it was            by stipulation
                 had failed to complete service of
after Plaintiffs had                            of process.
                                                   process. The      was then refiled
                                                            The case was      reﬁled in July 2017.

2
                            me about a potential copyright claim he had
 In fact, Mr. Pullman told me                                              March 2015, over three
                                                                    had in March
           which was
years ago, which  was this very claim.
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   Pryor CASHMAN
5% PRYQR         LLP
         Cashman llp
  Judge
  Judge Richard  J. Sullivan
         Richard J.
  May  11,2018
  May 11,2018
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  Page 3


  Defendants’ musicologist
  Defendants’  musicologist responded
                             responded in January. There       no provision for reply. Now
                                                      There is no                      Now SAS
                                                                                             SAS wants
                                                                                                  wants
      submit its own
  to submit       own musicologist’s
                        musicologist’s report, effectively obtaining the opportunity to reply  reply to
  Defendants’ musicologist’s
  Defendants’                          Defendants would
               musicologist’s report. Defendants    would also be             by SAS’s
                                                                be prejudiced by .SAS’s “relation back”
                                                                                                  back”
  request. The
           The alleged  infringing                     more than
                                   acts that occurred more   than three years ago ——
                                                                                     May 11,
                                                                              ago - May      2015 as of
                                                                                         11,2015      of
  today’s date -
  today’s       — are outside the statute of
                                           of limitations. SAS,
                                                           SAS, having    knowingly chosen
                                                                  having knowingly    chosen to remain
                                                                                                 remain
  aloof from this case for nearly two
  aloof from                        two years wants        Court to eliminate any
                                                wants this Court                any statutory bar to its
  assertion of
            of claims in granting intervention.

          Mr. Parness
          Mr.            contends that SAS
                 Parness contends       SAS would
                                             would be
                                                    be prejudiced     it has to commence
                                                        prejudiced if it         commence its ownown case
  because it would
  because       would have
                       have to redo            —             could agree to use the discovery already
                               redo discovery - actually it could
  concluded —
  concluded     - and    would burden
                  and it would  burden the judicial system. There
                                                              There is nono prejudice to SAS
                                                                                           SAS precisely
  because it
  because          always been
               has always
            it has                     commence its own
                          been free to commence       own action. What    SAS wants
                                                                   What SAS     wants is to not suffer any
                                                                                                       any
  penalty for not   suing or seeking
                not suing                                            of its claim
                             seeking to intervene years ago. If part of     claim is time
                                                                                     time barred, that is a
         of its own
  result of                   not anything done
                 own actions, not                by Defendants.
                                           done by  Defendants.

          Finally, Mr. Parness tries to argue
                   Mr. Parness                          case will affect SAS’s
                                        argue that this case                          and that its interests
                                                                         SAS’s rights and
      supposedly not
  are supposedly   not fully aligned  with Plaintiffs. Here
                             aligned with                                 Second Circuit has rejected the
                                                        Here again, the Second
  arguments advanced
  arguments    advanced by by Mr.
                               Mr. Parness. For For example, in Washington Elec. Coop,    Coop., Inc. v.
  Massachusetts Mun.
  Massachusetts   Mun. Wholesale, 922922 F.2d
                                          F.2d 92, 9898 (2d Cir. 1990), the Second
                                                                             Second Circuit rejected the
  contention          proposed intervenor’s rights would
  contention that the proposed                        would not be
                                                                 be adequately protected where,
                                                                                           where, as here,
  there was
        was no              evidence that the Plaintiff would
                persuasive evidence
             no persuasive                               would not vigorously pursue
                                                                               pursue its claim. See also
  Ionian Shipping Co. v. British Law
  Ionian Shipping                 Law Ins. Co.,  426 F.2d 186,
                                            Co.,426F.2d           191 (1970). Indeed, the Second
                                                            186,191                        Second Circuit
  requires “a
            “a more
               more rigorous   showing of
                     rigorous showing       inadequacy in cases where
                                         of inadequacy              where the putative intervenor and and a
  named         have the same
  named party havelthe                                                      &
                          same ultimate objective.” Butler, Fitzgerald & Potter v.   v. Sequa   Corp., 250
                                                                                        Sequa Corp,     250
  F.3d        179 (2d Cir. 2001), citing, Wash
  F.3d 171, 179                                            Coop,, 922
                                            Wash. Elec. Coop                         US. Postal Serv. v.
                                                                   922 F.2d at 98; US.                    v.
  Brennan,   579 F.2d
  Brennan, 579   F.2d 188, 191
                            191 (2d Cir. 1978).

          We               submit that SAS
          We respectfully submit         SAS should
                                             should not   be permitted to intervene in this case because
                                                     not be
  it cannot
  it                                                   self-created conditions for intervention would
     cannot satisfy the timeliness standard. Its self—created                                        would
  prejudice                 SAS   cannot show
             Defendants. SAS cannot
  prejudice Defendants.                    show that its interests have
                                                                      have not been     and would
                                                                                 been and   would not be be
  adequately represented by   Plaintiffs (and it can
                           by Plaintiffs             always bring its own
                                                 can always              own action). At
                                                                                       At the very least, if
  the Court                           such a motion
      Court is inclined to entertain such    motion by_SAS,     it should
                                                      by. SAS, it  should condition it   on SAS
                                                                                      it on SAS not being
                                                                                                      being
  permitted to upend
  permitted    upend the musicologist
                          musicologist discovery, requiring it        be bound
                                                                it to be  bound by
                                                                                by the existing Plaintiffs’
  expert report submitted
  expert                   over six months
                submitted over               ago and
                                    months ago    and denying               back status for its claims.
                                                      denying it relation back

                                                       Respectfully submitted,^-^^^
                                                                    submitted,


                                                 ’Dse.ﬂ)\§
                                                       Donald    Zakarin
                                                       Donald S. Zakarin         /      \
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                                                                  A52
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                        Case 1:17-cv-05221-RJS Document              Document 46                Page 11of4
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                                                       Facsimile: (850) 629-4l84




              May 16, 2018
              VIA ECF
              The Honorable Richard J Sullivan
                                          .



              U.S. District Judge
              Thurgood Marshall United States Courthouse
              40 Foley Square
              New York, NY 10007

                       Re:     Griffin. eta]. v. Sheeran, et.al.;
                               Case Number: 201 7—CV—5221 (RJS)

              Dear Judge Sullivan:

                      Our office represents the three (3) enumerated Plaintiffs attendant to the above-
              referenced case.  We write in response to both the initiating letter on behalf of Structured Asset
              Sales, LLC, by Mr. Pamess. as well as the subsequent responsive letter on behalf of the
              collective Defendants by Mr. Zakarin on May 1 l, 2018.


                       Having had the opportunity to review all of the submitted documentary positions at
              length, in conjunction with being well-apprised of the procedural status of this case. please be
              advised that the Plaintiffs do not oppose the entry of Structured Asset Sales, LLC, as a C0-
              Plaintiff at this time.


                      While   we  are not in possession of first-hand knowledge as to the various allegations
              and/or “facts"' set forth in the previously correspondence by Mr. Parness and Mr. Zakarin,
              respectively, we do believe that there are several salient points of which the Court should be
              aware which would/should bear upon the determination as to whether or not to allow Structure
              Asset Sales, LLC to participate in the instant proceedings at this juncture.

                      First, while it is believed that all current parties to the instant litigation have engaged in
              diligent efforts to effectuate discovery in connection with this matter, the reality is that there are
              several pending disputes which have yet to be resolved which the Plaintiffs have yet to bring
              before the Court—to wit. the Plaintiffs have requested documentation and/or information with
              respect to touring revenue for the Defendant, Mr. Sheeran, during the time frame in which his
              massive international hit. “Thinking Out Loud” U.S. the alleged infringing work at issue herein)
                                                                             .


              was enjoying the peak of its commercial success. The Defendants have objected to providing
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                                              Tallahassee. Florida 32301
                                              Telephone: (850) 629-4168
                                              Facsimile: (850) 629-4184




those materials. Accordingly, the Plaintiffs intend on ﬁling a motion to compel but, given the
fact that discovery and the materials responsive thereto has been meted out in installment
proffers thoughout the last several months, it was the Plaintiffs intention of affording the
Defendants maximum opportunity to furnish these materials before seeking Court intervention
on the matter.‘

       In addition to the proﬁt information sought attendant to touring, the Plaintiffs have also
sought targeted information related to income and/or revenue streams deriving from
merchandising activities. During the course of the Defendanfs, Mr. Sheeran’s, deposition, it
was suggested that the record company, the Defendant, Atlantic Records, was the appropriate
party to provide that information. As such. a deposition was recently taken of the corporate
representative and, quite literally, only within the last forty-eight (48) hours have we received a
copy of the transcript of the same and determined that sufﬁcient information relating to
merchandising revenue has still not been made available.

        Second, during the course of discovery in this case, the Plaintiffs had occasion to ask for
a copy of the original recording of the purported “demo" of the song, “Thinking Out Loud”, at
the time it was recorded by the Defendant, Mr. Sheeran. For obvious reasons, the “demo” of the
subject song is an important piece of evidence because it would provide infonnation as to the
time, place, and manner in which the song was originally written and recorded.


        Responsive to the discovery request, the Defendants have furnished the Plaintiffs with a
recording that has been identiﬁed and/or represented as the “demo" only to, subsequently, learn
that. while the original “demo" was supposedly recorded on an iPhone in by the Defendant, Mr.
Sheeran, in his home’s kitchen, the version of the “demo" which has been fLL1’I1iSh€d to the
Plaintiffs was actually a recording of the original recording and that the iPhone which was
utilized to record the song originally is missing.


        By virtue of the fact that the Defendant, Mr. Sheeran, has been on tour for a large ponion
of the period coinciding with the discovery in this action to date, the Plaintiffs have been told by
the Defendants’ representatives that the Defendant, Mr. Sheeran. has not been in a position in
which he could look for and furnish the original “demo” of "Thinking Out Loud”.


  In the Plaintiffs‘ experience during the course of discovery in connection with the instant case, it has been found
'




that while the Defendants have previously objected to certain items and/or information at one (1) time. they have
relented and. in good faith, allowed for the information at issue to be provided at a later date—by way of illustration,
while the Plaintiffs’ initial interrogatories to the Defendant, Mr. Sheeran. met with a host of objections, at the time
the deposition was taken of the Defendant, Mr. Sheeran, he was graciously allowed to answer many ofthe questions
which had previously been met with objection earlier on in the process.
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        Within recent weeks, the Plaintiffs had been advised that the Defendant, Mr. Sheeran,
had completed his tour and was returning home and, presumably, would be in a better position in
which to search for the recording device that holds the original “demo". The Plaintiffs were
advised that the search for the recording would go on and that, if and when found, it would be
furnished to the Plaintiffs. Unfortunately, however, to this day the search continues. As a result.
the Plaintiffs are evaluating the propriety of initiating an evidentiary spoliation motion at this
time.


        As might be reasonably gleaned from the foregoing, there are various unresolved
evidentiary and/or discovery issues that remain pending at this time. Indeed. as of the drafting of
the instant correspondence, the Plaintiffs have proffered expert discovery to the Defendants
which remains pending and, in turn, the Defendants, have only within the last day provided the
Plaintiffs with a valuation report from a previously-undisclosed ﬁnancial expert?


        Given the fact of the incomplete proffer of discovery. as well as the troublesome
disappearance of the original recording of “Thinking Out Loud” which the Plaintiffs reasonably
anticipate asking this Court to address, in conjunction with the fact that this matter has not even
been set for atrial date as of yet3, the Plaintiffs do not believe that Structured Asset Sales, LLC
being afforded leave to enter the case and participate in some measure of limited additional
discovery would unduly prejudice any of the parties herein.

         To the contrary. given that the all of the parties herein acknowledge Structured Asset
Sales, LLC’s. legitimate interest in the outcome of these proceedings, it would reasonable to
assert that the basic principles of stare decisis and judicial economy would militate toward the
unassailable conclusion that allowing Structured Asset Sales, LLC to participate in this matter is
the preferred course of action in an effort to present future duplicative litigation with potentially
inconsistent results.4

         Thank you for your kind attention to the foregoing.




1
  The Plaintiffs‘ musicologist is not scheduled to be deposed until the end ofthe current month.
3
  The Court previously scheduled a status conference for June 26. 2018.
4
  Indeed. from an objective standpoint, one (1) might presume that the Defendants. themselves, would prefer to
resolve this matter in its entirety and/or obtain some measure of ﬁnality attendant to the claims at issue herein vis a
vis having all parties claiming an interest in the proceedings tojoin the same.
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                                             Sincerely.



                                                           /4%
                                             Patrick R. Frank, Esq.




                                              5/,          12$
                                             Keisha D. Rice, Esq.
         Case 18-1862, Document 24, 08/30/2018, 2379713, Page60 of 94
                                                           A56
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                                                                         May 17,
                                                                         May     2018
                                                                             17, 2018


VIA ECF
VIA ECF

Hon. Richard J. Sullivan
U.S. District Judge
Thurgood Marshall United States Courthouse
Thurgood
40 Foley Square
New York, NY
New              10007
            NY 10007

       Re:       Griffin et. al. v.
                 Griffin,        V. Sheeran, et. al., 17—cv—5221 (RJS)
                                                 al., 17-cv-5221



Dear Judge Sullivan:
Dear       Sullivan:


        We represent all of
        We                      named Defendants in the above-referenced case. II write in response
                         of the named
       May 16,
to the May       2018 letter of
             16, 2018                       who represents the Plaintiffs. Mr. Frank’s letter states
                             of Mr. Frank, who
                do not oppose the application of
that Plaintiffs do                                   SAS to enter this case. As
                                                  of SAS                       As Defendants have
                     Your Honor my
previously advised Your   Honor  in my letter of May 1 1,
                                              of May 11,  2018, Defendants do oppose for the reasons
          my letter.
stated in my

        I do, however, want                        some of
                                  brieﬂy address some
                         want to briefly                 of the statements contained in Mr. Frank’s
       which are both irrelevant and inaccurate.
letter which                          inaccurate. It appears clear that Mr. Frank views the prospect
   SAS entering this case as a means
of SAS
of                             means ofof trying to reopen fact discovery that was              March
                                                                               was closed since March
    2018 pursuant to this Court’s October 10,
28, 2018                                                    Management and Scheduling Order. Mr.
                                                 2017 Case Management
                                             10, 2017
Frank announces that there are supposedly several pending discovery disputes, which   which he admits
he did not bother to bring to the attention of   of the Court at any time prior to the close of fact
discovery, plainly hoping that if  SAS is permitted to enter this case, perhaps the Court will reopen
                                if SAS
                                      SAS itself expressly stated that its requested intervention will
fact discovery (despite the fact that SAS
                             The two
not reopen fact discovery). The    two supposed “discovery disputes” identified    by Mr. Frank relate
                                                                        identiﬁed by
to merchandising income from Mr. Sheeran’s touring and his touring income.


       In fact, as Mr. Frank knows                                     made clear to Plaintiffs some
                              knows but fails to mention, Defendants made                       some
    months ago, at least four months
six months                                                              —
                              months before the close of fact discovery – in our discovery responses
   November 2017
in November   2017 and again in written correspondence on on December        2017 —
                                                              December 20, 2017                was no
                                                                                  – that there was
basis on which they had any entitlement to Mr. Sheeran’s touring income
      on which                                                            income or merchandising
         We explained in detail why
income. We                       why they had no such entitlement (including providing applicable
                                                          would be provided.
case authority for our position) and reiterated that none would                 As I said above, fact
                                                                     provided. As
discovery, with the exception ofof three depositions, closed in this matter on March 28, 2018. See
                                                                            on March
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~ PRYOR CASHMAN
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                                        LLP
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May      2018
     17, 2018
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                                                             more than four months
           39.‘1 Thus, Plaintiffs had ample opportunity for more
Dkt. No. 39.                                                                                some
                                                                             months to take some
action if they believed they had any entitlement to the information (which they do not).

        With respect to Mr. Frank’s reference to the original recording of “Thinking Out
        With                                                                                       Loud,” itit
                                                                                              Out Loud,”
                                          would engage in such an elaborate and inaccurate rendition
is deeply disappointing that Mr. Frank would
                      which are utterly irrelevant in any event). The
of the facts (all of which
of                                                                        The undisputed testimony and
evidence establishes that Mr. Sheeran recorded the very original version of         “Thinking Out
                                                                                 of “Thinking         Loud”
                                                                                                 Out Loud”
       home the evening itit was
at his home                  was written by          Amy Wadge.
                                            him and Amy
                                         by him              Wadge. He He recorded itit on
                                                                                        on his then existing
iPhone. Mr. Sheeran subsequently transferred this recording to an iPad and that was        was the version
                           we provided to Plaintiffs (it
of the original recording we
of                                                                                       The studio version
                                                     (it is identical to the original). The
of                 was recorded some
of the recording was               some two
                                          two days later and Plaintifs also have that version.version. Mr.
Sheeran has looked for the original iPhone but as yet has not located it.           it.  Nevertheless, the
undisputed testimony and evidence establishes that the recording we       we provided to Plaintiffs from
                                                                                                       from
                                    same recorded version as the original he recorded on
Mr. Sheeran’s iPad is exactly the same                                                        on his iPhone
              Amy Wadge
when he and Amy
when                Wadge wrote the song.
                                        song?2

        And what is the basis for Mr. Frank’s questions about the authenticity and provenance of
        And
the recording we
               we provided to Plaintiffs? There is none. He  He has not provided or even identified
                                                                                            identiﬁed a
single solitary basis for disputing the undisputed evidence that the recording we                   him
                                                                                   we provided to him
                                   made by
                 same recording made
is precisely the same                                     when he and Ms. Wadge
                                         by Mr. Sheeran when                   Wadge wrote the song.
                                                                                                   song.
He has not identified
He           identiﬁed a single piece ofof evidence that even questions the fact that the song was  was
                           home
written at Mr. Sheeran’s home    a couple of days before  it was
                                                          it was  recorded  in the studio.
                                                                                   studio.  Mr. Frank’s
                                              motion” is offensive, foolishly in terrorem,
statement about contemplating a “spoliation motion”                                terrorem, and, quite
frankly, only confirms that he does not understand spoliation.
                                                     spoliation. HeHe is free, of            make such
                                                                               of course, to make
                                               making Rule 11
a motion and while I have studiously avoided making                                        of practicing
                                                              1 1 motions in four decades of

law, I have advised him              make an exception for him
                     him that I will make                    him in this case.

                                                                              on the issues regarding
       Nothing that Mr. Frank has addressed in his letter really bears at all on
SAS’s application to make
SAS’s                   make a motion to intervene. Rather, Mr. Frank apparently believed that
SAS’s application was
SAS’s               was a good                  him to try to reopen fact discovery and to malign
                           good opportunity for him
Mr. Sheeran with a fatuous spoliation claim. This case is very nearly completed (only the
               Plaintiffs’ expert musicologist remains) and Defendants then intend to move
deposition of Plaintiffs’                                                                   move for
summary judgment
summary   judgment based on on the lack of
                                        of any actionable similarity between the two two songs. Mr.
                                                        him to keep the balls in the air as long as
Frank’s letter is simply a prayer to the Court to allow him

11
  Due to a snowstorm
 Due        snowstorm that affected the travel plans of of plaintiffs and their counsel, the Court granted an an
           of time to complete the depositions of
extension of                                                   and defendant Atlantic Recording Corporation
                                                 of plaintiffs and
until April 27, 2018, but the Court expressly ordered (pursuant to the stipulation ofof the parties) that “[t]he
                                                              same.” See Dkt. No. 42.
existing deadlines for all other discovery shall remain the same.”
2
                                  when “Thinking
    would also note that the date when
  I would                              “Thinking Out     Loud” was
                                                     Out Loud”  was written and first recorded is not an issue
                                  when itit was
in the case. There is no dispute when       was written, or where                                       when itit
                                                                       was written. There is no dispute when
                                                            where itit was
was first recorded.
was       recorded.
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 a PRYOR CASHMAN
   Pryor C
will      ashman LLP
                 llp
       Judge
       Judge Richard J.
                     J. Sullivan
       May
       May 17, 2018
               2018                ‘




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       Frank’s letter
       Frank’s                                                  him to keep the balls in the air as long as
                letter is simply a prayer to the Court to allow him
       possible, hoping
                 hoping to seize the victory of an unwarranted settlement from
                                                an unwarranted            from the jaws of the defeat of a
       dismissal.

               Respectfully, SAS’s
               Respectfully,                                                                my May
                              SAS’s application should be denied for the reasons stated in my   May 11,
       2018  letter and Mr. Frank, who
       2018 letter                    who has done
                                                done nothing to pursue any supposed (but non-existent)
       discovery deﬁciencies
                  deficiencies for months, should not be permitted to reopen discovery. If Mr. Frank
       wishes to make                motion without any basis —
                  make a spoliation motion                                           — we
                                                               - and he has no basis - we will address itit
       appropriately as it                 be addressed.
                        it will deserve to be
                                                                                                         '




                                                         Respectfully submitted,



                                                         Donald S. ZakariiCT
                                                         Donald S. Zakari
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 UNITISD STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK

   KATHRYN 'l‘OWNSIiND GRIFFIN, IIELEN
   l\/ICDONALD, the Estate OTCHERRIGALIE
  TOWNSEND,
                                   Plaintiffs,                   No. l7—cv—522l (RJS)
                                                                             ORDER
            _V_


  EDWARD CHRISTOPIIER SIIEERAN, p//</a
  ED SIIEERAN, ATLANTIC RECORDING
  CORR, d/b/a ATLANTIC RECORDS,
  SONY/ATV MUSIC GROUP CORR, cl/b/a
  ASYLUM RECORDS,
                                  Defendants.
                                                                                 5/"Ila
RICHARD J. SULLIVAN, District Judge:
           Plaintiffs Kathryn Griffin, Helen McDonald, and the Estate of Chcrrigale Townsend bring


this action alleging    copyright infringement against Edward Sheeran, Atlantic Recording, and

Sony/ATV Music Group. Now before the Court is a motion to intervene ﬁled by Structured Asset

Sales. LLC (“SAS").      For the reasons that follow. SAS’s motion is denied.

                                            1.   BACKGROUND

           Plaintiffs originally commenced this action on August 9, 2016. alleging that Defendants


violated 17 U.S.C. §§ 101, et seq, through their unauthorized reproduction, distribution, and public

performance ofthc Plaintiffs’ copyrighted musical composition “Let     '5'
                                                                             Gel [I On." (See Griﬂin er

al. v.   Sheercm et al.. No. l6-cv—6309 (RJS). Doc. No. 1.) Ultimately. that case was dismissed for

failure to complete service of process,      (No. 16-cv-6309, Doc. No. 5].)       Thereafter, Plaintiffs

commenced a new action on July 11, 2017. alleging the same causes of action against the same
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     Defendants. (Doc. No. 1 (“Compl.”) 1] 1.) Since the initiation ofthis widely—publicized action,‘

    fact discovery has closed (Doc. No. 41 at 1), and Defendants have signaled their intention to move


    for summaryjudgment (Doc. No. 45 at 2).                  On May 10, 2018, SAS submitted a letter to the Court

    seeking leave to move to intervene in this matter. (Doc. No. 43.) Plaintiffs thereafter filed a letter

    supporting SAS's proposed motion (Doc. No. 46). and Defendants filed two responsive letters

    opposing the proposed motion (Doc. Nos. 45, 47). Based on these submissions. and the fact that

    additional brieﬁng on the issue is not necessary, the Court deems SAS‘s contemplated motion to

    intervene made.

                                                       II.   DISCUSSION

             SAS moves to intervene pursuant to Federal Rule of Civil Procedure 24. As an initial

    matter, SAS argues that it mus! be permitted to intervene, as a matter of right pursuant to Federal

    Rule ot‘Civil Procedure 24(a), because it is a benelicial owner ofa one-third interest in the writer's

    share of the copyright to “Let '5 Get It On." (I)oc. No. 43 at 1-2.)                    Under Rule 24(a), a movant

    seeking to intervene in an action must show that: “(l) the application is timely; (2) the applicant

    claims an interest relating to the property or transaction which is the subject matter ofthe action;

    (3) the protection of the interest may as a practical matter be impaired by the disposition of the


    action; and (4) the interest is not adequately protected by an existing party.”                                 Res/or»-/l———Denl


    Demal I.ab.s'., Inc. V. Certified A/lay Proc/5., lma. 725 F.2d 871. 874 (2d Cir. 1984) (internal

quotation marks omitted). All four parts ofthis test must be satisfied for the movant to intervene

as a matter of right.        Wayhington Elec. (.'00p., Inc. v. Mam. Mun. Wholesale Elec. (.70., 922 F.2d

92, 96 (2d Cir. 1990).




    See, e.g.. Jon Blistein, Ed S/ieercm Szred_/or Al/egez/ly Cop_w'r7g Marvin Gaye Kt ‘Let           Get II On, Rolling Stone
                                                                                                                '
'
                                                                                              '.s'




(Aug. 9. 2016), https://www.rollingstone.com/music/news/ed~shecran-sued—for-allegedly-copying—|ets—getvit—on-
w433632; Melissa Chan, Ed Shee/‘art Suedfar Allegedly ('opi'Irrg /\/Iurvfn (Jaye Lei Gel /I (In, Time (Aug. 10,
                                                                                      ls‘       ls’



2016).
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          In the alternative, SAS also seeks to intervene pursuant to Federal Rule of Civil Procedure


24(b) — the permissive intervention provision A which authorizes a court to permit a party to

intervene after timely application ifthe movant “has a claim or defense that shares with the main

action a common question oflaw or fact." Fed. R. Civ. P. 24(b)(1)(B).              The analysis under Rule

24(b) differs only slightly from that under Rule 24(a), and                district courts are   vested with


“considerable discretion” to decide whether to permit intervention under this rule. Greerzridge v.

Allstate Ins. Co., 82 Fed. Applx 728, 729 (2d Cir. 2003); see also Re.s‘t0r——A— Dent Dental Labs,


Imz. 725 F.2d at 876 (“A district courts discretion under Rule 24(b) is broad"). Relevant here. a

court is to “consider whether the intervention will unduly delay or prejudice the adjudication of

the original patties‘ rights." Fed. R. Civ. P. 24(b)(3); see also In re Initial Pub. ()_‘//'eringSec. I.itt'g.,


499 F. Supp. 2d 415, 417418 (S.D.N.Y. 2007) (“A motion for permissive intervention must be

timely“). The court may also weigh other factors that are similar to those considered under Rule

24(a). including (1) the nature and extent of the proposed intervenor‘s interests; (2) whether the

existing parties adequately represent those interests; and (3) whether allowing intervention would

"significantly contribute to [the] full development ofthe underlying factual issues in the suit and


to thejust and equitable adjudication ofthe legal questions presented."          United States Postal Serv.

v.   Brennan, 579 F.2d 188, 191-92 (2d Cir. 1978) (internal quotation marks omitted).

          Here, SAS does not satisfy the requirements ofeither Rule 24(a) or Rule 24(b) because its

motion is clearly untimely. “The determination ofthe timeliness ofa motion to intervene is within

the discretion of the district court, ‘evaluated against the totality of the circumstances before the

court.”       D '/lrnata   v.   Deutsche Bank, 236 F.3d 78, 84 (2d Cir. 2001) (quoting Farmland Dairies v.

Comm     'r
              ofthe N. Y. State Dept of/lgric. and Markets‘, 847 F.2d 1038, 1043414 (2d Cir.1988).

Considerations include "(1) the length of time the applicant knew or should have known of his
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interest before making the motion; (2) prejudice to existing parties resulting from the applicant's


delay; (3) prejudice to the applicant if the motion is denied; and (4) the presence of unusual

circumstances militating for or against a ﬁnding oftimcliness.” Id. (citing UniIedSIaIes v. Pitney

Bowes, Irzc., 25 F.3d 66, 70 (2d Cir. 1994)).

        None of the timeliness factors favors SAS.          First,   SAS is a sophisticated party that,

according to Defendants. was aware of this dispute (and its interest in this litigation) at least as

early as 2016. (Doc. No. 45 at 2.) Indeed, SAS does not deny such knowledge and yet offers no

explanation for its delay in ﬁling this motion to intervene nearly two years after the original

complaint was ﬁled, one year after the commencement ofthis action, and almost two months after

fact discovery   ended.   Second, intervention would prejudice Defendants, since it appears that

Plaintiffs intend to use S/\S’s intervention as a basis for reopening fact discovery (Doc. No. 46).


and SAS itself acknowledges that it would need to file an expert report of its own in order to

respond to the months—old expert reports already exchanged between Plaintiffs and Defendants

(Doc. No. 43). Forcing the Court and the parties to retrace steps in a scheduling order issued nearly

eight months ago is clearly prejudicial and. when considered in light of SAS’s delay, unjustified.

(Doc. No. 32.) By contrast. SAS also does not identify any prejudice that it would face should the

motion be denied.     Finally‘, the   Court concludes that certain additional circumstances counsel

against intervention in this case.      Speciﬁcally, Defendants suggest that they might make the

additional affirmative defense that the statute oflimitations has run on SAS‘s claim, which would

spawn further motion practice that would be irrelevant to the current litigation, which, as discussed,

is already nearing the final   stages of discovery. (Doc. No. 45 at 3.)

                                            11].   CONCLUSION

        Because SAS’s motion to intervene is clearly untimely, the Court deems the motion to be
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made and denies it. The parties are reminded that expert discovery shall be completed by June 15,
                                                                                              conduct
2018, the parties shall ﬁle promotion letters, if any, by June 15, 2018, and the Court will

a post—diseovery conference on June 29, 2018 at 10:00 am.

SOORDER1-JD.

Dated:         .lune1 1, 2018
               New York, New York
                                                      RI HARD‘J. SULLIVAN                     \.5*
                                                     UNITED STATES DISTRICT JUDGE
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UNITED STATES DISTRICT
UNITED STATES          COURT
              DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
SOUTHERN  DISTRICT OF NEW YORK
______ __
--------------------------------------------------------------------X
KATHRYN TOWNSEND
KATHRYN         TOWNSEND GRIFFIN,GRIFFIN,
HELEN McDONALD,
HELEN      MCDONALD, THE     THE
ESTATE OF
ESTATE           CHERRI GALE
            OF CHERRI       GALE TOWNSEND,
                                     TOWNSEND,
                                                                        CASE NO.:
                                                                        CASE      1:17-CV-05221 (RJS)
                                                                             NO.: 1:17-CV-05221
                                   Plaintiffs,
        v.
        V.                                                              ECF CASE
                                                                        ECF CASE
EDWARD CHRISTOPHER
EDWARD    CHRISTOPHER SHEERAN,
                        SHEERAN, p/k/a
ED SHEERAN,
ED                      RECORDING
               ATLANTIC RECORDING
   SHEERAN, ATLANTIC
             ATLANTIC RECORDS,
CORP., d/b/a ATLANTIC
CORP.,                RECORDS,
SONY/ATV MUSIC
SONY/ATV          GROUP CORP.,
            MUSIC GROUP  CORP., d/b/a
ASYLUM RECORDS,
ASYLUM    RECORDS,
                                    Defendants.
______ __
--------------------------------------------------------------------X

                                                  OF APPEAL
                                           NOTICE OF
                                           NOTICE    APPEAL
                                                                               LLC ("SAS")
        Notice is hereby given that Proposed Intevenor Structured Asset Sales, LLC (“SAS")

                                                             Second Circuit from the Order of
hereby appeals to the United States Court of Appeals for the Second                        of

this Court entered June 11,
                        11, 2018                    SAS’s motion to intervene in the above-
                            2018 (Dkt. 48), denying SAS’s

captioned action.
          action.


       New York, New
Dated: New            York
                  New York
                2018
       June 21, 2018

                                                              Respectfully submitted,

                                                              PARNESS LAW
                                                              PARNESS       LAW FIRM,       PLLC
                                                                                    FIRM, PLLC
                                                                       /s/ Hillel I.
                                                                                  I. Parness

                                                              Hillel I.
                                                                     I. Parness (HP-1638)

                                                                  Madison Ave., 66”‘
                                                              136 Madison
                                                              136                      th
                                                                                          Floor
                                                              New York, New
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                                                                     447-5299
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                                                                       for Proposed
                                                             Attorneys for Proposed Intervenor
                                                             Structured Asset Sales, LLC
                                                                                     LLC
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                                                                       Last updated February 2018

     INDIVIDUAL RULES AND PRACTICES OF JUDGE RICHARD J. SULLIVAN

Chambers Contact Information:

United States District Court
Southern District of New York
Thurgood Marshall United States Courthouse
40 Foley Square, Room 2104
New York, New York 10007
(212) 805-0264
SullivanNYSDChambers@nysd.uscourts.gov
Courtroom 905

Unless otherwise ordered, matters before Judge Sullivan shall be conducted in accordance
with the following practices:

1.     Communications with Chambers

         A. Letters. Except as otherwise provided below, communications with chambers shall
be by letter, with copies simultaneously delivered to all counsel. Letters on behalf of parties
represented by counsel must be both docketed on ECF and e-mailed as a PDF attachment to the
following address: sullivannysdchambers@nysd.uscourts.gov. Copies of correspondence
between counsel shall not be sent to the Court or docketed on ECF. Pro se litigants may send
letters by regular mail, but must send all letters to the Pro Se Intake Unit, not to chambers. Other
than orders to show cause, documents should not be delivered directly to chambers without prior
permission, including by Assistant United States Attorneys and Federal Defenders.

       Counsel shall include the case caption and docket number in the subject line of every
e-mail sent to chambers. Counsel shall not provide a hard copy of correspondence e-mailed to
chambers.

        B. Telephone Calls. Telephone calls to chambers are permitted only in situations
requiring immediate attention. In such situations only, call (212) 805-0264.

        C. Requests for Extensions. Requests for adjournments, extensions of time, extensions
of page lengths in memoranda, etc., shall be made by letter, and not by stipulation sent through
the Orders and Judgments Clerk. Absent an emergency, such requests must be received in
chambers at least two business days prior to the scheduled appearance or deadline. All requests
for adjournments or extensions of time must state (1) the original date set for the appearance or
deadline, (2) the reason(s) for the request, (3) the number of previous requests for adjournment or
extension, (4) whether these previous requests were granted or denied, and (5) whether the
adversary consents, and, if not, the reasons given by the adversary for refusing to consent. If the
requested adjournment or extension affects any other scheduled dates, a proposed Revised
Scheduling Order must be attached.
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       D. Proposed Stipulations and Orders. Proposed stipulations and orders are to be
submitted in both PDF and Word version through the Orders and Judgments Clerk at
orders_and_judgments@nysd.uscourts.gov. Courtesy copies need not be sent to chambers.

        E. Related Cases. After a case has been accepted as related to an earlier-filed case, all
future court papers and correspondence must contain the docket number of the new case, as well
as the docket number of the case to which it is related (e.g., 10-cv-1234 [rel. 09-cv-4321]).

2.     Motions

        A. Pre-Motion Conferences in Civil Cases. For discovery motions or disputes, follow
Rule 2.G. below. For motions other than discovery motions, a pre-motion conference with the
Court is required before making any motion, except motions previously authorized by the Court,
motions brought by order to show cause, motions by incarcerated pro se litigants, motions for
admission pro hac vice, motions for reargument or reconsideration, motions for appointment of
lead plaintiffs and counsel in class actions, motions for remand, motions for a preliminary
injunction, motions brought pursuant to Local Rule 6.3, and motions described in Rule 6(b) of
the Federal Rules of Civil Procedure and Rule 4(a)(4)(A) of the Federal Rules of Appellate
Procedure.

        To arrange a pre-motion conference, the moving party shall submit a letter in accordance
with Rule 1.A, not to exceed three pages in length, setting forth the basis for the anticipated
motion. The letter shall include citations to relevant authority and should provide a brief
overview of the anticipated motion. All parties served with the letter must submit a letter
response, not to exceed three pages, within three business days from submission of the
notification letter. Response letters shall directly address the arguments and authorities set forth
in the moving party’s letter. No party shall submit a reply letter. As a general matter, affidavits
and exhibits are not permitted in connection with pre-motion letters without prior written request
and permission. However, when submitting a pre-motion letter regarding a request to amend a
pleading, the moving party shall attach: (1) the proposed amended pleading, and (2) a blackline
comparison of the operative pleading and proposed amended pleading.

        A party’s submission of a pre-motion letter seeking leave to file a pre-answer motion to
dismiss will stay that party’s obligation to answer or move against the complaint through the date
of the pre-motion conference.

       B. Memoranda of Law. Unless prior permission has been granted, memoranda of law
in support of and in opposition to motions are limited to 25 pages, and reply memoranda are
limited to 10 pages. Memoranda of 10 pages or more shall contain a table of contents. All
memoranda of law shall (1) be produced in a font size of twelve point or higher, (2) be double-
spaced, and (3) have one-inch margins on all sides. Footnotes shall (1) be produced in a font size
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of twelve point or higher, and (2) be single-spaced with a twelve point space between footnotes
appearing on the same page. Sur-reply memoranda will not be accepted without prior permission
of the Court.

       C. Unpublished Cases. Westlaw citations shall be provided, if available, to cases not
available in an official reporter. Parties must provide copies of cases that are not available on
Westlaw.

       D. Courtesy Copies. Regarding all motion papers, including exhibits submitted in
connection with a motion, a party shall submit a hard courtesy copy and, via e-mail, an electronic
courtesy copy thereof to chambers at the time the papers are served. As for pleadings and
correspondence (e.g., letter motions), a party need only e-mail a courtesy copy to chambers.
Courtesy copies should be marked as such and shall be submitted to chambers for both ECF and
non-ECF designated cases.

      E. Filing of Motion Papers. Motion papers not filed and served via ECF shall be filed
promptly after service.

        F. Oral Argument on Motions. Oral argument will be held at the Court’s discretion.
The notice of motion shall state that oral argument will be “on a date and at a time designated by
the Court.” The Court will contact the parties to set the specific date and time for oral argument,
if any. Where junior lawyers are familiar with the matter under consideration, but are not
experienced in arguing before a court, they should be encouraged to actively participate. The
Court is amenable to permitting more than one lawyer to argue for a party, especially where it
creates an opportunity for a junior lawyer to argue,

         G. Discovery Disputes. Unless otherwise directed, and before making any discovery
motion, counsel should describe their discovery disputes in a single letter, jointly composed, not
to exceed five pages. Separate and successive letters will not be read. Before filing the joint
letter, the parties shall confer in an effort to resolve the dispute without court action, and the joint
letter shall describe the time, place and duration of such discussions, naming the counsel
involved. The joint letter shall also describe concisely the issues in dispute and the respective
positions of each party, citing the applicable authority that the respective parties claim for
support. As a general matter, affidavits and exhibits are not permitted in connection with
discovery dispute letters without prior written request and permission. However, when the
dispute concerns the refusal to respond to a specific written request, the parties shall attach that
request. If an opposing party refuses to participate in writing a joint letter or does not provide its
portion of a joint letter within 72 hours of a party’s request, a party may submit a letter without
the opposing party’s contribution and shall attach a copy of the correspondence seeking the
opposing party’s contribution.
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        H. Affidavits and Exhibits. Parties are limited to a total of five affidavits each in
support of or in opposition to a motion. Affidavits may not exceed ten double-spaced pages.
Parties are limited to a total of fifteen exhibits, including exhibits attached to an affidavit, in
support of or in opposition to any motion. Each exhibit – other than the complaint – is limited to
fifteen pages. If possible, the exhibits should be excerpted to include only the relevant material.
As noted above, no affidavits or exhibits are permitted in connection with pre-motion letters or
discovery dispute letters without prior written request and permission.

3.     Sealing

        No document may be filed with the Clerk under seal without an order of this Court
addressing the specific documents to be sealed. Any application to seal shall be accompanied by
an affidavit or affidavits and a memorandum of law, demonstrating that the standards for sealing
have been met and specifically addressing Lugosch v. Pyramid Co. of Onondaga, 435 F.3d 110
(2d Cir. 2006), in a civil case or United States v. Amodeo, 71 F.3d 1044 (2d Cir. 1995), in a
criminal case, and any other controlling authority. The application shall also include a proposed
redacted version of the document(s) in question for public docketing. Nothing herein is intended
to alter or modify the applicability of Federal Rule of Civil Procedure 5.2. The redactions
expressly authorized by Rule 5.2 may be made without application to the Court.

4.     Pretrial Procedures in Civil Cases

        A. Courtesy Copies. A courtesy copy of each submission described in this pretrial
section should be provided to chambers on the date that the submission is filed or served.

        B. Joint Proposed Pretrial Orders. Prior to trial, the Court will issue an order directing
the parties to jointly submit to the Court for its approval a Proposed Pretrial Order that includes
the information required by Federal Rule of Civil Procedure 26(a)(3), and the following:

       i.       The full caption of the action;

       ii.      The names, addresses (including firm names), and telephone and fax numbers of
                trial counsel;

       iii.     A brief statement by Plaintiff as to the basis of subject-matter jurisdiction and a
                brief statement by Defendants as to the presence or absence of subject-matter
                jurisdiction, each of which shall include citations to all authority relied on and
                relevant facts as to citizenship and jurisdictional amount;

       iv.      A brief summary by each party of the claims and defenses that the party has
                asserted that remain to be tried – without recital of evidentiary matters but with
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                citations to all statutes on which the party has relied – and of the claims and
                defenses that the party has previously asserted that are not to be tried;

       v.       A statement by each party as to whether the case is to be tried with or without a
                jury, and the number of trial days needed;

       vi.      A statement as to whether all parties have consented to a trial of the case by a
                magistrate judge (without identifying which party or parties have or have not so
                consented);

       vii.     Any stipulations of fact or law that have been agreed upon by the parties;

       viii.    A statement by each party as to the witnesses whose testimony is to be offered in
                the party’s case-in-chief, indicating whether such witnesses will testify in person
                or by deposition;

       ix.      A designation by each party of deposition testimony to be offered in the party’s
                case-in-chief, with any cross-designations and objections by any other party;

       x.       A list by each party of exhibits to be offered in the party’s case-in-chief, with an
                indication as to whether any party objects to any such exhibits and a brief
                statement of the nature of the objection (e.g., “relevance,” “authenticity,”
                “hearsay”); and

       xi.      A statement of whether the parties consent to less than a unanimous verdict.

       C. Filings Prior to Trial.

       Unless otherwise ordered by the Court, in jury cases, the parties shall jointly file the
following submissions with the Proposed Pretrial Order:

       i.       Proposed voir dire questions – a copy of which shall be e-mailed to chambers in a
                Word version – which shall include the text of any requested question and should
                consist of a single document and note any areas of disagreement between the
                parties;

       ii.      A proposed verdict form – a copy of which shall be e-mailed to chambers in a
                Word version – and which should consist of a single document and note any areas
                of disagreement between the parties;

       iii.     Proposed jury instructions – a copy of which shall be e-mailed to chambers in a
                Word version – and which shall include the text of any requested instruction and a
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                citation, if relevant, to the authority from which such instruction derives, and
                should consist of a single document and note any areas of disagreement between
                the parties;

       iv.      Motions addressing any evidentiary or other issues that should be resolved in
                limine; and

       v.       If a party believes that it would be useful, a pretrial memorandum, not to exceed
                10 pages.

       Unless otherwise ordered by the Court, in non-jury cases, the parties shall jointly file the
following submissions with the Proposed Pretrial Order:

       i.       Proposed findings of fact and conclusions of law – a copy of which shall be e-
                mailed to chambers in a Word version – which should be detailed and note any
                areas of disagreement between the parties and, for each proposed factual finding,
                shall include citations to the record;

       ii.      Motions addressing any evidentiary or other issues that should be resolved in
                limine; and

       iii.     If a party believes that it would be useful, a pretrial memorandum, not to exceed
                10 pages.

       D. Additional Submissions in Non-Jury Cases. In addition, in non-jury cases, at the
time that the Proposed Pretrial Order is filed, each party shall serve the following submissions,
two courtesy copies of which the party shall also submit to chambers:

       i.       Affidavits – the originals of which shall be marked as exhibits at trial –
                constituting the direct testimony of each trial witness, except for testimony of an
                adverse party, a person whose attendance must be compelled by subpoena, or a
                person for whom a party has requested and from whom the Court has agreed to
                hear direct testimony during the trial;

       ii.      All deposition excerpts that will be offered as substantive evidence and, for each,
                a one-page synopsis of those excerpts (with citations); and

       iii.     All documentary evidence, which shall be compiled in tabbed binders containing
                all documentary exhibits organized by exhibit number. If the number of exhibits
                is so voluminous as to make compliance with this rule impractical, the parties
                shall contact the Court for guidance.
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         E. Filings in Opposition. Parties shall file the following documents within one week of
the filing of the pretrial order:

               i.      Oppositions to any motions in limine.

               ii.     Oppositions to any legal argument in a pretrial memorandum.

       F. Courtesy Copies of Documentary Evidence.

       In jury cases, three days prior to trial, each party shall submit to chambers two sets of
tabbed binders containing all documentary exhibits organized by exhibit number. If the number
of exhibits is so voluminous as to make compliance with this rule impractical, the parties shall
contact the Court for guidance.

        In non-jury cases, three days prior to trial, the parties shall submit to chambers any
additional documentary evidence not previously included in the binders submitted pursuant to
Rule 4.C.1.iii. Any such additional documentary evidence shall be organized by exhibit number
(continuing from the numbers in the previously submitted binders), and objections to an exhibit
shall be clearly noted. In addition, with respect to the documentary evidence previously
submitted pursuant to Rule 4.C.1.iii, the parties shall provide chambers with an index of the
exhibit numbers that the Court has deemed admissible; to the extent that the Court has not ruled
on an exhibit(s) to which a party objects, the index shall clearly note any such exhibit(s) as well.
The index shall not list exhibits that the Court previously deemed inadmissible.

5.     Conferences

        A. Principal Trial Counsel. The attorney who will serve as principal trial counsel must
appear at all conferences with the Court. Any attorney appearing before the Court must file a
notice of appearance with the Clerk of the Court.

        B. Initial Case Management Conference. The Court will generally schedule a Fed. R.
Civ. P. 16(c) conference within three months of the filing of the Complaint. The Notice of Initial
Pretrial Conference will be sent to plaintiff’s counsel, who will be responsible for distributing
copies to all parties.

        C. Exhibits. If a party intends to introduce exhibits at a hearing, that party shall before
the hearing begins submit two tabbed binders containing all documentary exhibits organized by
exhibit number. If the number of exhibits is so voluminous as to make compliance with this rule
impractical, the parties shall contact the Court for guidance.

6.   Default Judgments. A party who wishes to obtain a default judgment must proceed by
way of an order to show cause and should use the procedure set forth at:
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http://www.nysd.uscourts.gov/cases/show.php?db=judge_info&id=918. A motion for default
judgment will not be considered fully submitted until the moving party has obtained a signed
Certificate of Default from the Clerk of the Court.

7.     Bankruptcy Appeals. Briefs must be submitted in accordance with Bankr. Rule 8018.
Counsel may extend these dates by joint request submitted to the Court no later than two
business days before the brief is due.

8.      Criminal Cases. Upon assignment of a criminal case to Judge Sullivan, the parties shall
immediately call chambers to arrange for a conference, at which the defendant will be present, in
order to set a discovery and motion schedule. The Assistant United States Attorney shall e-mail
a courtesy copy of the indictment and the criminal complaint, if one exists, to chambers as soon
as practicable. With respect to guilty pleas and sentencing, parties should refer to the Advice of
Rights Form and the Court’s Individual Rules of Practice for Sentencing Proceedings,
respectively, which are available on the Court’s website at the following links:
      http://www.nysd.uscourts.gov/cases/show.php?db=judge_info&id=1214

      http://www.nysd.uscourts.gov/cases/show.php?db=judge_info&id=1215

      http://www.nysd.uscourts.gov/cases/show.php?db=judge_info&id=481
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                                                                                                                        CLOSED,ECF

                                               U.S. District Court
                                   Southern District of New York (Foley Square)
                                 CIVIL DOCKET FOR CASE #: 1:16-cv-06309-RJS


 Griffin et al v. Sheeran et al                                                        Date Filed: 08/09/2016
 Assigned to: Judge Richard J. Sullivan                                                Date Terminated: 02/15/2017
 Demand: $9,999,000                                                                    Jury Demand: Plaintiff
 Related Case: 1:17-cv-05221-RJS                                                       Nature of Suit: 820 Copyright
 Cause: 17:504 Remedies for Copyright Infringement                                     Jurisdiction: Federal Question

 Plaintiff
 Kathryn Townsend Griffin                                             represented by Patrick Ryan Frank
                                                                                     Frank & Associates,
                                                                                     15 Woodfield Avenue
                                                                                     Northport, NY 11768
                                                                                     (850)-629-4168
                                                                                     Fax: (850)-629-4184
                                                                                     Email: lawatf@aol.com
                                                                                     ATTORNEY TO BE NOTICED

 Plaintiff
 Helen McDonald                                                       represented by Patrick Ryan Frank
                                                                                     (See above for address)
                                                                                     LEAD ATTORNEY
                                                                                     ATTORNEY TO BE NOTICED

 Plaintiff
 Cherrigale Townsend                                                  represented by Patrick Ryan Frank
                                                                                     (See above for address)
                                                                                     ATTORNEY TO BE NOTICED


 V.
 Defendant
 Edward Christopher Sheeran
 TERMINATED: 02/02/2017
 also known as
 Ed Sheeran
 TERMINATED: 02/02/2017

 Defendant
 Gingerbread Man Records
 TERMINATED: 02/02/2017

 Defendant
 Amy Wadge
 TERMINATED: 02/02/2017

 Defendant
https://ecf.nysd.uscourts.gov/cgi-bin/DktRpt.pl?507078620947179-L_1_0-1                                                         1/10
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 Amy Wadge Records
 TERMINATED: 02/02/2017

 Defendant
 Jake Gosling
 TERMINATED: 02/02/2017

 Defendant
 Sticky Studios
 TERMINATED: 02/02/2017

 Defendant
 Sony/Atv Music Publishing, LTD. UK
 TERMINATED: 02/02/2017

 Defendant
 Sony/Atv Music Publishing
 TERMINATED: 02/02/2017

 Defendant
 Atlantic Recording Corporation                                       represented by Donald S. Zakarin
 doing business as                                                                   Pryor Cashman LLP
 Atlantic Records                                                                    7 Times Square
                                                                                     New York, NY 10036-6569
                                                                                     212 326 0108
                                                                                     Fax: 212 326 0806
                                                                                     Email: DZakarin@pryorcashman.com
                                                                                     LEAD ATTORNEY
                                                                                     ATTORNEY TO BE NOTICED

                                                                                       Ilene Susan Farkas
                                                                                       Pryor Cashman LLP
                                                                                       7 Times Square
                                                                                       New York, NY 10036-6569
                                                                                       212-421-4100
                                                                                       Fax: 212-326-0806
                                                                                       Email: ifarkas@pryorcashman.com
                                                                                       ATTORNEY TO BE NOTICED

 Defendant
 Atlantic Records UK
 TERMINATED: 02/02/2017

 Defendant
 BDi Music
 TERMINATED: 02/02/2017

 Defendant
 Bucks Music Group
 TERMINATED: 02/02/2017

 Defendant

https://ecf.nysd.uscourts.gov/cgi-bin/DktRpt.pl?507078620947179-L_1_0-1                                                  2/10
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 Warner Music Group Corporation                                       represented by Donald S. Zakarin
                                                                                     (See above for address)
                                                                                     LEAD ATTORNEY
                                                                                     ATTORNEY TO BE NOTICED

                                                                                       Ilene Susan Farkas
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

 Defendant
 Warner Music Group, LTD UK
 TERMINATED: 02/02/2017

 Defendant
 Ed Sheeran Limited
 TERMINATED: 02/02/2017


  Date Filed            #    Docket Text
  08/09/2016             1 FILING ERROR - DEFICIENT PLEADING - FILER ERROR - COMPLAINT
                           against Amy Wadge Records, Asylum Records, Atlantic Recording Corporation, Atlantic
                           Records UK, BDi Music, Bucks Music Group, Ed Sheeran Limited, Gingerbread Man
                           Records, Jake Gosling, Edward Christopher Sheeran, Sony/Atv Music Publishing,
                           Sony/Atv Music Publishing, LTD. UK, Sticky Studios, Amy Wadge, Warner Music Group
                           Corporation, Warner Music Group, LTD UK. (Filing Fee $ 400.00, Receipt Number 0208-
                           12631752)Document filed by kathryn townsend griffin.(Frank, Patrick) Modified on
                           8/10/2016 (dgo). (Entered: 08/09/2016)
  08/09/2016             2 AO 121 FORM COPYRIGHT - NOTICE OF SUBMISSION BY ATTORNEY. AO 121
                           Form Copyright for case opening submitted to court for review.(Frank, Patrick) (Entered:
                           08/09/2016)
  08/09/2016             3 CIVIL COVER SHEET filed. (Frank, Patrick) (Entered: 08/09/2016)
  08/09/2016             4 RULE 7.1 CORPORATE DISCLOSURE STATEMENT. No Corporate Parent. Document
                           filed by kathryn townsend griffin.(Frank, Patrick) (Entered: 08/09/2016)
  08/09/2016             5 FILING ERROR - DEFICIENT DOCKET ENTRY - MOTION for Patrick Ryan Frank
                           to Appear Pro Hac Vice . Filing fee $ 200.00, receipt number 0208-12631805. Motion and
                           supporting papers to be reviewed by Clerk's Office staff. Document filed by kathryn
                           townsend griffin.(Frank, Patrick) Modified on 8/9/2016 (wb). (Entered: 08/09/2016)
  08/09/2016                 >>>NOTICE REGARDING DEFICIENT MOTION TO APPEAR PRO HAC VICE.
                             Notice to RE-FILE Document No. 5 MOTION for Patrick Ryan Frank to Appear Pro
                             Hac Vice . Filing fee $ 200.00, receipt number 0208-12631805. Motion and supporting
                             papers to be reviewed by Clerk's Office staff... The filing is deficient for the following
                             reason(s): missing Certificate of Good Standing from Supreme Court of Florida;
                             missing Proposed Order;. Re-file the motion as a Corrected Motion to Appear Pro
                             Hac Vice - attach the correct signed PDF - select the correct named filer/filers - attach
                             valid Certificates of Good Standing issued within the past 30 days - attach Proposed
                             Order.. (wb) (Entered: 08/09/2016)
  08/10/2016                 ***NOTICE TO ATTORNEY REGARDING REMOVAL OF PARTY. Notice to
                             attorney Patrick Ryan Frank. The following party/parties has been removed from


https://ecf.nysd.uscourts.gov/cgi-bin/DktRpt.pl?507078620947179-L_1_0-1                                               3/10
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                             this case: Asylum Records. The party was added to the case in error. (dgo) (Entered:
                             08/10/2016)
  08/10/2016                 ***NOTICE TO ATTORNEY REGARDING PARTY MODIFICATION. Notice to
                             attorney Patrick Ryan Frank. The party information for the following party/parties
                             has been modified: kathryn townsend griffin, Edward Christopher Sheeran, Atlantic
                             Recording Corporation,. The information for the party/parties has been modified for
                             the following reason/reasons: party name contained a typographical error; alias
                             party name was omitted;. (dgo) (Entered: 08/10/2016)
  08/10/2016                 ***NOTICE TO ATTORNEY REGARDING DEFICIENT PLEADING. Notice to
                             Attorney Patrick Ryan Frank to RE-FILE Document No. 1 Complaint,. The filing is
                             deficient for the following reason(s): the wrong filer/filers were selected for the
                             pleading;. Re-file the pleading using the event type Complaint found under the event
                             list Complaints and Other Initiating Documents - attach the correct signed PDF -
                             select the individually named filer/filers - select the individually named party/parties
                             the pleading is against. (dgo) (Entered: 08/10/2016)
  08/10/2016                 CASE OPENING INITIAL ASSIGNMENT NOTICE: The above-entitled action is
                             assigned to Judge Richard J. Sullivan. Please download and review the Individual
                             Practices of the assigned District Judge, located at http://nysd.uscourts.gov/judges/District.
                             Attorneys are responsible for providing courtesy copies to judges where their Individual
                             Practices require such. Please download and review the ECF Rules and Instructions,
                             located at http://nysd.uscourts.gov/ecf_filing.php. (dgo) (Entered: 08/10/2016)
  08/10/2016                 Magistrate Judge Andrew J. Peck is so designated. (dgo) (Entered: 08/10/2016)
  08/10/2016                 Case Designated ECF. (dgo) (Entered: 08/10/2016)
  08/10/2016             6 AO 121 FORM COPYRIGHT - CASE OPENING - SUBMITTED. In compliance with
                           the provisions of 17 U.S.C. 508, the Register of Copyrights is hereby advised that a court
                           action has been filed on the following copyright(s) in the U.S. District Court Southern
                           District of New York. Form e-mailed to Register of Copyrights. (dgo) (Entered:
                           08/10/2016)
  08/10/2016             7 FILING ERROR - DEFICIENT PLEADING - FILED AGAINST PARTY ERROR -
                           AMENDED COMPLAINT amending 1 Complaint,, against Edward Christopher Sheeran,
                           Sony/Atv Music Publishing, Sony/Atv Music Publishing, LTD. UK, Sticky Studios, Amy
                           Wadge, Warner Music Group Corporation, Warner Music Group, LTD UK with JURY
                           DEMAND.Document filed by Cherrigale Townsend. Related document: 1 Complaint,,
                           filed by Kathryn Townsend Griffin.(Frank, Patrick) Modified on 8/11/2016 (laq). (Entered:
                           08/10/2016)
  08/10/2016             8 MOTION to Amend/Correct Notice Regarding Deficient Motion to Appear Pro Hac vice,,,
                           . Document filed by Kathryn Townsend Griffin, Helen McDonald, Cherrigale Townsend.
                           (Frank, Patrick) (Entered: 08/10/2016)
  08/11/2016                 ***NOTICE TO ATTORNEY REGARDING DEFICIENT PLEADING. Notice to
                             Attorney Patrick Frank to RE-FILE Document No. 7 Amended Complaint. The filing
                             is deficient for the following reason(s): the wrong party/parties whom the pleading is
                             against were selected - all the of the parties listed in the caption of the filing must be
                             the parties selected when filed by or filed against ; THE PDF MUST BE TITLED
                             AMENDED COMPLAINT IF FILING AN AMENDED COMPLAINT. Re-file the
                             pleading using the event type Amended Complaint found under the event list
                             Complaints and Other Initiating Documents - attach the correct signed PDF - select
                             the individually named filer/filers - select the individually named party/parties the
                             pleading is against. (laq) (Entered: 08/11/2016)

https://ecf.nysd.uscourts.gov/cgi-bin/DktRpt.pl?507078620947179-L_1_0-1                                                   4/10
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  08/11/2016             9 FILING ERROR - WRONG EVENT TYPE SELECTED FROM MENU -
                           AMENDED COMPLAINT amending 7 Amended Complaint,, against Amy Wadge
                           Records, Atlantic Recording Corporation, Atlantic Records UK, BDi Music, Bucks Music
                           Group, Ed Sheeran Limited, Gingerbread Man Records, Jake Gosling, Edward Christopher
                           Sheeran, Sony/Atv Music Publishing, Sony/Atv Music Publishing, LTD. UK, Sticky
                           Studios, Amy Wadge, Warner Music Group Corporation, Warner Music Group, LTD UK
                           with JURY DEMAND.Document filed by Helen McDonald, Kathryn Townsend Griffin,
                           Cherrigale Townsend. Related document: 7 Amended Complaint,, filed by Cherrigale
                           Townsend.(Frank, Patrick) Modified on 8/12/2016 (pc). (Entered: 08/11/2016)
  08/12/2016                 ***NOTICE TO ATTORNEY REGARDING DEFICIENT PLEADING. Notice to
                             Attorney Patrick Ryan Frank to RE-FILE Document No. 9 Amended Complaint,,.
                             The filing is deficient for the following reason(s): the wrong event type was used to
                             file the pleading; the pleading was not signed. Re-file the pleading using the event
                             type Complaint found under the event list Complaints and Other Initiating
                             Documents - attach the correct signed PDF - select the individually named filer/filers
                             - select the individually named party/parties the pleading is against. (pc) (Entered:
                             08/12/2016)
  08/12/2016           10 AMENDED COMPLAINT amending 9 Amended Complaint,, against Amy Wadge
                          Records, Atlantic Recording Corporation, Atlantic Records UK, BDi Music, Bucks Music
                          Group, Ed Sheeran Limited, Gingerbread Man Records, Jake Gosling, Edward Christopher
                          Sheeran, Sony/Atv Music Publishing, Sony/Atv Music Publishing, LTD. UK, Sticky
                          Studios, Amy Wadge, Warner Music Group Corporation, Warner Music Group, LTD UK
                          with JURY DEMAND.Document filed by Helen McDonald, Kathryn Townsend Griffin,
                          Cherrigale Townsend. Related document: 9 Amended Complaint,, filed by Helen
                          McDonald, Cherrigale Townsend, Kathryn Townsend Griffin.(Frank, Patrick) (Entered:
                          08/12/2016)
  08/23/2016                 >>>NOTICE REGARDING PRO HAC VICE MOTION. Regarding Document No. 8
                             MOTION to Amend/Correct Notice Regarding Deficient Motion to Appear Pro Hac
                             vice,,, .. The document has been reviewed and there are no deficiencies. (wb) (Entered:
                             08/23/2016)
  08/23/2016           11 ORDER FOR ADMISSION PRO HAC VICE granting 8 Amended Motion to Appear Pro
                          Hac vice of Patrick Ryan Frank. (Signed by Judge Richard J. Sullivan on 8/23/2016) (mro)
                          (Entered: 08/24/2016)
  09/23/2016           12 FILING ERROR - DEFICIENT DOCKET ENTRY - MOTION for KEISHA
                          DORLISA RICE to Appear Pro Hac Vice . Filing fee $ 200.00, receipt number 0208-
                          12796363. Motion and supporting papers to be reviewed by Clerk's Office staff.
                          Document filed by Kathryn Townsend Griffin, Helen McDonald, Cherrigale Townsend.
                          (Frank, Patrick) Modified on 9/26/2016 (bcu). (Entered: 09/23/2016)
  09/23/2016           13 FILING ERROR - DEFICIENT DOCKET ENTRY - MOTION for KATHERINE
                          LANIER VIKER to Appear Pro Hac Vice . Filing fee $ 200.00, receipt number 0208-
                          12796538. Motion and supporting papers to be reviewed by Clerk's Office staff.
                          Document filed by Kathryn Townsend Griffin, Helen McDonald, Cherrigale Townsend.
                          (Frank, Patrick) Modified on 9/26/2016 (bcu). (Entered: 09/23/2016)
  09/26/2016                 >>>NOTICE REGARDING DEFICIENT MOTION TO APPEAR PRO HAC VICE.
                             Notice to RE-FILE Document No. 12 MOTION for KEISHA DORLISA RICE to
                             Appear Pro Hac Vice . Filing fee $ 200.00, receipt number 0208-12796363. Motion
                             and supporting papers to be reviewed by Clerk's Office staff., 13 MOTION for
                             KATHERINE LANIER VIKER to Appear Pro Hac Vice . Filing fee $ 200.00, receipt
                             number 0208-12796538. Motion and supporting papers to be reviewed by Clerk's
                             Office staff... The filing is deficient for the following reason(s): expired Certificate of
https://ecf.nysd.uscourts.gov/cgi-bin/DktRpt.pl?507078620947179-L_1_0-1                                                5/10
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                             Good Standing from Supreme Court of Florida;. Re-file the motion as a Corrected
                             Motion to Appear Pro Hac Vice - attach the correct signed PDF - select the correct
                             named filer/filers - attach valid Certificates of Good Standing issued within the past
                             30 days - attach Proposed Order.. (bcu) (Entered: 09/26/2016)
  09/28/2016           14 FILING ERROR - DEFICIENT DOCKET ENTRY - MOTION to Amend/Correct
                          Notice Regarding Deficient Motion to Appear Pro Hac vice,,, . Document filed by Kathryn
                          Townsend Griffin, Helen McDonald, Cherrigale Townsend.(Frank, Patrick) Modified on
                          11/29/2016 (wb). (Entered: 09/28/2016)
  09/28/2016           15 FILING ERROR - DEFICIENT DOCKET ENTRY - MOTION to Amend/Correct
                          Notice Regarding Deficient Motion to Appear Pro Hac vice,,, . Document filed by
                          Cherrigale Townsend.(Frank, Patrick) Modified on 11/29/2016 (wb). (Entered:
                          09/28/2016)
  11/16/2016           16 ORDER: Plaintiffs commenced this action on August 9, 2016 by filing a complaint. More
                          than 90 days have elapsed since the action was commenced, and Plaintiffs have failed to
                          file an affidavit of service with the Court attesting to service of the summons and
                          complaint on the Defendants. Accordingly, this action will be dismissed without prejudice
                          unless Plaintiffs, by November 28, 2016, either (l) file proof of service with the Clerk of
                          the Court, or (2) show cause in writing why a further extension of the time limit for service
                          is warranted. See Fed. R. Civ. P. 4(m). (Signed by Judge Richard J. Sullivan on
                          11/16/2016) (mro) (Entered: 11/17/2016)
  11/23/2016           17 FIRST RESPONSE re: 16 Order,, . Document filed by Kathryn Townsend Griffin, Helen
                          McDonald, Cherrigale Townsend. (Frank, Patrick) (Entered: 11/23/2016)
  11/28/2016           18 MEMO ENDORSEMENT on re: 17 Response filed by Helen McDonald, Cherrigale
                          Townsend, Kathryn Townsend Griffin. ENDORSEMENT: Because Plaintiffs have shown
                          good cause, as required by Federal Rule of Civil Procedure 4(m), for their failure to serve
                          Defendants within 90 days after filing their complaint, IT IS HEREBY ORDERED THAT
                          Plaintiffs' time to serve Defendants is extended to January 20, 2017. (Service due by
                          1/20/2017.) (Signed by Judge Richard J. Sullivan on 11/28/2016) (kgo) (Entered:
                          11/29/2016)
  11/29/2016                 >>>NOTICE REGARDING DEFICIENT MOTION TO APPEAR PRO HAC VICE.
                             Notice to RE-FILE Document No. 14 MOTION to Amend/Correct Notice Regarding
                             Deficient Motion to Appear Pro Hac vice,,, ., 15 MOTION to Amend/Correct Notice
                             Regarding Deficient Motion to Appear Pro Hac vice,,, ... The filing is deficient for the
                             following reason(s): the wrong event type was used to file the motion; expired
                             Certificate of Good Standing from Supreme Court of Florida;. Re-file the motion as a
                             Motion to Appear Pro Hac Vice using the event type Motion to Appear Pro Hac Vice
                             found under the event list Motions - attach the correct signed PDF - select the correct
                             named filer/filers - attach valid Certificates of Good Standing issued within the past
                             30 days - attach Proposed Order.. (wb) (Entered: 11/29/2016)
  12/09/2016           19 FILING ERROR - DEFICIENT PLEADING - FILED AGAINST PARTY
                          ERRORREQUEST FOR ISSUANCE OF SUMMONS as to Sony/ATV Music Publishing,
                          LLC;, re: 10 Amended Complaint,,. Document filed by Kathryn Townsend Griffin, Helen
                          McDonald, Cherrigale Townsend. (Frank, Patrick) Modified on 12/12/2016 (dgo).
                          (Entered: 12/09/2016)
  12/12/2016                 ***NOTICE TO ATTORNEY REGARDING DEFICIENT REQUEST FOR
                             ISSUANCE OF SUMMONS. Notice to Attorney to RE-FILE Document No. 19
                             Request for Issuance of Summons,. The filing is deficient for the following reason(s):
                             Filed against error. On ECF Sony/Atv Music Publishing, LLC was entered, and its
                             not a party on the docket, however, on the summons form Sony/Atv Music
https://ecf.nysd.uscourts.gov/cgi-bin/DktRpt.pl?507078620947179-L_1_0-1                                               6/10
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                             Publishing, LTD. UK is the party being requested;. Re-file the document using the
                             event type Request for Issuance of Summons found under the event list Service of
                             Process - select the correct filer/filers - and attach the correct summons form PDF.
                             (dgo) (Entered: 12/12/2016)
  12/13/2016           20 REQUEST FOR ISSUANCE OF SUMMONS as to Sony/Atv Music Publishing, LTD.
                          (UK), re: 10 Amended Complaint,,. Document filed by Kathryn Townsend Griffin, Helen
                          McDonald, Cherrigale Townsend. (Frank, Patrick) (Entered: 12/13/2016)
  12/13/2016           21 REQUEST FOR ISSUANCE OF SUMMONS as to Atlantic Recording Corporation, d/b/a
                          Atlantic Records, re: 10 Amended Complaint,,. Document filed by Kathryn Townsend
                          Griffin, Helen McDonald, Cherrigale Townsend. (Frank, Patrick) (Entered: 12/13/2016)
  12/13/2016           22 REQUEST FOR ISSUANCE OF SUMMONS as to BDI Music Group, re: 10 Amended
                          Complaint,,. Document filed by Cherrigale Townsend. (Frank, Patrick) (Entered:
                          12/13/2016)
  12/13/2016           23 REQUEST FOR ISSUANCE OF SUMMONS as to Warner Music Group Corporation,
                          d/b/a Asylum Records, re: 10 Amended Complaint,,. Document filed by Cherrigale
                          Townsend. (Frank, Patrick) (Entered: 12/13/2016)
  12/13/2016           24 REQUEST FOR ISSUANCE OF SUMMONS as to Warner Music Group, LTD. (UK), re:
                          10 Amended Complaint,,. Document filed by Kathryn Townsend Griffin, Helen
                          McDonald, Cherrigale Townsend. (Frank, Patrick) (Entered: 12/13/2016)
  12/13/2016           25 REQUEST FOR ISSUANCE OF SUMMONS as to Edward Christopher Sheeran, p/k/a Ed
                          Sheeran, re: 10 Amended Complaint,,. Document filed by Kathryn Townsend Griffin,
                          Helen McDonald, Cherrigale Townsend. (Frank, Patrick) (Entered: 12/13/2016)
  12/13/2016           26 REQUEST FOR ISSUANCE OF SUMMONS as to Ed Sheeran Limited, re: 10 Amended
                          Complaint,,. Document filed by Kathryn Townsend Griffin, Helen McDonald, Cherrigale
                          Townsend. (Frank, Patrick) (Entered: 12/13/2016)
  12/13/2016           27 REQUEST FOR ISSUANCE OF SUMMONS as to Gingerbread Man Records, re: 10
                          Amended Complaint,,. Document filed by Kathryn Townsend Griffin, Helen McDonald,
                          Cherrigale Townsend. (Frank, Patrick) (Entered: 12/13/2016)
  12/13/2016           28 REQUEST FOR ISSUANCE OF SUMMONS as to Jake Gosling, re: 10 Amended
                          Complaint,,. Document filed by Kathryn Townsend Griffin, Helen McDonald, Cherrigale
                          Townsend. (Frank, Patrick) (Entered: 12/13/2016)
  12/13/2016           29 REQUEST FOR ISSUANCE OF SUMMONS as to Sticky Studios, re: 10 Amended
                          Complaint,,. Document filed by Kathryn Townsend Griffin, Helen McDonald, Cherrigale
                          Townsend. (Frank, Patrick) (Entered: 12/13/2016)
  12/13/2016           30 REQUEST FOR ISSUANCE OF SUMMONS as to Amy Wadge, re: 10 Amended
                          Complaint,,. Document filed by Kathryn Townsend Griffin, Helen McDonald, Cherrigale
                          Townsend. (Frank, Patrick) (Entered: 12/13/2016)
  12/13/2016           31 REQUEST FOR ISSUANCE OF SUMMONS as to Amy Wadge Records, re: 10
                          Amended Complaint,,. Document filed by Kathryn Townsend Griffin, Helen McDonald,
                          Cherrigale Townsend. (Frank, Patrick) (Entered: 12/13/2016)
  12/15/2016           32 ELECTRONIC SUMMONS ISSUED as to Sony/Atv Music Publishing, LTD. UK. (dgo)
                          (Entered: 12/15/2016)
  12/15/2016           33 ELECTRONIC SUMMONS ISSUED as to Atlantic Recording Corporation. (dgo)
                          (Entered: 12/15/2016)
  12/15/2016           34 ELECTRONIC SUMMONS ISSUED as to BDi Music. (dgo) (Entered: 12/15/2016)
https://ecf.nysd.uscourts.gov/cgi-bin/DktRpt.pl?507078620947179-L_1_0-1                                             7/10
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  12/15/2016           35 ELECTRONIC SUMMONS ISSUED as to Warner Music Group Corporation. (dgo)
                          (Entered: 12/15/2016)
  12/15/2016           36 ELECTRONIC SUMMONS ISSUED as to Warner Music Group, LTD UK. (dgo)
                          (Entered: 12/15/2016)
  12/15/2016           37 ELECTRONIC SUMMONS ISSUED as to Edward Christopher Sheeran. (dgo) (Entered:
                          12/15/2016)
  12/15/2016           38 ELECTRONIC SUMMONS ISSUED as to Ed Sheeran Limited. (dgo) (Entered:
                          12/15/2016)
  12/15/2016           39 ELECTRONIC SUMMONS ISSUED as to Gingerbread Man Records. (dgo) (Entered:
                          12/15/2016)
  12/15/2016           40 ELECTRONIC SUMMONS ISSUED as to Jake Gosling. (dgo) (Entered: 12/15/2016)
  12/15/2016           41 ELECTRONIC SUMMONS ISSUED as to Sticky Studios. (dgo) (Entered: 12/15/2016)
  12/15/2016           42 ELECTRONIC SUMMONS ISSUED as to Amy Wadge. (dgo) (Entered: 12/15/2016)
  12/16/2016           43 ELECTRONIC SUMMONS ISSUED as to Amy Wadge Records. (dgo) (Entered:
                          12/16/2016)
  01/19/2017           44 NOTICE of Filing Returns of Service re: 18 Memo Endorsement, Set Deadlines,,.
                          Document filed by Kathryn Townsend Griffin, Helen McDonald, Cherrigale Townsend.
                          (Frank, Patrick) (Entered: 01/19/2017)
  01/23/2017           45 ORDER: Initial Conference set for 2/24/2017 at 12:45 PM in Courtroom 905 of the
                          Thurgood Marshall United States Courthouse, 40 Centre Street, New York, NY 10007
                          before Judge Richard J. Sullivan. (Signed by Judge Richard J. Sullivan on 1/23/2017)
                          (mro) (Entered: 01/23/2017)
  01/23/2017           46 LETTER MOTION to Stay addressed to Judge Richard J. Sullivan from Ilene S. Farkas
                          dated 1/23/17. Document filed by Atlantic Recording Corporation, Warner Music Group
                          Corporation.(Farkas, Ilene) (Entered: 01/23/2017)
  01/23/2017           47 ORDER: IT IS HEREBY ORDERED THAT Plaintiffs shall respond to Defendants' letter
                          by January 26, 2017. In particular, Plaintiffs shall address the following: (1) exactly what
                          attempts were made to locate and serve all Defendants before the Court's November 16,
                          2016 order (Doc. No. 16); (2) exactly what attempts were made to locate and serve all
                          Defendants after the Court's November 16, 2016 order; (3) whether any of the fifteen
                          named Defendants besides Atlantic and WMG have been properly served; (4) why the
                          Court should not dismiss this action for Plaintiffs' failure to take reasonable steps to serve
                          all Defendants in a case that was filed more than five months ago; and (5) in the
                          alternative, why the Court should not stay this action until Plaintiffs have located and
                          properly served all named Defendants. (Signed by Judge Richard J. Sullivan on 1/23/2017)
                          (mro) (Entered: 01/24/2017)
  01/25/2017           48 RESPONSE to Motion re: 46 LETTER MOTION to Stay addressed to Judge Richard J.
                          Sullivan from Ilene S. Farkas dated 1/23/17. . Document filed by Kathryn Townsend
                          Griffin, Helen McDonald, Cherrigale Townsend. (Frank, Patrick) (Entered: 01/25/2017)
  01/26/2017           49 SECOND LETTER addressed to Judge Richard J. Sullivan from Donald S. Zakarin dated
                          1/26/17 re: recently filed letter motion. Document filed by Atlantic Recording
                          Corporation, Warner Music Group Corporation.(Zakarin, Donald) (Entered: 01/26/2017)
  01/27/2017           50 ORDER: IT IS HEREBY ORDERED THAT the deadline for Atlantic and Warner to
                          answer or otherwise respond to the complaint is extended to February 3, 2017. The parties'

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                             remaining requests and responses are under advisement. (Atlantic Recording Corporation
                             answer due 2/3/2017; Warner Music Group Corporation answer due 2/3/2017.) (Signed by
                             Judge Richard J. Sullivan on 1/27/2017) (cla) (Entered: 01/27/2017)
  02/02/2017           51 ORDER: terminating 46 Letter Motion to Stay. For the reasons set forth above, IT IS
                          HEREBY ORDERED THAT the Complaint is dismissed without prejudice against the
                          following thirteen Defendants: (1) Sony/ATV Music Publishing; (2) Warner Music Group,
                          Ltd. UK; (3) Sony/ATV Music Publishing, Ltd. UK; (4)Gingerbread Man Records; (5) Ed
                          Sheeran, Ltd.; (6) Sticky Studios; (7) Amy Wadge Records; (8) Bucks Music Group; (9)
                          BDi Music Group; (10) Atlantic Records UK; (11) Edward Sheeran; (12) Jake Gosling;
                          and (13) Amy Wadge. IT IS FURTHER ORDERED THAT the two Defendants that have
                          been successfully served, Atlantic Recording Corporation and Warner Music Group
                          Corporation, shall answer or otherwise respond to the Complaint by February 3, 2017, in
                          accordance with the Court's January 27, 2017order. (Doc. No. 50.) The parties are
                          reminded that they must submit a joint letter and case management plan by February 16,
                          2017 and appear for an initial conference on February 24, 2017 in accordance with the
                          Court's January 23, 2017 order. (Doc. No. 45.) The Clerk of Court is respectfully directed
                          to terminate the thirteen Defendants listed above from the case and to terminate the motion
                          pending at docket number 46. SO ORDERED. (Signed by Judge Richard J. Sullivan on
                          2/02/2017). *** Party BDi Music, Bucks Music Group, Ed Sheeran Limited, Gingerbread
                          Man Records, Jake Gosling, Edward Christopher Sheeran, Sony/Atv Music Publishing,
                          Sony/Atv Music Publishing, LTD. UK, Sticky Studios, Amy Wadge, Warner Music Group,
                          LTD UK, Amy Wadge Records and Atlantic Records UK terminated. (ama) Modified on
                          2/2/2017 (ama). (Entered: 02/02/2017)
  02/03/2017           52 FIRST RULE 7.1 CORPORATE DISCLOSURE STATEMENT. Identifying Corporate
                          Parent Access Industries, Inc. for Warner Music Group Corporation. Document filed by
                          Warner Music Group Corporation.(Zakarin, Donald) (Entered: 02/03/2017)
  02/03/2017           53 FIRST RULE 7.1 CORPORATE DISCLOSURE STATEMENT. Identifying Corporate
                          Parent Access Industries, Inc., Corporate Parent Warner Music Group Corp. for Atlantic
                          Recording Corporation. Document filed by Atlantic Recording Corporation.(Zakarin,
                          Donald) (Entered: 02/03/2017)
  02/03/2017           54 ANSWER to 10 Amended Complaint,,. Document filed by Atlantic Recording
                          Corporation.(Zakarin, Donald) (Entered: 02/03/2017)
  02/03/2017           55 ANSWER to 10 Amended Complaint,,. Document filed by Warner Music Group
                          Corporation.(Zakarin, Donald) (Entered: 02/03/2017)
  02/14/2017           56 STIPULATION OF VOLUNTARY DISMISSAL It is hereby stipulated and agreed by and
                          between the parties and/or their respective counsel(s) that the above-captioned action is
                          voluntarily dismissed, against the defendant(s) Amy Wadge Records, Atlantic Recording
                          Corporation, Atlantic Records UK, BDi Music, Bucks Music Group pursuant to Rule 41(a)
                          (1)(A)(ii) of the Federal Rules of Civil Procedure. Document filed by Cherrigale
                          Townsend, Helen McDonald, Kathryn Townsend Griffin.(Frank, Patrick) (Entered:
                          02/14/2017)
  02/15/2017           57 JOINT STIPULATION TO DISMISS WITHOUT PREJUDICE: COME NOW, Plaintiffs
                          and the remaining named defendants, Atlantic Recording Corporation and Warner Music
                          Group Corporation d/b/a Asylum Records, this Court having dismissed the Complaint as
                          against all other defendants, without prejudice, collectively through their respective
                          undersigned counsel(s), and pursuant to the Federal Rules of Civil Procedure, Rule 41(a)
                          (1)(A)(ii), proffer the instant joint stipulation to dismiss the Complaint in this action and
                          all claims therein without prejudice with the Parties bearing their respective fees and costs
                          attendant hereto. (Signed by Judge Richard J. Sullivan on 2/15/2017) (mro) (Entered:
                          02/15/2017)
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  02/15/2017           58 AO 121 FORM COPYRIGHT - CASE TERMINATED- SUBMITTED. In compliance
                          with the provisions of 17 U.S.C. 508, the Register of Copyrights is hereby advised that a
                          final decision was rendered on 02/15/2017 in a court action filed on the following
                          copyright(s) in the U.S. District Court Southern District of New York. Form e-mailed to
                          Register of Copyrights. (jsu) (Entered: 02/15/2017)



                                                        PACER Service Center
                                                             Transaction Receipt
                                                               08/27/2018 16:00:42
                                   PACER
                                                    hiplaw111:4269643:0 Client Code:       SAS
                                   Login:
                                                                           Search          1:16-cv-06309-
                                   Description:     Docket Report
                                                                           Criteria:       RJS
                                   Billable
                                                    8                      Cost:           0.80
                                   Pages:




https://ecf.nysd.uscourts.gov/cgi-bin/DktRpt.pl?507078620947179-L_1_0-1                                               10/10
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                                                                                                                    ECF,RELATED

                                               U.S. District Court
                                   Southern District of New York (Foley Square)
                                 CIVIL DOCKET FOR CASE #: 1:18-cv-05839-RJS


 Structured Asset Sales, LLC v. Sheeran et al                                          Date Filed: 06/28/2018
 Assigned to: Judge Richard J. Sullivan                                                Jury Demand: Plaintiff
 Related Case: 1:17-cv-05221-RJS                                                       Nature of Suit: 820 Copyright
 Cause: 17:101 Copyright Infringement                                                  Jurisdiction: Federal Question

 Plaintiff
 Structured Asset Sales, LLC                                          represented by Hillel Ira Parness
                                                                                     Parness Law Firm, PLLC
                                                                                     136 Madison Avenue, 6th Floor
                                                                                     New York, NY 10007
                                                                                     212-447-5299
                                                                                     Fax: 646-722-3301
                                                                                     Email: hip@hiplaw.com
                                                                                     ATTORNEY TO BE NOTICED


 V.
 Defendant
 Edward Christopher Sheeran
 TERMINATED: 08/09/2018
 personally known as
 Ed Sheeran
 TERMINATED: 08/09/2018

 Defendant
 Ed Sheeran Limited

 Defendant
 Gingerbread Man Records
 TERMINATED: 08/09/2018

 Defendant
 Amy Wadge
 TERMINATED: 08/09/2018

 Defendant
 Amy Wadge Records
 TERMINATED: 08/09/2018

 Defendant
 Jake Gosling
 TERMINATED: 08/09/2018

 Defendant

https://ecf.nysd.uscourts.gov/cgi-bin/DktRpt.pl?620669505923245-L_1_0-1                                                      1/9
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 Sticky Studios
 TERMINATED: 08/09/2018

 Defendant
 Sony/Atv Music Publishing, LTD. UK
 TERMINATED: 08/09/2018

 Defendant
 Sony/ATV Music Publishing, LLC

 Defendant
 Atlantic Recording Corporation
 doing business as
 Atlantic Records

 Defendant
 Atlantic Records UK
 TERMINATED: 08/09/2018

 Defendant
 BDi Music
 TERMINATED: 08/09/2018

 Defendant
 Bucks Music Group
 TERMINATED: 08/09/2018

 Defendant
 Warner Music Group Corporation
 TERMINATED: 08/09/2018
 doing business as
 Asylum Records
 TERMINATED: 08/09/2018

 Defendant
 Warner Music Group, LTD UK
 TERMINATED: 08/09/2018

 Defendant
 Does 1 through 10


  Date Filed            #    Docket Text
  06/28/2018             1 COMPLAINT against ATLANTIC RECORDING CORPORATION d/b/a ATLANTIC
                           RECORDS, Amy Wadge Records, Atlantic Records UK, BDi Music, Bucks Music Group,
                           Ed Sheeran Limited, Gingerbread Man Records, Jake Gosling, Edward Christopher
                           Sheeran, Sony/ATV Music Publishing, LLC, Sony/Atv Music Publishing, LTD. UK,
                           Sticky Studios, WARNER MUSIC GROUP CORPORATION d/b/a/ ASYLUM
                           RECORDS, Amy Wadge, Warner Music Group, LTD UK. (Filing Fee $ 400.00, Receipt
                           Number 0208-15257712)Document filed by Structured Asset Sales, LLC.(Parness, Hillel)
                           (Entered: 06/28/2018)

https://ecf.nysd.uscourts.gov/cgi-bin/DktRpt.pl?620669505923245-L_1_0-1                                           2/9
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  06/28/2018             2 FILING ERROR - DEFICIENT PLEADING - SUMMONS REQUEST PDF ERROR
                           - REQUEST FOR ISSUANCE OF SUMMONS as to All Defendants, re: 1 Complaint,,.
                           Document filed by Structured Asset Sales, LLC. (Parness, Hillel) Modified on 6/29/2018
                           (pne). (Entered: 06/28/2018)
  06/28/2018             3 RULE 7.1 CORPORATE DISCLOSURE STATEMENT. No Corporate Parent. Document
                           filed by Structured Asset Sales, LLC.(Parness, Hillel) (Entered: 06/28/2018)
  06/28/2018             4 RELATED CASE AFFIRMATION of Hillel I. Parness re: that this action be filed as
                           related to 17-cv-5221. Document filed by Structured Asset Sales, LLC.(Parness, Hillel)
                           (Entered: 06/28/2018)
  06/28/2018             5 FILING ERROR - PDF ERROR - CIVIL COVER SHEET filed. (Parness, Hillel)
                           Modified on 6/29/2018 (pne). (Entered: 06/28/2018)
  06/28/2018             6 FILING ERROR - PDF ERROR - AO 121 FORM COPYRIGHT - NOTICE OF
                           SUBMISSION BY ATTORNEY. AO 121 Form Copyright for case opening submitted to
                           court for review.(Parness, Hillel) Modified on 6/29/2018 (pne). (Entered: 06/28/2018)
  06/29/2018                 CASE OPENING INITIAL ASSIGNMENT NOTICE: The above-entitled action is
                             assigned to Judge Unassigned. (pne) (Entered: 06/29/2018)
  06/29/2018                 Case Designated ECF. (pne) (Entered: 06/29/2018)
  06/29/2018                 CASE REFERRED TO Judge Richard J. Sullivan as possibly related to 17CV5221. (pne)
                             (Entered: 06/29/2018)
  06/29/2018                 ***NOTICE TO ATTORNEY REGARDING CIVIL CASE OPENING
                             STATISTICAL ERROR CORRECTION: Notice to attorney Hillel Ira Parness. The
                             following case opening statistical information was erroneously selected/entered:
                             County code New York. The following correction has been made to your case entry:
                             the County code has been modified to XX Out of State. (pne) (Entered: 06/29/2018)
  06/29/2018                 ***NOTICE TO ATTORNEY REGARDING DEFICIENT CIVIL COVER SHEET.
                             Notice to attorney Hillel Ira Parness to RE-FILE Document No. 5 Civil Cover Sheet.
                             The filing is deficient for the following reason: defendant name error on caption; if
                             the entire caption does not fit in the space provided, use "et al" following the name of
                             the first defendant named on the pleading caption. Re-file the document using the
                             event type Civil Cover Sheet found under the event list Other Documents and attach
                             the correct PDF. Use civil cover sheet issued by S.D.N.Y. dated June 2017. The
                             S.D.N.Y. Civil Cover Sheet dated June 2017 is located at
                             http://nysd.uscourts.gov/file/forms/civil-cover-sheet.. (pne) (Entered: 06/29/2018)
  06/29/2018                 ***NOTICE TO ATTORNEY REGARDING PARTY MODIFICATION. Notice to
                             attorney Hillel Ira Parness. The party information for the following parties has been
                             modified: Atlantic Recording Corporation, Edward Christopher Sheeran, Warner
                             Music Group Corporation. The information for the parties has been modified for the
                             following reasons: party name was entered in all caps; alias party name was omitted.
                             (pne) (Entered: 06/29/2018)
  06/29/2018                 ***NOTICE TO ATTORNEY REGARDING DEFICIENT REQUEST FOR
                             ISSUANCE OF SUMMONS. Notice to Attorney Hillel Ira Parness to RE-FILE
                             Document No. 2 Request for Issuance of Summons. The filing is deficient for the
                             following reasons: no defendant name(s) entered in the 'To' field on the summons
                             request form; the name of the parties for whom the summons is being requested must
                             appear on the docket entry text; caption is incomplete. Re-file the document using the
                             event type Request for Issuance of Summons found under the event list Service of


https://ecf.nysd.uscourts.gov/cgi-bin/DktRpt.pl?620669505923245-L_1_0-1                                                 3/9
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                             Process - select the correct filer/filers - and attach the correct summons form PDF.
                             (pne) (Entered: 06/29/2018)
  06/29/2018                 ***NOTICE TO ATTORNEY REGARDING DEFICIENT COPYRIGHT FORM.
                             Notice to Attorney Hillel Ira Parness to RE-FILE Document No. 6 AO 121 Form
                             Copyright - Notice of Submission by Attorney. The filing is deficient for the following
                             reasons: defendant name error on caption; if the entire caption does not fit in the
                             space provided, use "et al" following the name of the first defendant named on the
                             pleading caption. Re-file the document using the event type AO 121 Form Copyright
                             - Notice of Submission by Attorney found under the event list Other Documents and
                             attach the correct AO 121 Copyright PDF form. (pne) (Entered: 06/29/2018)
  06/29/2018           24 MEMO ENDORSEMENT on re: (60 in 1:17-cv-05221-RJS) Letter filed by Structured
                          Asset Sales, LLC. ENDORSEMENT: Counsel's request is DENIED. The Court will issue
                          a scheduling order in the related case, 18-cv-5839, once Defendants have been served.
                          (Signed by Judge Richard J. Sullivan on 6/29/2018) (mro) (Entered: 07/02/2018)
  07/01/2018             7 CIVIL COVER SHEET filed. (Parness, Hillel) (Entered: 07/01/2018)
  07/01/2018             8 AO 121 FORM COPYRIGHT - NOTICE OF SUBMISSION BY ATTORNEY. AO 121
                           Form Copyright for case opening submitted to court for review.(Parness, Hillel) (Entered:
                           07/01/2018)
  07/01/2018             9 REQUEST FOR ISSUANCE OF SUMMONS as to Atlantic Records UK, re: 1
                           Complaint,,. Document filed by Structured Asset Sales, LLC. (Parness, Hillel) (Entered:
                           07/01/2018)
  07/01/2018           10 REQUEST FOR ISSUANCE OF SUMMONS as to Atlantic Records Corporation, re: 1
                          Complaint,,. Document filed by Structured Asset Sales, LLC. (Parness, Hillel) (Entered:
                          07/01/2018)
  07/01/2018           11 FILING ERROR - DEFICIENT PLEADING - SUMMONS REQUEST As To -
                          REQUEST FOR ISSUANCE OF SUMMONS as to BDI Music Group, re: 1 Complaint,,.
                          Document filed by Structured Asset Sales, LLC. (Parness, Hillel) Modified on 7/2/2018
                          (dnh). (Entered: 07/01/2018)
  07/01/2018           12 REQUEST FOR ISSUANCE OF SUMMONS as to Gingerbread Man Records, re: 1
                          Complaint,,. Document filed by Structured Asset Sales, LLC. (Parness, Hillel) (Entered:
                          07/01/2018)
  07/01/2018           13 REQUEST FOR ISSUANCE OF SUMMONS as to Jake Gosling, re: 1 Complaint,,.
                          Document filed by Structured Asset Sales, LLC. (Parness, Hillel) (Entered: 07/01/2018)
  07/01/2018           14 REQUEST FOR ISSUANCE OF SUMMONS as to Ed Sheeran Limited, re: 1
                          Complaint,,. Document filed by Structured Asset Sales, LLC. (Parness, Hillel) (Entered:
                          07/01/2018)
  07/01/2018           15 FILING ERROR - DEFICIENT PLEADING - SUMMONS REQUEST PDF ERROR
                          - REQUEST FOR ISSUANCE OF SUMMONS as to Edward Christopher Sheeran, re: 1
                          Complaint,,. Document filed by Structured Asset Sales, LLC. (Parness, Hillel) Modified
                          on 7/2/2018 (dnh). (Entered: 07/01/2018)
  07/01/2018           16 REQUEST FOR ISSUANCE OF SUMMONS as to Sony/ATV Music Publishing LLC, re:
                          1 Complaint,,. Document filed by Structured Asset Sales, LLC. (Parness, Hillel) (Entered:
                          07/01/2018)
  07/01/2018           17 REQUEST FOR ISSUANCE OF SUMMONS as to Sony/ATV Music Publishing, Ltd.
                          (UK), re: 1 Complaint,,. Document filed by Structured Asset Sales, LLC. (Parness, Hillel)
                          (Entered: 07/01/2018)
https://ecf.nysd.uscourts.gov/cgi-bin/DktRpt.pl?620669505923245-L_1_0-1                                                4/9
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  07/01/2018           18 REQUEST FOR ISSUANCE OF SUMMONS as to Sticky Studios, re: 1 Complaint,,.
                          Document filed by Structured Asset Sales, LLC. (Parness, Hillel) (Entered: 07/01/2018)
  07/01/2018           19 REQUEST FOR ISSUANCE OF SUMMONS as to Amy Wadge Records, re: 1
                          Complaint,,. Document filed by Structured Asset Sales, LLC. (Parness, Hillel) (Entered:
                          07/01/2018)
  07/01/2018           20 REQUEST FOR ISSUANCE OF SUMMONS as to Amy Wadge, re: 1 Complaint,,.
                          Document filed by Structured Asset Sales, LLC. (Parness, Hillel) (Entered: 07/01/2018)
  07/01/2018           21 REQUEST FOR ISSUANCE OF SUMMONS as to Warner Music Group Corporation, re:
                          1 Complaint,,. Document filed by Structured Asset Sales, LLC. (Parness, Hillel) (Entered:
                          07/01/2018)
  07/01/2018           22 REQUEST FOR ISSUANCE OF SUMMONS as to Warner Music Group, Ltd. (UK), re: 1
                          Complaint,,. Document filed by Structured Asset Sales, LLC. (Parness, Hillel) (Entered:
                          07/01/2018)
  07/01/2018           23 FILING ERROR - DEFICIENT PLEADING - SUMMONS REQUEST As To -
                          REQUEST FOR ISSUANCE OF SUMMONS as to Bucks Music Group Limited, re: 1
                          Complaint,,. Document filed by Structured Asset Sales, LLC. (Parness, Hillel) Modified
                          on 7/2/2018 (dnh). (Entered: 07/01/2018)
  07/02/2018                 CASE ACCEPTED AS RELATED. Create association to 1:17-cv-05221-RJS. Notice of
                             Assignment to follow. (jc) (Entered: 07/02/2018)
  07/02/2018                 NOTICE OF CASE REASSIGNMENT to Judge Richard J. Sullivan. Judge Unassigned is
                             no longer assigned to the case. (jc) (Entered: 07/02/2018)
  07/02/2018                 Magistrate Judge Ona T. Wang is so designated. Pursuant to 28 U.S.C. Section 636(c) and
                             Fed. R. Civ. P. 73(b)(1) parties are notified that they may consent to proceed before a
                             United States Magistrate Judge. Parties who wish to consent may access the necessary
                             form at the following link: http://nysd.uscourts.gov/forms.php. (jc) (Entered: 07/02/2018)
  07/02/2018           25 ELECTRONIC SUMMONS ISSUED as to Atlantic Records UK. (dnh) (Entered:
                          07/02/2018)
  07/02/2018           26 ELECTRONIC SUMMONS ISSUED as to Atlantic Recording Corporation. (dnh)
                          (Entered: 07/02/2018)
  07/02/2018                 ***NOTICE TO ATTORNEY REGARDING DEFICIENT REQUEST FOR
                             ISSUANCE OF SUMMONS. Notice to Attorney Hillel Ira Parness to RE-FILE
                             Document No. 11 Request for Issuance of Summons. The filing is deficient for the
                             following reason(s): 'As to' Error; Defendant name must directly correspond to the
                             party of Record (BDI Music Group). Docket entry 'as to' selection does not directly
                             correspond to the party of record. Defendant name listed in 'To:' field on PDF does
                             not directly correspond to the party of record. Re-file the document using the event
                             type Request for Issuance of Summons found under the event list Service of Process -
                             select the correct filer/filers - and attach the correct summons form PDF. (dnh)
                             (Entered: 07/02/2018)
  07/02/2018           27 ELECTRONIC SUMMONS ISSUED as to Gingerbread Man Records. (dnh) (Entered:
                          07/02/2018)
  07/02/2018           28 ELECTRONIC SUMMONS ISSUED as to Jake Gosling. (dnh) (Entered: 07/02/2018)
  07/02/2018           29 Document replaced with correct PDF ELECTRONIC SUMMONS ISSUED as to Ed
                          Sheeran Limited. (dnh) (Main Document 29 replaced on 7/3/2018) (dnh). (Entered:
                          07/02/2018)

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  07/02/2018                 ***NOTICE TO ATTORNEY REGARDING DEFICIENT REQUEST FOR
                             ISSUANCE OF SUMMONS. Notice to Attorney Hillel Ira Parness to RE-FILE
                             Document No. 15 Request for Issuance of Summons. The filing is deficient for the
                             following reason(s): the PDF attached to the docket entry for the issuance of
                             summons is not correct; Defendant name and address omitted from PDF. Re-file the
                             document using the event type Request for Issuance of Summons found under the
                             event list Service of Process - select the correct filer/filers - and attach the correct
                             summons form PDF. (dnh) (Entered: 07/02/2018)
  07/02/2018           30 ELECTRONIC SUMMONS ISSUED as to Sony/ATV Music Publishing, LLC. (dnh)
                          (Entered: 07/02/2018)
  07/02/2018           31 ELECTRONIC SUMMONS ISSUED as to Sony/Atv Music Publishing, LTD. UK. (dnh)
                          (Entered: 07/02/2018)
  07/02/2018           32 ELECTRONIC SUMMONS ISSUED as to Sticky Studios. (dnh) (Entered: 07/02/2018)
  07/02/2018           33 ELECTRONIC SUMMONS ISSUED as to Amy Wadge Records. (dnh) (Entered:
                          07/02/2018)
  07/02/2018           34 ELECTRONIC SUMMONS ISSUED as to Amy Wadge. (dnh) (Entered: 07/02/2018)
  07/02/2018           35 ELECTRONIC SUMMONS ISSUED as to Warner Music Group Corporation. (dnh)
                          (Entered: 07/02/2018)
  07/02/2018           36 REQUEST FOR ISSUANCE OF SUMMONS as to Edward Christopher Sheeran, re: 1
                          Complaint,,. Document filed by Structured Asset Sales, LLC. (Parness, Hillel) (Entered:
                          07/02/2018)
  07/02/2018           37 FILING ERROR - DEFICIENT PLEADING - SUMMONS REQUEST PDF ERROR
                          - REQUEST FOR ISSUANCE OF SUMMONS as to BDi Music, re: 1 Complaint.
                          Document filed by Structured Asset Sales, LLC. (Parness, Hillel) Modified on 7/3/2018
                          (dnh). (Entered: 07/02/2018)
  07/02/2018           38 ELECTRONIC SUMMONS ISSUED as to Warner Music Group, LTD UK. (dnh)
                          (Entered: 07/02/2018)
  07/02/2018           39 FILING ERROR - DEFICIENT PLEADING - SUMMONS REQUEST -
                          PREVIOUSLY ISSUED TO PARTY - REQUEST FOR ISSUANCE OF SUMMONS as
                          to Ed Sheeran Limited, re: 1 Complaint. Document filed by Structured Asset Sales, LLC.
                          (Parness, Hillel) Modified on 7/3/2018 (dnh). (Entered: 07/02/2018)
  07/02/2018                 ***NOTICE TO ATTORNEY REGARDING DEFICIENT REQUEST FOR
                             ISSUANCE OF SUMMONS. Notice to Attorney Hillel Ira Parness to RE-FILE
                             Document No. 23 Request for Issuance of Summons. The filing is deficient for the
                             following reason(s): the PDF attached to the docket entry for the issuance of
                             summons is not correct; Defendant name must directly correspond to the party of
                             record (Bucks Music Group Limited). Defendant name on PDF must directly
                             correspond to the party of record. Docket Entry Error; 'as to' party name selected
                             must directly correspond to the pleading. Re-file the document using the event type
                             Request for Issuance of Summons found under the event list Service of Process -
                             select the correct filer/filers - and attach the correct summons form PDF. (dnh)
                             (Entered: 07/02/2018)
  07/02/2018           40 FILING ERROR - DEFICIENT PLEADING - SUMMONS REQUEST PDF ERROR
                          - REQUEST FOR ISSUANCE OF SUMMONS as to Bucks Music Group, re: 1
                          Complaint,,. Document filed by Structured Asset Sales, LLC. (Parness, Hillel) Modified
                          on 7/2/2018 (dnh). (Entered: 07/02/2018)

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  07/02/2018                 ***NOTICE TO ATTORNEY REGARDING DEFICIENT REQUEST FOR
                             ISSUANCE OF SUMMONS. Notice to Attorney Hillel Ira Parness to RE-FILE
                             Document No. 40 Request for Issuance of Summons. The filing is deficient for the
                             following reason(s): the PDF attached to the docket entry for the issuance of
                             summons is not correct; Include 'C/o' or 'via' before second party name
                             (Roundhouse). Re-file the document using the event type Request for Issuance of
                             Summons found under the event list Service of Process - select the correct filer/filers -
                             and attach the correct summons form PDF. (dnh) (Entered: 07/02/2018)
  07/02/2018           41 REQUEST FOR ISSUANCE OF SUMMONS as to BDi Music, re: 1 Complaint,,.
                          Document filed by Structured Asset Sales, LLC. (Parness, Hillel) (Entered: 07/02/2018)
  07/02/2018           42 REQUEST FOR ISSUANCE OF SUMMONS as to Bucks Music Group, re: 1
                          Complaint,,. Document filed by Structured Asset Sales, LLC. (Parness, Hillel) (Entered:
                          07/02/2018)
  07/03/2018           43 ELECTRONIC SUMMONS ISSUED as to BDi Music. (dnh) (Entered: 07/03/2018)
  07/03/2018           44 ELECTRONIC SUMMONS ISSUED as to Edward Christopher Sheeran. (dnh) (Entered:
                          07/03/2018)
  07/03/2018           45 ELECTRONIC SUMMONS ISSUED as to Bucks Music Group. (dnh) (Entered:
                          07/03/2018)
  07/10/2018           46 AO 121 FORM COPYRIGHT - CASE OPENING - SUBMITTED. In compliance with
                          the provisions of 17 U.S.C. 508, the Register of Copyrights is hereby advised that a court
                          action has been filed on the following copyright(s) in the U.S. District Court Southern
                          District of New York. Form e-mailed to Register of Copyrights. (dnh) (Entered:
                          07/10/2018)
  07/13/2018           47 FILING ERROR - DEFICIENT PLEADING - FILED AGAINST PARTY ERROR -
                          AMENDED COMPLAINT amending 1 Complaint,, against Atlantic Recording
                          Corporation, Edward Christopher Sheeran, Sony/ATV Music Publishing, LLC with JURY
                          DEMAND.Document filed by Structured Asset Sales, LLC. Related document: 1
                          Complaint,,.(Parness, Hillel) Modified on 7/16/2018 (pc). (Entered: 07/13/2018)
  07/16/2018                 ***NOTICE TO ATTORNEY REGARDING DEFICIENT PLEADING. Notice to
                             Attorney Hillel Ira Parness to RE-FILE Document No. 47 Amended Complaint,. The
                             filing is deficient for the following reason(s): the wrong party/parties whom the
                             pleading is against were selected. Re-file the pleading using the event type Amended
                             Complaint found under the event list Complaints and Other Initiating Documents -
                             attach the correct signed PDF - select the individually named filer/filers - select the
                             individually named party/parties the pleading is against. (pc) (Entered: 07/16/2018)
  07/16/2018           48 AMENDED COMPLAINT amending 1 Complaint,, against Atlantic Recording
                          Corporation, Edward Christopher Sheeran, Sony/ATV Music Publishing, LLC, Does 1
                          through 10 with JURY DEMAND.Document filed by Structured Asset Sales, LLC.
                          Related document: 1 Complaint,,.(Parness, Hillel) (Entered: 07/16/2018)
  07/16/2018           49 LETTER addressed to Judge Richard J. Sullivan from Hillel I. Parness dated July 16, 2018
                          re: Renewed Request for Conference. Document filed by Structured Asset Sales, LLC.
                          (Parness, Hillel) (Entered: 07/16/2018)
  07/16/2018           50 AFFIDAVIT OF SERVICE of Summons and Amended Complaint, Amended Complaint,.
                          Sony/ATV Music Publishing, LLC served on 7/13/2018, answer due 8/3/2018. Service was
                          accepted by Cathy Krieger-Jewell, Authorized Agent. Document filed by Structured Asset
                          Sales, LLC. (Parness, Hillel) (Entered: 07/16/2018)
  07/16/2018           51 ORDER: Initial Conference set for 8/27/2018 at 11:30 AM in Courtroom 905 of the
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                             Thurgood Marshall United States Courthouse, 40 Centre Street, New York, NY 10007
                             before Judge Richard J. Sullivan. (Signed by Judge Richard J. Sullivan on 7/16/2018)
                             (mro) (Entered: 07/17/2018)
  07/17/2018           52 MEMO ENDORSEMENT on re: 49 Letter filed by Structured Asset Sales, LLC.
                          ENDORSEMENT: Counsel's request is DENIED. According to the Affidavit of Service
                          filed on July 16, 2018, Defendants were served with the Amended Complaint on July 13,
                          2018. (Doc. No. 50.) The deadline to file an answer or any other responsive pleading is
                          August 3, 2018. Accordingly, the parties shall comply with the separately docketed
                          scheduling order issued on July 16, 2018. SO ORDERED. (Signed by Judge Richard J.
                          Sullivan on 7/17/2018) (ne) (Entered: 07/17/2018)
  07/20/2018           53 AFFIDAVIT OF SERVICE of Summons and Amended Complaint, Amended Complaint,.
                          Atlantic Recording Corporation served on 7/13/2018, answer due 8/3/2018. Service was
                          accepted by Noreen Dynyard (CT Corp clerk). Document filed by Structured Asset Sales,
                          LLC. (Parness, Hillel) (Entered: 07/20/2018)
  08/03/2018           54 PROPOSED STIPULATION AND ORDER. Document filed by Atlantic Recording
                          Corporation, Sony/ATV Music Publishing, LLC. (Goldsmith, Andrew) (Entered:
                          08/03/2018)
  08/03/2018           55 STIPULATION EXTENDING TIME: IT IS HEREBY STIPULATED AND AGREED,
                          that 1. The time for defendants Sony/ATV Music Publishing LLC and Atlantic Recording
                          Corporation d/b/a Atlantic Records (the "Defendants") to appear and to answer the
                          Amended Complaint in this action, be and the same hereby is extended to and including
                          August 10, 2018. Atlantic Recording Corporation answer due 8/10/2018; Sony/ATV Music
                          Publishing, LLC answer due 8/10/2018. (Signed by Judge Richard J. Sullivan on 8/3/2018)
                          (mro) (Entered: 08/06/2018)
  08/09/2018           56 PROPOSED STIPULATION AND ORDER. Document filed by Structured Asset Sales,
                          LLC. (Parness, Hillel) (Entered: 08/09/2018)
  08/09/2018           57 ORDER: Accordingly, IT IS HEREBY ORDERED THAT Defendants shall answer the
                          amended complaint by August 29, 2018. SO ORDERED., Atlantic Recording Corporation
                          answer due 8/29/2018; Sony/ATV Music Publishing, LLC answer due 8/29/2018. (Signed
                          by Judge Richard J. Sullivan on 8/9/2018) (rj) Modified on 8/10/2018 (rj). Modified on
                          8/10/2018 (rj). (Entered: 08/10/2018)
  08/09/2018           58 JOINT STIPULATION: The enumerated Plaintiffs and Defendants, collectively, who, by
                          and through their respective counsel(s), and pursuant to the Federal Rules of Civil
                          Procedure R. 41 (a)(1)(A), jointly stipulate to the following Plaintiff Structured Asset
                          Sales, LLC, through its undersigned counsel, has dismissed the following Defendants from
                          this action: Ed Sheeran Limited, Gingerbread Man Records, Amy Wadge, Amy Wadge
                          Records, Jake Gosling, Sticky Studios, Sony/ATV Music Publishing (UK) Ltd., Atlantic
                          Records (UK), BDi Music, Bucks Music Group, Warner Music Group Corporation d/b/a
                          Asylum Records, and Warner Music Group Ltd (UK) as set forth in this order., BDi Music,
                          Bucks Music Group, Gingerbread Man Records, Jake Gosling, Edward Christopher
                          Sheeran, Sony/Atv Music Publishing, LTD. UK, Sticky Studios, Amy Wadge, Warner
                          Music Group Corporation, Warner Music Group, LTD UK, Amy Wadge Records and
                          Atlantic Records UK terminated. (Signed by Judge Richard J. Sullivan on 8/9/2018) (rj)
                          (Entered: 08/10/2018)
  08/20/2018           59 JOINT LETTER addressed to Judge Richard J. Sullivan from Hillel I. Parness dated
                          August 20, 2018 re: Joint Letter and Proposed Case Management Plan and Scheduling
                          Order. Document filed by Structured Asset Sales, LLC. (Attachments: # 1 Text of
                          Proposed Order Proposed Case Management Plan and Scheduling Order)(Parness, Hillel)
                          (Entered: 08/20/2018)
https://ecf.nysd.uscourts.gov/cgi-bin/DktRpt.pl?620669505923245-L_1_0-1                                             8/9
